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                              UNITED STATES DISTRICT COURT

                              SOUTHERN DISTRICT OF FLORIDA

                                Case No. 21-62380-Civ-SINGHAL


   CITY OF HOLLYWOOD POLICE                    )   CLASS ACTION
   OFFICERS’ RETIREMENT SYSTEM, on             )
   Behalf of Itself and All Others Similarly   )
   Situated,                                   )
                                               )
                               Plaintiff,      )
                                               )
          vs.                                  )
                                               )
   CITRIX SYSTEMS, INC., et al.,               )
                                               )
                               Defendants.
                                               )
                                               )   DEMAND FOR JURY TRIAL



                   LEAD PLAINTIFF’S COMPLAINT FOR VIOLATIONS
                        OF THE FEDERAL SECURITIES LAWS
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          Lead Plaintiff Mineworkers’ Pension Scheme and British Coal Staff Superannuation

   Scheme (“Lead Plaintiff”) and additional named plaintiff National Elevator Industry Pension Fund

   (“NEIPF”) (collectively, “Plaintiffs”), individually and on behalf of all others similarly situated,

   allege the following based upon personal knowledge as to Plaintiffs’ own acts and upon

   information and belief as to all other matters based on the investigation conducted by and through

   Plaintiffs’ attorneys. This investigation included, among other things: review and analysis of

   United States Securities and Exchange Commission (“SEC”) filings by Citrix Systems, Inc.

   (“Citrix” or “Company”); Citrix press releases and earnings call transcripts; public information

   regarding Citrix, including information posted on the Citrix website; and analyst reports and media

   reports about Citrix. Plaintiffs believe that substantial additional evidentiary support will exist for

   the allegations set forth herein after a reasonable opportunity for discovery.

   I.     INTRODUCTION

          1.      This securities class action is brought on behalf of all purchasers of Citrix common

   stock between January 22, 2020 and October 6, 2021, inclusive (“Class Period”). The claims are

   alleged against Citrix and five individual defendants: (a) David Henshall (“Henshall”), Citrix’s

   President and Chief Executive Officer (“CEO”) from July 2017 until October 4, 2021, a member

   of Citrix’s Board of Directors (“Board”) from July 2017 until October 1, 2021, and an advisor to

   the Company’s CEO from October 4, 2021 until February 2022; (b) Robert M. Calderoni

   (“Calderoni”), Citrix’s interim CEO and President since October 4, 2021, Citrix’s Chairman of

   Board since January 2019, and a member of Citrix’s Board since June 2014; (c) Arlen Shenkman

   (“Shenkman”), Citrix’s Chief Financial Officer (“CFO”) and Executive Vice President (“EVP”)

   since September 2019; (d) PJ Hough (“Hough”), Citrix’s Chief Product Officer (“CPO”) from July

   2017 until November 15, 2021, and EVP from November 2018 until November 15, 2021; and (e)


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   Mark Schmitz (“Schmitz”), Citrix’s Chief Operating Officer (“COO”) and EVP since August 2019

   (collectively, “Defendants”). The claims assert violations of Sections 10(b) and 20(a) of the

   Securities Exchange Act of 1934 (“Exchange Act”), 15 U.S.C. §§78j(b) and 78t(a), and SEC Rule

   10b-5, 17 C.F.R. §240.10b-5, promulgated thereunder.

          2.      This case arises because Defendants misled investors about their attempt to

   transform Citrix’s business model during the Class Period. Historically, Citrix focused on selling

   perpetual licenses to its customers who received access to Citrix’s software programs. These

   customers maintained on-site, or on-premise, computer networks and data centers that were used

   to host Citrix’s software. To the extent customers wanted upgrades and maintenance on the

   software, Citrix sold them for additional fees.

          3.      Leading up to the Class Period, a secular shift was underway as technology moved

   from traditional, on-premise usage to internet-based subscription services hosted on the “cloud.”

   Facing stiff competition from technology heavyweights like Amazon and VMWare, Citrix was

   left with no choice but to transform its business from on-premise, perpetual licenses to

   subscription-based and in the cloud.

          4.      Throughout the Class Period, Defendants repeatedly assured investors that the

   transition was going smoothly and that the Company could attain its financial targets while

   transitioning its vast customer base to the cloud. Similarly, Defendants assured investors that

   Citrix’s sale of limited-use, on-premise, and steeply discounted licenses (“Business Continuity

   Licenses”), which Citrix rushed to sell in response to the COVID-19 pandemic in early 2020,

   afforded the Company the opportunity to transition those customers to the cloud. As detailed

   herein, Citrix’s cloud transition was beset by myriad problems, including weakened relationships

   with Citrix’s partners, Citrix’s inability to rapidly transfer large numbers of customers to the cloud


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   without the help of those same partners, significant complications within the Company’s sales

   organization that limited the Company’s ability to successfully sell its cloud platform, and the

   failure of Citrix to convert customers that bought Business Continuity Licenses to the cloud.

          5.      As a result of Defendants’ materially false and misleading statements and

   omissions, Citrix stock traded at artificially inflated prices, reaching as high as $173.56 per share

   during the Class Period. As the truth was exposed, Citrix’s stock price dropped, causing significant

   investor losses. For example, when the Company announced its first quarter 2021 (“1Q21”)

   financial results before the market opened on April 29, 2021, missing its earnings per share

   (“EPS”) targets while also falling short on revenue, investors learned Citrix was being negatively

   impacted by the limited use licenses it had sold to customers. Citrix also cut its second quarter

   2021 (“2Q21”) guidance as well, significantly lowering its EPS numbers well below market

   expectations. On this news, Citrix’s stock price declined more than 10% on April 29 and 30, 2021,

   dropping from $138.51 to $123.85 per share. Citrix’s stock remained inflated, however, as

   Defendants assured investors the “important takeaway” from the 1Q21 results was that Citrix’s

   problems related to the limited use licenses were a “limited-impact item” and “not an ongoing

   phenomenon.” Defendants also assured investors that the 1Q21 results represented the trough and

   that there would be improved “top-line” performance in 2Q21 as model transition “headwinds”

   became a “tailwind” because of strong momentum in the cloud transition.

          6.      On July 29, 2021, when the Company reported its 2Q21 financial results, Citrix

   shocked investors by revealing extensive problems with its cloud transition, a slow pace to its

   cloud transition, and weak revenues. The Company pointed to three factors causing these

   problems: (a) sales process complexity caused by the Company’s inability to handle selling

   Workspace in the cloud and on-premise at the same time; (b) Citrix was behind its capacity plan


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   for direct quota carriers, limiting capacity and the Company’s ability to execute its cloud transition;

   and (c) the Company “lacked focus in driving transactional volume through the channel.” The

   Company also announced that “significant changes” were needed and would be made to the

   Company’s “sales organization, processes, and [its] go-to-market priorities” and that Citrix had

   already taken “several significant and immediate actions to address these challenges while also

   embracing the faster pace at which customers are transitioning to the cloud.” Citrix further told

   investors that its “significant and immediate actions” would “cause short-term disruption before

   yielding tangible results.” Adding to the negative news, Citrix significantly cut its future revenue

   guidance and lowered its 2021 profit forecast, adding “[w]e expect cash flow from operations to

   be lower in 2021 as compared to 2020.” Shocked by this additional news, investors suffered as

   Citrix common stock declined again, falling more than 13% to close at $99 per share. Market

   commentators and analysts reacted strongly as well, calling the results “disappointing” and

   criticizing the Company for offering a “less-than-clear explanation” for its sales execution

   problems.

          7.      Finally, after the market closed on Wednesday, October 6, 2021, Defendants

   surprised the market again by announcing that two days earlier, on Monday, October 4, 2021, the

   Company appointed Calderoni as interim CEO and President because Henshall stepped down as

   CEO and President. Citrix’s after-hours October 6th disclosure further revealed that Henshall

   resigned from the Company’s Board five days earlier, on October 1, 2021, and that Dr. Ajei Gopal,

   who had been on the Board since September 2017, also resigned from the Company’s Board two

   days earlier, on October 4, 2021. As a result of the resignations, the Board “agreed to reduce the

   size of the Board to eight members.”          The Company further stated: “In light of today’s

   announcement, Citrix will postpone its previously announced financial analyst meeting. Details


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   will be shared when finalized.” This additional disclosure, on the heels of Citrix announcing, on

   July 29, 2021, that significant changes were needed to “address the key challenges” and would

   “cause short-term disruption before yielding tangible results[,]” caused Citrix stock to drop by

   more than 7% over the next two days until it closed at $98.32 per share on October 8, 2021, causing

   additional investor losses.

   II.     JURISDICTION AND VENUE

           8.       The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

   the Exchange Act, 15 U.S.C. §§78j(b) and 78t(a), and SEC Rule 10b-5, 17 C.F.R. §240.10b-5,

   promulgated thereunder.

           9.       This Court has jurisdiction over the subject matter of this action pursuant to

   28 U.S.C. §§1331 and 1337, and Section 27 of the Exchange Act, 15 U.S.C. §78aa.

           10.      Venue is proper in this District pursuant to 28 U.S.C. §1391(b)-(c), and Section 27

   of the Exchange Act. Citrix is headquartered in this District; Defendants conduct business in this

   District; and many of the acts and practices complained of herein occurred in substantial part in

   this District.

           11.      In connection with the acts alleged in this Complaint, Defendants, directly or

   indirectly, used the means and instrumentalities of interstate commerce, including, but not limited

   to, the mails, interstate telephone communications, and the facilities of the national securities

   markets.




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   III.   PARTIES

          A.      Plaintiffs

          12.     Lead Plaintiff Mineworkers’ Pension Scheme and British Coal Staff

   Superannuation Scheme purchased shares of Citrix common stock during the Class Period and

   suffered damages as alleged herein, as set forth in Lead Plaintiff’s Certification [ECF No. 19-2].

          13.     Additional named plaintiff National Elevator Industry Pension Fund purchased

   shares of Citrix common stock during the Class Period and suffered damages as alleged herein, as

   set forth in NEIPF’s Certification attached hereto and incorporated herein.

          B.      Defendants

          14.     Defendant Citrix Systems, Inc. is a Delaware corporation with its principal

   executive offices located at 851 West Cypress Creek Road, Fort Lauderdale, Florida 33309.

   During the Class Period, Citrix’s common stock traded on the NASDAQ Global Select Market

   (“NASDAQ”) under the ticker symbol “CTXS.” On January 31, 2022, Citrix entered into an

   agreement and plan of merger with affiliates of private equity company Vista Equity Partners and

   Elliot Investment Management L.P.’s affiliate Evergreen Coast Capital Corporation in a $16.5

   billion all-cash deal to take Citrix private by acquiring all of the Company’s outstanding shares of

   common stock for $104.00 per share.

          15.     Defendant Henshall served as Citrix’s President and CEO from July 2017 until

   October 4, 2021, when he stepped down from those positions and became an advisor to the CEO,

   before leaving the Company in February 2022. Henshall was also a member of the Company’s

   Board from July 2017 to October 1, 2021; the Company’s EVP and CFO from September 2011 to

   July 2017; the Company’s Acting President and CEO from October 2013 to February 2014; the




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   Company’s Senior Vice President and CFO from January 2006 to September 2011; and the

   Company’s Vice President and CFO from April 2003 to January 2006.

           16.    Defendant Robert M. Calderoni has served as Citrix’s interim CEO and President

   since October 4, 2021, and Citrix’s chairman of the Board since January 1, 2019. Calderoni has

   also been a member of the Company’s Board since June 2014, and previously served as the

   Company’s Executive chairman of the Board from July 2015 through December 31, 2018.

           17.    Defendant Arlen Shenkman has served as Citrix’s CFO and EVP since September

   2019.

           18.    Defendant PJ Hough served as Citrix’s CPO from July 2017 until November 15,

   2021, and EVP from November 2018 until November 15, 2021. On November 15, 2021, Hough

   transitioned to serving as an advisor to the CEO.

           19.    Defendant Mark Schmitz has served as Citrix’s COO and EVP since August 2019.

           20.    Defendants Henshall, Calderoni, Shenkman, Hough, and Schmitz are collectively

   referred to herein as the “Individual Defendants.”

   IV.     SUBSTANTIVE ALLEGATIONS

           A.     Background of the Company

           21.    Citrix is an enterprise software company that provides digital workplace offerings

   to companies and organizations. The Company states that it delivers “a consistent and secure work

   experience no matter where work needs to get done – in the office, at home, or in the field. We do

   this by delivering a digital workspace solution that provides unified, reliable and secure access to

   all work resources (apps, content, etc.) and simplifies work execution and collaboration across

   every work channel, device, and location.”




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          22.     The Company’s flagship software product is a platform called Citrix Workspace.

   The Company describes the platform as “a unified, secure and intelligent workspace with single

   sign-on access to all the applications and content [the customer’s] employees use in one uniform

   platform.”    Citrix Workspace “comes with ready integrations with widely-used business

   applications” such as Salesforce, Microsoft Outlook, and Google Workspace, and compatibility

   with identity and access management providers such as Okta and GoogleID. Citrix Workspace

   also provides customers with analytics on security and user performance.

          23.     In addition to the Citrix Workspace platform, the Company offers “App Delivery

   and Security” products (a.k.a. “Networking” products) such as Citrix ADC in order to “enable

   organizations to deliver applications with security, reliability, and better user experience.” The

   Company also offers customers various support options, such as technical support, training, and

   consulting.

          24.     The Company has a diverse array of customers, which it describes as “businesses

   of all sizes” including “the largest enterprises and institutions in the world spanning every major

   industry vertical, including healthcare, financial services, technology, manufacturing, consumer,

   and government agencies.”

          25.     To facilitate the sale and distribution of its products to customers, Citrix relies

   significantly on independent distributors and resellers (a.k.a. channel partners). To encourage

   sales, Citrix offers sales incentive programs that benefit channel partners when they sell the

   Company’s products to customers.

          26.     The software industry in which Citrix operates is intensely competitive. Companies

   such as Microsoft, Amazon Web Services (“AWS”), VMWare, and many others offer products

   and services similar to Citrix’s.


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          27.     The Company’s business historically focused on selling its products through

   “perpetual” software licenses to its customers. A perpetual license meant that customers paid

   upfront for lifetime access and support. The cost of each license was based on the number of users

   supported by the customer. This is in contrast to a subscription software license, which requires

   customers to pay a yearly subscription cost.

          28.     In conjunction with perpetual licensing, the Company historically delivered its

   software products to its customers through “on-premise” data centers owned and operated by its

   customers.

          B.      To Keep Pace with Competition, Citrix Needed to Transition to
                  Subscription Cloud-Based Operations

          29.     Over time, Citrix was forced to change its business model as the software industry

   shifted from perpetual licenses to subscriptions and from on-premise computing to cloud

   computing. According to Citrix, “[c]loud computing refers to the delivery of computing resources

   – things like applications, servers, storage, software, and networking – over the internet. Rather

   than host your own resources, you [the customer] can use them as services from various cloud

   providers.” “The cloud offers greater cost efficiency and nearly eliminates the [customer’s] need

   to make capital investments in on-premises infrastructure.”

          30.     Cloud computing software is typically delivered to the customer pursuant to

   Software-as-a-Service (“SaaS”) agreements, providing that the software is hosted on servers

   maintained by a third-party provider and accessed by the customer over the internet. This is

   distinct from the Company’s historic on-premise model discussed above, where the customer

   installs and maintains the software on its own servers. SaaS agreements are typically billed

   annually, with revenues recognized ratably over the contract term.



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          31.     By 2019, the Company faced stiff competition from providers of cloud computing.

   For example, Microsoft offered bundled pricing for its Windows Virtual Desktop offering,

   signaling that it was becoming a direct competitor with Citrix in the virtual-client computing

   market. Similarly, both Amazon and VMware were gaining a stronger share of the market amid

   increased demand.

          32.     As a result of these market dynamics, Citrix was forced to increasingly focus on

   delivering the Citrix Workspace platform through the cloud. The Company sought to develop

   partnerships with rapidly scalable public-cloud providers, including Microsoft and Google, and

   other technology partners that the Company designated as Citrix Service Providers (“CSPs”).

   Using Citrix’s software, the CSPs created their own cloud offerings that they managed on behalf

   of end customers.

          33.     Indeed, leading up to the Class Period, Defendants conveyed to investors that they

   were sharply focused on, and well-qualified to lead, Citrix’s subscription cloud transition. For

   example, on December 3, 2019, Henshall presented on Citrix’s behalf at the Credit Suisse

   Technology, Media & Telecom Conference. Henshall said that “there’s probably 3 big strategic

   transformations going on within the [C]ompany . . . . Number one was about moving from

   products to platform. . . . Number two was big change around moving from perpetual license to

   subscription. . . . And then the third big thing was moving our products from on-premise to cloud,

   and so we do that under the umbrella of what we call Citrix Cloud.” Henshall added: “I have

   slowly been evolving the leadership team to really focus on where the [C]ompany has been

   going[.]”

          34.     That same day, Shenkman presented on Citrix’s behalf at the Wells Fargo TMT

   Summit, his first investor conference as the Company’s CFO. Introducing himself, Shenkman


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   said: “[Citrix’s] economic model, I understand it because I’m coming from a business that went

   through a pretty significant cloud transition.”

          35.     On December 12, 2019, Hough presented on Citrix’s behalf at the Barclays Global

   Technology, Media and Telecommunications Conference. When asked to “give us a little bit of

   background on you[,]” Hough highlighted that, during his 22-year tenure at Microsoft: “I ran

   product for the Office division, helped start the SharePoint Team, helped with Office 365 and

   effectively, at that time, the transition of on-prem business to sort of cloud and SaaS and

   subscription.” Hough continued: “I came here to Citrix about 3.5 years ago and we’ve been sort

   of on that same journey of taking a set of, I would say, market-leading category products that were

   on-prem . . . bringing them together with more of a solution focus[,] and helping migrate that

   business to the cloud.” Hough also called a set of “new intelligence features in the Citrix

   Workspace,” which the Company had announced earlier that day, “a critical step in that journey

   to cloud.”

          C.      During the Class Period, Citrix Struggled to Transition to a Cloud-
                  Based Model, yet Defendants Knowingly Concealed the Company’s
                  Problems and Misled Investors

          36.     Despite the market’s secular shift to the cloud and Defendants’ emphasis on Citrix’s

   cloud transition, the Company continued to trail its cloud rivals during the Class Period. At the

   start of the Class Period, on January 22, 2020, Defendants told investors the Company’s goal was

   to have 50-60% subscription sales through 2022 versus 21% in 2019.

          37.     However, Citrix was well behind competitors in cloud sales, experiencing only low-

   single-digit sales growth in virtual-client computing, which contrasted with high-single-digit

   growth for the overall $4.5 billion market. Moreover, the Company had only moved about 10-

   15% of its installed customer base of existing licensed customers to subscriptions.


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          38.     A major issue with the cloud transition stemmed from the Company’s decision to

   allow customers to purchase hybrid license agreements. These agreements were essentially on-

   premise licenses with the possibility of transitioning to the cloud. Due to cost savings promised

   by Citrix, customers were willing to enter into these agreements so long as they retained their on-

   premise privileges. For instance, in exchange for agreeing to an ostensible cloud solution, Citrix

   no longer charged customers with on-premise maintenance fees and instead billed them on a

   subscription basis while they continued to operate on-premise. Although maintenance fees were

   cut, the agreements provided that the customer would continue to receive maintenance support

   regardless of whether the customer was using an on-premise or cloud product.

          39.     When Citrix entered into a cloud subscription with an existing on-premise

   customer, the contract permitted the customer to remain on-premise for up to a year, with the hope

   that the customer would transition to the cloud during the contract term, or at the expiration of the

   contract term. In reality, customers frequently extended their contracts beyond the contract term

   while remaining on-premise, without transitioning to the cloud, because they did not want to lose

   their on-premise privileges. Nonetheless, Citrix reported revenues from the extended contracts as

   cloud subscription revenues simply because the customers had theoretical access to the cloud and

   were no longer paying for maintenance of the on-premise infrastructure on which the customers

   continued to rely.

          40.     Compounding the problem with hybrid agreements, Citrix did not have a viable

   program to implement cloud solutions for its customers. While Citrix could undertake cloud

   implementations, it did not have enough personnel to handle them effectively on its own.

   Therefore, Citrix was dependent on striking deals with partners to undertake cloud

   implementations.


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          41.     However, Citrix failed to effectively develop a partner ecosystem capable of

   supporting such implementations. Citrix attempted to require that deals be run through partners,

   but this created problems with Citrix’s own sales representatives, who stood to lose money on

   those same deals. This dynamic created significant issues in early 2020, with Citrix backing away

   from assurances to its partners, causing strained relationships and a loss of trust, while certain

   account managers refused to work with Citrix’s partners entirely. Others undercut the Company’s

   partners by selling products to customers directly, instead of selling them through partners, even

   if the products had been designated for partners. In those cases, Citrix’s Professional Services

   organization, rather than the partners, would undertake the implementation of the products. Citrix

   vice presidents questioned why the Company relied on partners, alienating partners who learned

   of these issues, and also attempted to cut partners out of deals, only to be rebuffed by customers

   who refused to do so. There were even instances of partner account managers at Citrix, who were

   tasked with supporting Company partners through training and technical resources, refusing to

   work with Citrix’s partners.

          42.     Despite Citrix’s myriad problems transitioning to the cloud, Defendants misled

   investors at the beginning of the Class Period by representing that, not only was the transition on

   an accelerated track, it was “coming ahead of the accelerated plan.” Meanwhile, in truth, Citrix

   suffered from dire and deteriorating execution problems as well as fierce competition – for both

   new and existing customers – including in the SaaS and virtual desktop spaces and from the likes

   of heavyweights such as Microsoft/Windows365, VMware, and Zscaler. Citrix’s competitors had

   an easier time stealing the Company’s market share.

          43.     Defendants were able to mask the adverse effects of the slow cloud transition by

   capitalizing on a temporary shift to remote work due to the COVID-19 pandemic. In Citrix’s


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   earnings letter to shareholders on April 23, 2020, the Company disclosed that, in response to

   customers’ need to support employees working remotely, the Company had begun to offer short-

   term (up to one-year), on-premise Business Continuity Licenses at heavily discounted prices.

   Defendants touted an increase in the Company’s total product bookings as a result of these

   contracts.

          44.       While the Company’s shift back to Business Continuity Licenses was at odds with

   the cloud transition, the Company stated that it intended to quickly phase out the Business

   Continuity Licenses by the end of April 2020. Further, the Company indicated that despite their

   short-term nature, the Business Continuity Licenses would provide long-term benefits: “Our

   opportunity to engage with customers who are using Workspace on a shorter-term basis provides

   us with a great opportunity to further discuss the long-term, holistic benefits of more permanently

   deploying Citrix Workspace broadly across an organization.” Similarly, the Company stated that

   “[o]ver time, as more of our business transitions to subscription, we expect that average contract

   duration will increase, as cloud bookings typically have a 3-year contract duration, reflecting

   deeper extended relationships with our customers.”

          45.       Despite the temporary boost resulting from the Business Continuity Licenses, the

   Company continued to struggle with its cloud transition throughout 2020, as it was slow to

   transition existing on-premise customers to the cloud and acquire new cloud customers. On July

   23, 2020, the Company announced that it would discontinue offering new perpetual licenses for

   Citrix Workspace beginning October 1, 2020. Following the discontinuation, the Company stated

   that a “large portion” of its new business had transitioned to a subscription-based model. Many of

   those subscriptions, however, were in the form of on-premise subscriptions rather than cloud-based

   subscriptions.


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             46.   Behind the scenes, Defendants began to offer generous discounts to customers who

   would accept mere access to the cloud – while maintaining and continuing to rely on their full

   legacy, on-premise capabilities. Defendants even exempted such customers from all payments of

   maintenance fees, which had helped drive Citrix’s revenues for years.

             47.   This arrangement essentially allowed on-premise customers to continue to operate

   exactly as they had been, at significantly less cost, often with the option to extend the underlying

   contract for a period of years or longer.       Unsurprisingly, the customers chose to do so.

   Nevertheless, Defendants began to book revenues from such contracts as “subscription revenues”

   that they then heralded to the market.

             48.   Citrix’s cloud product was struggling further for several reasons. First, the cloud

   product did not augment user capabilities beyond those available on-premise sufficiently to entice

   customers to actually transition. Yet the cloud prospect came with a flurry of headaches, including

   growing sprawl in terms of the Company’s stock-keeping units (“SKUs”) and licensing models

   that made it significantly harder for customers to do business with Citrix.

             49.   Second, beyond the lackluster product, Citrix lacked the sales capacity necessary

   to sell enough cloud to meet Defendants’ accelerated transition timeline. Citrix lacked sales

   capacity both internally and externally regarding the Company’s channel partners as detailed

   herein.

             50.   Specifically, the Company suffered from long-standing and brewing problems with

   its channel partners, who were becoming increasingly alienated despite the Company’s need to

   rely on those same channel partners for the cloud transition. Close Citrix resellers, many of whose

   businesses historically centered on Citrix resales and services, had to pivot away from the

   Company because it had become increasingly difficult to make money on Citrix deals. This was


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   because Citrix switched away from a channel incentive program that gave its partners full margins

   upfront on a deal to a rebate program where roughly half of the margin came on the back end. Not

   only was this shift poorly received by Citrix’s partners, but getting paid by Citrix was also

   extremely difficult. The relationship with partners got progressively worse in early 2021 as the

   Company, faced with a slowdown in the pace of its cloud transition, entirely eliminated the back

   end payments to channel partners. As a result, multiple close Citrix partners sought to forge

   relationships with the Company’s competitors.

           51.     Third, Citrix likewise lacked the installation capacity necessary to deploy enough

   cloud to meet Defendants’ accelerated timeline. During the Class Period, Citrix became all but

   reliant on its disgruntled channel partners for installations.

           52.     Citrix’s struggle to get the cloud product to market exacerbated the Company’s

   financial issues flowing from the delayed collection of subscription revenues, a headwind that

   Defendants repeatedly leaned on as a crutch during conference calls with investors and financial

   analysts to ease concerns about various financial and transition metrics that could have belied the

   transition’s true, failing state of affairs.

           53.     In that vein, during the earnings call on October 22, 2020, one analyst asked: “First,

   for fiscal ‘21, the 4% growth, can you quantify the headwind from the shift to subscription for us?”

   Defendants’ avoidance of the question led the analyst to follow up with: “You can’t quantify that?”

   Shenkman finally answered: “It’s far too complicated. I think there’s way too many parts in that

   to be able to draw a percentage conclusion and equate that to a revenue line, particularly as you

   think about the networking business with software and hardware, that transition, and then the

   transition across SaaS and on-prem and perpetual and maintenance. I think it’s just – there’s no

   easy line of sight to that.”


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           54.    Alas, poor true cloud sales – i.e., ones other than the re-dressings of deals that

   remained on-premise under a veil of unused cloud access – against the subscription collection

   headwind left the Company with inadequate cash flow. Notwithstanding the lack of readily

   available capital, Defendants made brute-force calls on the Company to accelerate revenue growth,

   expand operating margins, and significantly grow Citrix’s market share amidst a hectic cloud

   transition – the exact reverse of the industry’s typical playbook for model transitions, i.e.,

   embracing and mitigating expected dips in revenues to step up investments to accelerate the

   transition.

           55.    Citrix’s weak cash flow fed back into existing issues, such as the hamstringing,

   under-compensation, and disenchantment of internal and external sales personnel, and caused new

   issues to manifest at the Company, as Calderoni ultimately acknowledged after the Class Period

   during the third quarter 2021 (“3Q21”) earnings call on November 4, 2021. Elaborating during

   that call on a handful of issues plaguing the Company, Calderoni noted, “we’re looking to remove

   distractions that not only depress margins, but distract us from growth.” Calderoni noted, “we are

   going to keep or increase our direct quota-carrying individuals[,]” and “we’re going to be making

   some changes and are making changes that will increase the compensation that we’re providing to

   our channel partners.” Calderoni continued that “we’re going to get more efficient[,]” as “we

   introduced far too many overlays over the last 12 to 18 months[,]” and “we have too many people

   getting compensated on the same deal.” Calderoni concluded: “I definitely see 2021 as a trough

   year for both margins and cash flow.” Calderoni and Shenkman continued to dodge questions

   about cash flow and related guidance for the call’s remainder.

           56.    To make matters worse, Defendants created an expectation that Citrix would re-

   sign those customers who bought Business Continuity Licenses to multi-year agreements and push


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   them to the Citrix cloud, but the Company failed to do so. Indeed, Citrix offered renewals to the

   customers that bought Business Continuity Licenses are roughly three times the price of what those

   customers paid previously. As a result, many of those customers experienced sticker shock and

   fled to competitors such as VMWare Horizon or Microsoft’s Azure Virtual Desktop. Those that

   stayed generally transitioned to another short-term on-premise subscription rather than a cloud

   subscription.

          57.      Given the slow cloud transition, the Company’s internal sales quotas became

   unrealistic and unattainable. When sales quotas for 2021 were being set, Citrix sought to grow

   more than it had in 2020, but failed to take into account the anomalous circumstances of that year,

   when the pandemic and the sale of Business Continuity Licenses caused a temporary boost in sales

   due to the increase in remote work. Basing the 2021 quotas on the outsized, pandemic-boosted

   sales performance in 2020 meant they were virtually unachievable and many of Citrix’s sales

   representatives concluded they would never be able to make them. The Company began to lay off

   a number of sales representatives in January 2021 as the cloud transition struggled. In addition,

   Citrix sales representatives received their last commissions checks for 2020 in February 2021,

   which was after they had received their unrealistic quotas for 2021. As soon as the checks were

   distributed, there was a mass exodus of sales personnel from Citrix. This further impeded the

   Company’s cloud transition.

          58.      Rampant employee turnover was noticed by Citrix’s partners as well. By October

   2021, one Citrix partner estimated that only 30% of current Citrix representatives in his geography

   were with the Company the year prior. Similarly, multi-decade veterans of the Company were

   abruptly leaving as their frustrations with Citrix’s compensation structure reached a boiling point.

   Under the old licensing model, Citrix representatives made commissions on net new sales and


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   renewals. With the pivot to a subscription model, representatives only got paid for the first year

   and did not get paid for renewals. This was exacerbated by new quotas in 2021, and the Company’s

   compensation structure made it almost impossible for sales representatives to make the same

   amount of money on commissions as they did in the past, leading many of them to leave the

   Company and take jobs elsewhere. The Company suffered as a result, with its veteran sales

   representatives leaving only to be replaced by younger, largely fresh out of college and

   inexperienced individuals. One Citrix partner stated if Citrix recalibrated its compensation plan

   in late 2021, then it could focus on hiring good talent in 2022, and then “things maybe get better

   by 2023.”

          59.     Defendants had inside knowledge of the Company’s problems with the cloud

   transition during the Class Period. Indeed, the transition was Defendants’ top priority. Defendants

   had multiple ways to differentiate how many customers were still on-premise from those that were

   on the cloud, including detailed metrics available on Citrix’s Salesforce.com application and on

   an internal Company database that tracked sales and customer transitions granularly. These

   metrics were available to and accessed by Defendants.

          60.     Moreover, Defendants repeatedly acknowledged their direct involvement with, and

   monitoring of, the cloud transition. They conveyed to the market that they had access to, and were

   continuously reviewing and evaluating, information concerning the transition and its effect on the

   Company’s bookings, revenue, margins, and cash flow.

          61.     In fact, the transition was discussed in every Citrix conference call and earnings

   letter during the Class Period. For example, on January 22, 2020, Henshall stated that “[i]n

   addition to our transition from delivering products to platforms, we have been transforming our

   business from perpetual to subscription and from on-premise to cloud.             Executing three


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   simultaneous but interrelated transformations has required a heightened level of coordination and

   alignment across the organization.” On July 23, 2020, Henshall stated: “So our focus, along with

   strong relationships with partners like Microsoft, is going to be on aligning and making this [cloud]

   transition as easy and as successful as possible for these customers.” On January 19, 2021,

   Henshall stated: “As Arlen [Shenkman] and I have both said in a couple of these comments, we’ve

   just been really focused over the back half of the year on migrating the installed base to

   cloud[] . . . and it’s going to be a focus area for us going into ‘21.” See also §IX, below (detailing

   additional factors supporting Defendants’ knowledge).

              62.   Despite this knowledge, Defendants concealed the problems from investors

   throughout the Class Period. Instead, they continually made public statements that gave the market

   a false, overly positive impression of the Company’s cloud transition and associated financial

   results.     See §§V-VI, below (detailing Defendants’ material misstatements and omissions).

   Simultaneously, Defendants focused on eking out incremental margins at the expense of Citrix’s

   sales force and partners.

              63.   The Individual Defendants personally benefitted from Citrix’s artificially inflated

   stock price resulting from these statements, supporting their motive to misrepresent and conceal

   the truth about the Company’s financial problems. They collectively sold more than $24 million

   of their personally held Citrix shares, in dozens of suspiciously timed transactions throughout the

   Class Period while the stock traded at artificially inflated prices. See §IX.C, below (further

   detailing these inside sales). While Defendants were cashing in, investors were in the dark about

   the true extent of the Company’s problems, and ultimately suffered as a result.




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          D.      Defendants Were Forced to Reveal the Truth About Citrix’s
                  Struggling Cloud Transition, Causing the Company’s Stock Price to
                  Plummet

          64.     Defendants could no longer conceal the truth as the Class Period continued. As

   detailed below, the Company’s cloud transition problems were revealed to the market in a series

   of three partial disclosures, causing the Company’s stock price to decline as artificial inflation

   came out of the stock price. See §§VI, X, below.

          65.     First, before the market opened on April 29, 2021, Defendants reported Citrix 1Q21

   earnings results, which badly missed on EPS and revenue, and revealed that, contrary to their

   previous statements, the Company had lower-than-expected conversions of Business Continuity

   Licenses to long-term cloud contracts. Instead, many customers simply “rolled into another short-

   term” on-premise license. The Company also significantly lowered its 2Q21 and FY21 guidance.

          66.     The market was stunned by this revelation. The Company’s common stock price

   fell from a closing price of $138.51 per share on April 28, 2021, to a closing price of $128.02 per

   share on April 29, 2021, on unusually high trading volume. As the market continued to digest the

   news, the stock price continued to fall the following day, closing at $123.85 per share on April 30,

   2021 on unusually high trading volume. The total stock price decline over this two-day period

   was 10.58%.

          67.     Nonetheless, Defendants continued to mislead the market, making numerous

   material misstatements and omissions regarding accelerated momentum the Company’s cloud

   transition and trying to minimize the negative financial impact of the 1Q21 results, assuring

   investors that 1Q21 would “mark the trough” and that “headwinds” to the business model would

   become “tailwinds” in the immediate future. See §VI, below.




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          68.     But, the truth continued to leak out during the Class Period as Citrix’s struggles

   with the cloud transition dragged on. The second disclosure came before the market opened on

   July 29, 2021, Defendants finally admitted that Citrix was facing a “challenge associated with

   transitioning the business to [cloud] and the need to evolve our sales strategy to deliver more

   predictable results,” and that the Company “had problems with really managing and accurately

   forecasting a lot of these new business areas.”          Defendants also disclosed a “significant”

   restructuring of its sales leadership, which “may cause short-term disruption before yielding

   tangible results.” Far from a “trough,” Citrix took another financial hit as its results missed on the

   top line, the Company’s FY21 profit forecast was lowered, and investors learned Citrix’s “cash

   flow from operations [would] be lower in 2021 as compared to 2020.”

          69.     Again, the Company’s announcements took the market by surprise. The common

   stock dropped 13.57% in a single trading day, closing at $99.00 per share on July 29, 2021, on

   unusually heavy trading volume.

          70.     The third disclosure landed on October 6, 2021, when Defendants surprised

   investors by revealing that Henshall had abruptly stepped down as the Company’s President and

   CEO, following an 18-year tenure as an executive at the Company, and that both Henshall and Dr.

   Ajei Gopal had stepped down from the Company’s Board. The Company also announced that it

   was postponing a scheduled meeting with securities analysts to an undecided date.

          71.     As a result of these additional disclosures, the Company’s stock fell from a closing

   price of $105.96 per share on October 6, 2021, to a closing price of $104.21 per share on October

   7, 2021, on unusually high trading volume. As the market continued to digest the news, the stock

   price continued to fall the following day, closing at $98.32 per share on October 8, 2021 on

   unusually high trading volume. The total stock price decline over this two-day period was 7.21%.


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           72.    In total, Citrix investors suffered significant damages when the truth was revealed

   through the above disclosures, causing the artificial inflation to come out of the stock price.

           73.    The fallout continued after the Class Period. On November 14, 2021, Citrix’s

   Board approved a massive restructuring program that included, among other things, job cuts and

   asset impairments. The Company expected to record approximately $130 million to $240 million

   in pre-tax restructuring and asset impairment charges in connection with the restructuring program,

   which was expected to take 18 months to complete.

           74.    On the same day, the Company announced that Hough was removed from his

   positions as CPO and EVP, shifting to an advisory role with the Company effective November 15,

   2021.

           75.    Then, on January 31, 2022, the Company disclosed that it had agreed to a leveraged

   buyout by two investors for approximately $16.5 billion. The deal, expected to close in mid-2022,

   will take the Company private by cashing out the Company’s shareholders at $104 per share,

   significantly less than the artificially-inflated Class Period high of $173.56 per share.

   V.      DEFENDANTS’ FALSE AND MISLEADING CLASS PERIOD
           STATEMENTS

           A.     Fourth Quarter and Full Year 2019 Statements and Financial Results

           76.    The Class Period begins on January 22, 2020, when the Company issued an

   earnings letter, filed with the SEC on a Form 8-K, reporting its fourth quarter 2019 (“4Q19”) and

   full year 2019 (“FY19”) financial results. In the letter, the Company stated that its “subscription

   model transition” was “accelerated.”        Citrix’s earnings letter continued: “Executing three

   simultaneous but interrelated transformations has required a heightened level of coordination and

   alignment across the organization. Looking back, we made great progress in 2019 that positions

   us well to continue to accelerate the pace of our transformation as we enter 2020.”

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           77.    The earnings letter also touted “strong demand” across both Citrix’s Workspace

   and Networking solutions and stated that “Workspace drove Citrix Cloud paid subscribers to 7.1M,

   a 64% year-over-year increase.”

           78.    The Company further stated:

           Looking ahead to 2020 and beyond . . . . The opportunity for Citrix is large and
           growing – and our product position has never been better. With Citrix Workspace
           with intelligence, we have an opportunity to both continue to grow our historical
           VDI [Virtual Desktop Infrastructure] business – and meaningfully grow broadly
           across an employee base, beyond our traditional knowledge worker end users.

           We are entering 2020 in a position of strength and look forward to executing to
           achieve our near and longer-term growth potential.

           79.    On the same day, January 22, 2020, the Company hosted an earnings call to discuss

   its 4Q19 and FY19 results and full year 2020 (“FY20”) outlook. Henshall and Shenkman spoke

   on behalf of the Company. During his opening remarks on the call, Henshall stated, in relevant

   part:

           I’d say our model transition continues to progress really well across both
           Workspace and our networking businesses, coming ahead of the accelerated plan
           that we outlined just last year. . . .

           80.    In the question-and-answer portion of the January 22, 2020 earnings call,

   Defendants were asked about the Company’s business model transition and its impact on revenue

   growth for FY20. In response, Henshall stated that the Company was “actually seeing an

   acceleration of that as the numbers get bigger. And that’s just a reflection of both net new, which

   is still the majority as well as migrating more of the installed base going forward.”

           81.    When asked to discuss FY20 guidance and the Company’s free cash flow, Henshall

   spoke about the impact on Citrix of customers shifting from up-front payments for perpetual

   licenses to the Company’s subscription model, where payments occur over time. Henshall stated

   that the resulting headwind to cash flow had “pretty much run its course. I mean we haven’t broken

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   it out in a couple of quarters, but it’s a very low percentage now versus where it was. So I think

   that headwind is pretty much gone at this point.”

          82.     On February 11, 2020, Henshall presented on Citrix’s behalf at the Goldman Sachs

   Technology & Internet Conference. Henshall described how Citrix was not experiencing the same

   cash flow problems that plagued other software companies that transitioned to a cloud-based

   structure, and stated, in relevant part: “[W]e didn’t have that massive decline in the overall P&L

   that a lot of others did, that was very, very limiting. Our businesses continue to be financially

   extremely strong throughout the transition. And while we do have a headwind to recognize

   revenue growth, we’ve still been highly profitable and very strong cash flow.”

          83.     Securities analysts reacted positively to Defendants’ statements. For example:

                 On January 22, 2020, Oppenheimer Equity Research stated that
                  “Workspace cloud traction was strong and we see further uptake from new
                  and existing customers now that enhanced capabilities are GA within the
                  platform. Meanwhile, Networking, SSP [Standalone Selling Price] revenue
                  growth doubled YoY [year-over-year] while non-SSP subscription traction
                  was evident with multiple new and large deals announced. We’re positive
                  on the subscription/SaaS transition[.]”

                 On January 23, 2020, Morgan Stanley Research (“Morgan Stanley”) raised
                  its target price for Citrix stock from $110 to $113 per share, and noted
                  Citrix’s progress on the transition.

          84.     On February 14, 2020, the Company filed its FY19 annual report on Form 10-K

   with the SEC (“FY19 10-K”), which was signed by Henshall, Calderoni, and Shenkman, among

   others. The FY19 10-K confirmed the Company’s previously announced financial results and

   outlook.

          85.     Describing the Company’s business model transition, including its shift to

   subscription and cloud offerings, the FY19 10-K stated:

          As an organization, we have been transforming our business in three primary ways:
          shifting our customers from on-premises datacenters to the cloud; moving from

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          perpetual licenses to a subscription business; and evolving our portfolio from
          building individual point products to a unified platform for work. During the year
          ended December 31, 2019, we released new solutions that illustrate our progress
          through this transformation, including Citrix Workspace with intelligent
          capabilities and Citrix Analytics for performance, both cloud subscription offerings
          made possible by a unified and expanded Citrix portfolio.

          Our subscription transition is expected to result in more sustainable, recurring
          revenue growth over time as less revenue comes from one-time product and
          licensing streams and more revenue comes from predictable, recurring streams that
          will be recognized in future periods. We believe that this dynamic is best captured
          in our Subscription and SaaS Annualized Recurring Revenue, or ARR. This
          operating metric represents the contracted recurring value of all termed
          subscriptions normalized to a one-year period. . . . As we continue through this
          business model transition, we believe ARR is a key indicator of the overall health
          and trajectory of our business. Management uses ARR to monitor the growth of
          our subscription business.

                                           *       *       *

          Our Subscription revenue increased primarily due to increased customer adoption
          of our cloud-based solutions from our Workspace offerings and an increase from
          on-premise licensing of our Networking offerings, primarily pooled capacity. . . .
          We currently expect total revenue to increase when comparing the first quarter of
          2020 to the first quarter of 2019. In addition, when comparing the 2020 fiscal year
          to the 2019 fiscal year, we currently expect total revenue to increase. . . . Both
          Subscription and SaaS ARR increased due to the acceleration of subscription sales.

          86.     The FY19 10-K also described the Company’s purported partner ecosystem as

   follows:

          We have developed our partner ecosystem to enable infrastructure choice for our
          Citrix Cloud customers. . . . We continue to expand the Citrix Workspace
          appliance program to enable a hybrid cloud choice for on-premises solutions, and
          we are forging partnerships with SaaS providers to deliver cloud access control
          and intelligent workspaces.

          87.     The Company also touted its development of technology partners within the CSP

   program: “As our customers shift workloads to the cloud, we have been cultivating a global base

   of technology partners within our CSP program. Our CSP program provides subscription-based

   services in which the CSP partners host software services to their end users. . . . For all of our



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   channels, we regularly take actions to improve the effectiveness of our partner programs and

   further strengthen our channel relationships through management of non-performing partners,

   recruitment of partners with expertise in selling into new markets and forming additional strategic

   global and national partnerships.”

          88.     The FY19 10-K included Certifications required by the Sarbanes-Oxley Act of

   2002 (“SOX”) signed by both Henshall and Shenkman, which stated in relevant part:

          1. I have reviewed this annual report on Form 10-K of Citrix Systems, Inc.;

          2. Based on my knowledge, this report does not contain any untrue statement of a
          material fact or omit to state a material fact necessary to make the statements made,
          in light of the circumstances under which such statements were made, not
          misleading with respect to the period covered by this report;

          3. Based on my knowledge, the financial statements, and other financial
          information included in this report, fairly present in all material respects the
          financial condition, results of operations and cash flows of the registrant as of, and
          for, the periods presented in this report;

                                            *       *       *

          5. The registrant’s other certifying officer(s) and I have disclosed, based on our
          most recent evaluation of internal control over financial reporting, to the
          registrant’s auditors and the audit committee of the registrant’s board of directors
          (or persons performing the equivalent functions):

          a) All significant deficiencies and material weaknesses in the design or operation
          of internal control over financial reporting which are reasonably likely to adversely
          affect the registrant’s ability to record, process, summarize and report financial
          information; and

          b) Any fraud, whether or not material, that involves management or other
          employees who have a significant role in the registrant’s internal control over
          financial reporting.

          89.     Defendants’ statements on January 22, 2020, February 11, 2020, and February 14,

   2020, as set forth in ¶¶76-88, above, were materially false and misleading and omitted material

   facts for the following reasons:



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                  (a)     The vast majority of Citrix’s customers were focused on continuity rather

   than a complex, costly, and uncertain transition to the cloud, and were not interested in any

   arrangement that would forfeit their on-premise capabilities. This was further amplified by the

   fact that Citrix’s cloud product did not significantly augment user capabilities beyond those already

   available to on-premise users. Despite this, Defendants represented the transition was accelerating.

                  (b)     The majority of customers ostensibly transitioning to the cloud only did so

   because Citrix had extended them cost savings as an incentive, while retaining the ability to operate

   on-premise. For example, such customers who entered into “cloud” contracts no longer had to pay

   maintenance fees to Citrix; those customers instead began to pay on a subscription basis, while

   continuing to operate on their legacy on-premise solutions, often for upwards of a year and with

   the ability to extend their contracts. Nonetheless, the Company reported revenues from such on-

   premise customers as cloud subscription revenue.

                  (c)     The Company undertook a pattern of extending existing customer deals

   rather than entering new agreements to avoid compensating sales representatives accordingly, and

   the Company already had been booking revenues from such deals as subscription revenues, despite

   customers continuing to operate on-premise. This resulted in a disgruntled, ineffective, internal

   sales force that often clashed with the Company’s partners.

                  (d)     The Company’s sales force was also constrained by Citrix’s decision to

   execute the business model transition under a rigid framework that attempted to balance revenue

   growth, operating margin expansion, and free cash flow growth order to meet management’s

   quarterly expectations.

                  (e)     Citrix lacked both the sales force necessary to bring the cloud product to

   market, and the infrastructure necessary to support the installation and deployment of the cloud


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   product, at the capacity necessary to justify Defendants’ sanguine characterizations of Citrix’s

   business transition. Therefore, Citrix essentially was dependent on a network of partners to

   successfully implement its cloud transition.

                  (f)     The Company lacked a proper network of partners to assist with the cloud

   transition. This was due, in part, to the fact that Citrix had switched away from its prior channel

   incentive program and because Citrix had lost the trust of its partners by encroaching on customers

   that Citrix had set aside for partners, cutting partners out of deals to avoid paying their fees, and

   by reneging on commitments to partners, all of which caused Citrix channel partners to forge

   relationships with Citrix’s competitors.

                  (g)     As a result of the above factors, Citrix was suffering from severe and

   deteriorating execution problems and it did not and could not meet the accelerated transition

   timeline, achieve the conversion numbers, or reap the related financial benefits that Defendants

   had touted to investors.

          B.      First Quarter 2020 Statements and Financial Results

          90.     On April 23, 2020, the Company issued an earnings letter, filed on a Form 8-K with

   the SEC, announcing Citrix’s financial results for the first quarter ended March 31, 2020 (“1Q20”).

   Listing first quarter highlights, the earnings letter stated that “SaaS ARR was $555 million, up

   48% year-over-year.”

          91.     The Company also stated: “Near-term strength was also amplified by our decision

   to make limited use Workspace licenses of Citrix Workspace available in the form of shorter-

   duration, discounted on-premises term offerings to quickly help our customers with their

   immediate business needs.”




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          92.     Regarding the Company’s Business Continuity Licenses, the earnings letter further

   stated that “[i]n the quarter, we saw accelerated demand for our solutions to address business

   continuity needs. . . . . To provide a flexible solution to help our customers manage through this

   period, we created a shorter (up to 1-year) duration on-premises term subscription license at

   discounted prices. . . . . As the world settles into a new normal, we intend to phase out this short-

   term license program at the end of April.”

          93.     Additionally, the earnings letter stated:

          In addition, our limited-use on-premises subscription offering in response to
          COVID-19 that provided customers with greater flexibility in terms of duration (up
          to 1-year) and price, decreased overall average contract duration in the quarter.
          Over time, as more of our business transitions to subscription, we expect that
          average contract duration will increase, as cloud bookings typically have a 3-year
          contract duration, reflecting deeper extended relationships with our customers.

          Beyond the crisis, our transition to a subscription model focuses on growing higher
          value recurring revenue streams that result in more of the business booked in the
          current period being recognized in future periods. This subscription model
          transition creates variability in the individual components of future committed
          revenue (short-term deferred, long-term deferred and unbilled) due to the mix
          within subscription.

          94.     Before the market opened on April 23, 2020, Citrix hosted a conference call with

   analysts and investors to discuss the Company’s operations and 1Q20 financial results. During

   the call, Shenkman and Henshall spoke positively about the Company’s financial results and

   ongoing transition. For example, in Henshall’s prepared remarks, he highlighted the Company’s

   “very strong first quarter reflecting the importance of Citrix to our customers’ business continuity

   efforts” and the benefit Citrix had from the “near-term pickup in demand as a result of this

   unprecedented pandemic as remote work in general changed from a nice-to-have to being truly

   mission-critical for all businesses.” Henshall described how in the long run, the “secular trends”

   of shifting work environments “will be a tailwind to our business as organizations around the


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   world are really recognizing the benefits to employee productivity, cost reduction and operational

   flexibility.”

           95.     When asked whether the Company was seeing an acceleration in the shift to the

   cloud in light of the COVID-19 pandemic, Henshall stated:

           I mean if you look at our business specifically in Q1, we have such a large base that
           is still on premises and we have over 7 million licenses in the cloud today. You
           balance that against roughly 100 million licenses that are on prem. So for our
           business, we saw a lot more expansion across that on prem, just sheer volume. But
           in general, I think that this current crisis is really going to accelerate the overall
           trends that we’ve seen in the industry, whether that is the adoption of public
           cloud, SaaS, remote and flexible working. These are trends that were already in
           place before this crisis hit. I think this will just serve as an accelerant to continue
           to move those forward because businesses realize that this isn’t a onetime event.
           This is really an example of just the overall trends and the reasons they were
           adopting many of these new technologies and business models.

           96.     When asked to provide detail regarding “mechanically how 2Q plays out as you

   phase out these limited use or burst capacity licenses” and whether “more normalized price points”

   would be in play, Henshall stated:

           I mean, against the backdrop of a very, very uncertain economic environment is
           how I think everyone should view our forward guidance. You talked specifically
           about the mechanics, you’re right. A lot of companies around the world went into
           this crisis assuming that the shelter-in-place orders were going to be a matter of
           weeks. I think many people are stepping back now and realizing that we’re not
           going to get back to a more normalized environment until vaccines are widely
           distributed around the globe, and so that becomes quarters or even years.

           And with that as a backdrop, we certainly believe that part of our operational
           execution over the next few quarters is about helping take some of these burst
           capacity licenses and really work to transition them into more permanent long-
           term cloud licenses. That’s going to be the right decision for customers and so
           we’ll put programs in place to do that as well.

           97.     In response to a follow-up question whether customers were asking for discounts

   or extended payment terms, Henshall stated: “So overall, the license structure was somewhat

   customized based on what the customers needed at that point in time. But I’d say that, overall, it


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   was a year or less. It certainly didn’t – none of them extended beyond 1 year. They are

   nonrenewable licenses really just intended as burst capacity. . . . So I think it’s a combination of

   both conversion of our short-term licenses that we put in place to help customers through the

   pandemic as well as broad secular changes that will occur over the course of many quarters or

   years.”

             98.    As the call continued, an analyst asked about long-term deferred revenue, and

   whether “we expect this to just start ticking down from here” and whether there was “any color

   you could give us about that line item, given people might not want to be paying multiple years

   upfront for quite some time[.]” In response, Henshall stated:

             Yes. It’s hard to forecast at this point in time. I mean, if you look at our duration,
             it obviously came down because of all the shorter-term capacity that we put in
             place. But in general, you step back and look at our future committed revenue and
             it was up 19% year-over-year versus, I don’t know, 13%, 15% growth in the back
             half of last year. So we did see a broad acceleration.

             I think it will depend over the next couple of quarters in terms of how companies’
             individual businesses are impacted. But in general, the importance of infrastructure
             to keep the roles that are effective remotely, to keep those people engaged is going
             to continue to be very strategic and very high on the list of what customers are
             prioritizing. So we’ll come back and report on that when we have better visibility
             into what some of those dynamics are.

             99.    As a result of Defendants’ false or misleading statements and omissions, analysts

   and investors were under the false impression regarding the Company’s transition to cloud-based,

   subscription products. For example, on April 23, 2020, Jefferies raised its price target on Citrix

   stock from $110 to $140 per share, noting under “FCF Targets” that “[a]lthough n-t mix dynamics

   could remain choppy, CTXS appears focused on executing on the model transition toward sub mix

   of 65-75% in 2020 and 85-80% by 2022 (alongside the $10 in FCF/share target).” Reflecting

   Defendants’ representations that Citrix would be able to roll over business continuity customers to

   cloud subscription accounts, the report continued: “We believe the next catalyst in the transition

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   process is the termination of perpetual license sales, which mgmt. continues to expect will happen

   over the NTM as the environment normalizes.”

            100.   On May 5, 2020, the Company filed with the SEC its quarterly report on Form 10-

   Q for 1Q20 (“1Q20 10-Q”). The 1Q20 10-Q was signed by Shenkman, confirmed the Company’s

   previously announced financial results and position, and included SOX Certifications signed by

   Shenkman and Henshall that were substantially similar to the Certifications described at ¶88,

   above.

            101.   Regarding the Company’s subscription cloud transition, the 1Q20 10-Q stated:

            Longer term, our subscription transition is expected to result in more sustainable,
            recurring revenue growth over time as less revenue comes from one-time product
            and licensing streams and more revenue comes from predictable, recurring
            streams that will be recognized in future periods. We believe that this dynamic is
            best captured in our Subscription and SaaS Annualized Recurring Revenue, or
            ARR. . . . As we continue through this business model transition, we believe ARR
            is a key indicator of the overall health and trajectory of our business. Management
            uses ARR to monitor the growth of our subscription business.

            102.   Addressing the impact of COVID-19 on the Company’s 1Q20 financial results, the

   1Q20 10-Q stated:

            To provide a flexible solution to help our customers manage through this period,
            we created a short-term on-premises term subscription license at discounted prices.
            This limited-use license program was intended to help our customers manage
            through the shock to the system created by the pandemic. We began to phase out
            this short-term license program at the end of April 2020.

                                             *      *       *

            Our Subscription revenue increased primarily due to customer demand for our
            solutions to address business continuity needs in response to the COVID-19
            pandemic. This impact was seen in the form of existing customers expanding
            their ability to use our technology through on-premise term subscriptions as well
            as increased adoption of our cloud-based solutions. In addition, to help
            customers address the immediate need of employees to work remotely, we offered
            limited use, shorter duration on-premise licenses, which also increased
            subscription revenue. Our Product and license revenue increased primarily due
            to higher sales of our perpetual Workspace offerings related to ongoing business

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          continuity sales in response to the COVID-19 pandemic, partially offset by lower
          sales of our perpetual Networking products. . . . Both Subscription and SaaS ARR
          increased due to the acceleration of subscription bookings as well as from business
          continuity sales in response to the COVID-19 pandemic.

          103.   Breaking down the Company’s revenues by source, the 1Q20 10-Q added:

   “Subscription revenue increased for the three months ended March 31, 2020 compared to the three

   months ended March 31, 2019 primarily due to an increase in on-premise license demand of $89.5

   million, mostly from our Workspace offerings of $61.0 million driven by ongoing business

   continuity sales in response to the COVID-19 pandemic and our Networking offerings of $28.5

   million, primarily from pooled capacity. Also contributing to the increase is continued customer

   adoption of our solutions delivered via the cloud of $37.1 million, primarily from our Workspace

   offerings.”

          104.   On May 12, 2020, Citrix participated in the JPMorgan Technology, Media and

   Communications Conference, with Shenkman speaking on behalf of the Company. During the

   conference, Citrix was asked to explain the “spike in terms of the on-premise uptake” and whether

   it impacted the Company’s “strategy going forward[.]” In response, Shenkman stated:

          So we’ve got 100 million users who are on-prem and about 7.7 paid users in the
          cloud. And so that will just tell you in general by the weight and the nature, even
          though we have a very strong SaaS performance, in fact, our ARR was up 48%
          year-over-year, the weighting is obviously significantly heavier towards the on-
          prem business. That being said, customers recognize the benefits of being in the
          cloud. They recognize the ability to flex the infrastructure. They recognize the
          performance benefits. So we see no lack of interest in that. That being said,
          customers are going to buy whatever meets their short-term need in order to
          enable the remote workers to gain access to their systems.

          105.   Defendants’ statements on April 23, 2020, May 5, 2020, and May 12, 2020, as set

   forth in ¶¶90-104, above, were materially false and misleading and omitted material facts for the

   following reasons:



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                  (a)     The vast majority of Citrix’s customers were focused on continuity rather

   than a complex, costly, and uncertain transition to the cloud, and were not interested in any

   arrangement that would forfeit their on-premise capabilities. This was further amplified by the

   fact that Citrix’s cloud product did not significantly augment user capabilities beyond those already

   available to on-premise users. Despite this, Defendants represented the transition was accelerating.

                  (b)     The majority of customers ostensibly transitioning to the cloud only did so

   because Citrix had extended them cost savings as an incentive, while retaining the ability to operate

   on-premise. For example, such customers who entered into “cloud” contracts no longer had to pay

   maintenance fees to Citrix; those customers instead began to pay on a subscription basis, while

   continuing to operate on their legacy on-premise solutions, often for upwards of a year and with

   the ability to extend their contracts. Nonetheless, the Company reported revenues from such on-

   premise customers as cloud subscription revenue.

                  (c)     Customers who entered into the Company’s Business Continuity Licenses

   were not poised to shift to new, long-term cloud contracts. Rather, when the Business Continuity

   Licenses expired, those customers would seek to enter into new, short-term, discounted, on-

   premise contracts, that stood to drive down Citrix’s average contract duration despite Defendants’

   assurances that the contracts were non-renewable and would not extend beyond one year.

                  (d)     The Company undertook a pattern of extending existing customer deals

   rather than entering new agreements to avoid compensating sales representatives accordingly, and

   the Company already had been booking revenues from such deals as subscription revenues, despite

   customers continuing to operate on-premise. This resulted in a disgruntled, ineffective, internal

   sales force that often clashed with the Company’s partners.




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                  (e)     The Company’s sales force was also constrained by Citrix’s decision to

   execute the business model transition under a rigid framework that attempted to balance revenue

   growth, operating margin expansion, and free cash flow growth order to meet management’s

   quarterly expectations.

                  (f)     Citrix lacked both the sales force necessary to bring the cloud product to

   market, and the infrastructure necessary to support the installation and deployment of the cloud

   product, at the capacity necessary to justify Defendants’ sanguine characterizations of Citrix’s

   business transition. Therefore, Citrix essentially was dependent on a network of partners to

   successfully implement its cloud transition.

                  (g)     The Company lacked a proper network of partners to assist with the cloud

   transition. This was due, in part, to the fact that Citrix had switched away from its prior channel

   incentive program and because Citrix had lost the trust of its partners by encroaching on customers

   that Citrix had set aside for partners, cutting partners out of deals to avoid paying their fees, and

   by reneging on commitments to partners, all of which caused Citrix channel partners to forge

   relationships with Citrix’s competitors.

                  (h)     As a result of the above factors, Citrix was suffering from severe and

   deteriorating execution problems and it did not and could not meet the accelerated transition

   timeline, achieve the conversion numbers, or reap the related financial benefits that Defendants

   had touted to investors.

          C.      Second Quarter 2020 Financial Results

          106.    On July 23, 2020, the Company issued an earnings letter, which was filed with the

   SEC on a Form 8-K, for the quarter ended June 30, 2020 (“2Q20”). The earnings letter highlighted

   “strong on-going demand for secure, remote work environments and the high-performance


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   delivery that Citrix solutions enable.” The earnings letter further stated that “Second quarter

   subscription ARR was $949 million, up 54% year-over-year, and SaaS ARR was $590 million, up

   41% year-over-year.”

          107.   The Company’s earnings letter also cited “strong demand for our Workplace and

   Networking products” and stated that the Company’s subscription model transition “regained

   momentum in the second quarter, with subscription bookings as a percentage of total product

   bookings at the highest levels we’ve seen historically. Importantly, we saw strong year-over-year

   growth in ARR and in future committed revenue.”

          108.   The earnings letter further added:

          As we continue to progress through our subscription model transition, we plan to
          discontinue offering new perpetual licenses for Citrix Workspace beginning on
          October 1, 2020. While there will be exceptions made for certain customers in
          specific industries or geographies, following this date the offering will no longer be
          generally available for new or existing customers. After this time, customers will
          have the option of acquiring new Citrix Workspace seats in the form of on-
          premises subscription or SaaS offerings. We expect the timing of this will impact
          our fourth quarter Product and license reported revenue. For the foreseeable future,
          we will continue to support and renew existing maintenance contracts.

          The subscription model transition serves as a bridge from legacy on-premises
          perpetual license and maintenance to the cloud. The interim step that has quickly
          gained traction is on-premises term subscriptions (“Other Subscription
          Revenue”). This option allows customers to continue to utilize the infrastructure
          in which they’ve already invested and – when acquired with hybrid rights – allows
          them to transition to the cloud at their own rate and pace.

          109.   While the Company acknowledged that “many customers are choosing on-premises

   term subscriptions rather than immediately migrating their Citrix Workspace deployments directly

   to the cloud” at a higher rate than anticipated, the Company downplayed this trend as a mere “lag

   in the transition and trade-up motion” that would only impact the Company’s revenue in “the

   medium term.”



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          110.    Focusing on how the Company would drive more and more customers to the Citrix

   Cloud, the earnings letter stated:

          One of the ways in which we intend to drive broader adoption and deeper
          penetration of our cloud services going forward is through our partnerships. Our
          longest and historically most strategic relationship has been with Microsoft. Last
          week, we announced a meaningful extension and enhancement of our long-standing
          partnership.

                                            *       *       *

          Citrix has never been more relevant to our customers and our partners. We are
          focused and aligned to maximize the opportunity we have to drive continued
          sustainable growth over the long-term aided by the secular shifts towards remote
          work, security and employee experience. While there’s no doubt we will need
          crisp execution to achieve this growth opportunity, we are optimistic as we look
          to the future.

          111.    On July 23, 2020, Citrix hosted a conference call with investors and analysts to

   discuss Citrix’s 2Q20 earnings, with Henshall and Shenkman speaking on behalf of the Company.

          112.    When asked whether Citrix was seeing “conversion of the short-term term licenses

   to perpetual or longer-term term [licenses,]” Shenkman stated that in 1Q20, Citrix had “a fair

   number of those that obviously tailed off in the [2Q20] to an immaterial amount.” Shenkman

   added that “as we exit the year and approach the beginning of next year, we’ll be very focused on

   converting those customers.” Similarly, Defendants were asked to explain the dynamic and drivers

   around customers “taking that in-between step of on-premise term and then only later going to like

   the pure cloud-cloud” and the “implications that you highlighted on the revenue side as well[.]”

   In response, Henshall stated:

          I think it’s less about sweating the assets and more just a recognition that 90-plus
          percent of our installed base is still on premises. And it was the easiest thing for a
          lot of them to do, to just expand as they were making a rush to put people into a
          remote work environment back in the end of Q1 time frame. So I think it’s just a –
          it’s an interim step, that’s the way we’re looking at it right now.




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           I mean those customers that have already made the move to cloud. We have 1 large
           financial institution, for example, that came to us and said, “I have no idea what we
           would have done with our tens of thousands of individuals had we not made those
           investments in the cloud already.” So there’s a recognition that cloud
           consumption, Citrix Cloud, public cloud, et cetera, will continue to increase and
           probably accelerate due to this environment and the flexibility that it affords. But
           for us, it’s just a matter of individual steps.

           As we talked about last quarter, customers were focused on more of the triage mode
           in Q1 and early Q2. And because of that, we’ve seen a number of projects, the
           larger projects, like the cloud conversion, just gets pushed out a little longer. And
           so no change directionally, just a matter of sequencing.

           113.    When asked to explain why “[t]he number of paid subs[cribers] on the cloud

   declined 3% sequentially” in 2Q20 and why “the customers trading up to the cloud offerings [were]

   not progressing at the rate you anticipated coming into the year[,]” and whether “there [is] anything

   you need to do from your side” or whether it was “more just the burst of perpetual that’s helping

   right now[,]” Shenkman blamed the business environment and stated:

           I think if you think about the decline in paid users, that’s clearly the reflection of
           a customer who is not in a position to make a very large transformation of their
           environment. And I think that’s also reflective a bit of what David had said in the
           letter around our TTU motion.

           And so while I think we continue to know that business resiliency and continuity
           are incredibly important to our customers, many of those customers are continuing
           buying what they’ve deployed because it works and it’s utilized and engaging for
           their employee base. And ultimately, they will get there at their own rate and
           pace, but it will take them some time. And I think that’s what’s reflected in kind
           of our guidance and what you’re seeing in terms of the conversation about the
           number of users.

           114.    As the July 23, 2020 earnings call continued, Defendants were asked to discuss the

   renewal rates of cloud customers and whether they were “trending in line with what you would

   expect[.]” That question led Henshall to discuss the “productivity of the sales organization,” and

   state, in relevant part:

           When you look at our renewals of the underlying subscriptions, our gross
           renewal rates have actually been increasing across any type of recurring revenue.

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          And I think a lot of that is just is – we’ve probably talked about in the last several
          quarters, it’s just a renewed focus on the underlying programmatic side of things,
          the focus on customer success, driving active use and whatnot. So our underlying
          renewal rates have been increasing across the board.

          115.   As the call continued, Defendants were asked to explain “the uplift” on a “per seat

   basis” for the conversion of “some of the enterprise seats from discounted short-term licenses to

   longer-term contract deals[.]” In response, Shenkman stated:

          I think that would be consistent with what we’ve articulated in terms of a 35%
          uplift in a seat license to the cloud. And I don’t – I think that the way to think
          about that, Robert, is obviously, we want to convert those customers to be SaaS
          customers and to get them to have the additional functionality around security and
          analytics and engagement with their employees as they get being on our SaaS
          platform. So I think that’s consistent, that will be our selling motion. And
          obviously, that will start to happen as we come into the beginning of next year and
          think about those users.

          116.   In his closing comments, Henshall reiterated that Citrix’s “subscription business

   model is obviously on track[.]”

          117.   On July 31, 2020, the Company filed with the SEC its quarterly report on Form 10-

   Q for 2Q20 (“2Q20 10-Q”). The 2Q20 10-Q was signed by Shenkman, confirmed the Company’s

   previously announced financial results and position, and included SOX Certifications signed by

   Shenkman and Henshall that were substantially similar to the Certifications described at ¶88,

   above. Discussing the Company’s 2Q20 financial results and the transition, the 2Q20 10-Q stated:

          During the three months ended June 30, 2020, our subscription model transition
          regained momentum, with strong demand for our Workspace and Networking
          solutions. We believe that our second quarter performance reflects the confidence
          of our customers in Citrix’s vision and the critical role Citrix’s solutions have in
          helping customers drive continued sustainable growth over the long-term aided by
          the secular shifts towards remote work, security and employee experience.

          As we continue to progress through our subscription model transition, we plan to
          discontinue offering new perpetual licenses for Citrix Workspace beginning on
          October 1, 2020. While there will be exceptions made for certain customers in
          specific industries or geographies, following this date the offering will no longer be
          generally available for new or existing customers. After this time, customers will

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          have the option of acquiring new Citrix Workspace seats in the form of on-
          premises subscription or SaaS offerings.

          Longer term, our subscription transition is expected to result in more sustainable,
          recurring revenue growth over time as less revenue comes from one-time product
          and licensing streams and more revenue comes from predictable, recurring
          streams that will be recognized in future periods. We believe that this dynamic is
          best captured in our Subscription and SaaS Annualized Recurring Revenue, or
          ARR. . . . As we continue through this business model transition, we believe ARR
          is a key indicator of the overall health and trajectory of our business. Management
          uses ARR to monitor the growth of our subscription business.

          118.   The 2Q20 10-Q reported financial results including an increase in SAAS revenue

   by 43.2% to $130.6 million and an increase in SaaS ARR by $172.0 million to $590 million. The

   Company added:

          Our Subscription revenue increased primarily due to an increase in on-premise
          license demand, mostly from our Workspace offerings and our Networking
          offerings, primarily from pooled capacity. Also contributing to the increase is
          continued customer adoption of our solutions delivered via the cloud. . . . We
          currently expect total revenue to increase when comparing the third quarter of
          2020 to the third quarter of 2019 and when comparing the fiscal year 2020 to the
          fiscal year 2019 due to the acceleration of our transition to a subscription-based
          model. . . . Both Subscription and SaaS ARR increased due to the acceleration
          of subscription bookings.

          119.   Breaking down the Company’s revenue performance in the quarter, the 2Q20 10-

   Q added further:

          Subscription revenue increased for the three months ended June 30, 2020 compared
          to the three months ended June 30, 2019 primarily due to an increase in on-premise
          license demand of $48.2 million, mostly from our Workspace offerings of $29.7
          million and our Networking offerings of $18.5 million, primarily from pooled
          capacity. Also contributing to the increase is continued customer adoption of our
          solutions delivered via the cloud of $39.4 million, primarily from our Workspace
          offerings.

          120.   Defendants’ statements on July 23, 2020 and July 31, 2020, as set forth in ¶¶106-

   119, above, were materially false and misleading and omitted material facts for the following

   reasons:



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                  (a)     The vast majority of Citrix’s customers were focused on continuity rather

   than a complex, costly, and uncertain transition to the cloud, and were not interested in any

   arrangement that would forfeit their on-premise capabilities. This was further amplified by the

   fact that Citrix’s cloud product did not significantly augment user capabilities beyond those already

   available to on-premise users. Despite this, Defendants represented the transition was accelerating.

                  (b)     The majority of customers ostensibly transitioning to the cloud only did so

   because Citrix had extended them cost savings as an incentive, while retaining the ability to operate

   on-premise. For example, such customers who entered into “cloud” contracts no longer had to pay

   maintenance fees to Citrix; those customers instead began to pay on a subscription basis, while

   continuing to operate on their legacy on-premise solutions, often for upwards of a year and with

   the ability to extend their contracts. Nonetheless, the Company reported revenues from such on-

   premise customers as cloud subscription revenue.

                  (c)     Customers who entered into the Company’s Business Continuity Licenses

   were not poised to shift to new, long-term cloud contracts. Rather, when the Business Continuity

   Licenses expired, those customers would seek to enter into new, short-term, discounted, on-

   premise contracts, that stood to drive down Citrix’s average contract duration despite Defendants’

   assurances that the contracts were non-renewable and would not extend beyond one year.

                  (d)     The Company undertook a pattern of extending existing customer deals

   rather than entering new agreements to avoid compensating sales representatives accordingly, and

   the Company already had been booking revenues from such deals as subscription revenues, despite

   customers continuing to operate on-premise. This resulted in a disgruntled, ineffective, internal

   sales force that often clashed with the Company’s partners.




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                  (e)     The Company’s sales force was also constrained by Citrix’s decision to

   execute the business model transition under a rigid framework that attempted to balance revenue

   growth, operating margin expansion, and free cash flow growth order to meet management’s

   quarterly expectations.

                  (f)     Citrix lacked both the sales force necessary to bring the cloud product to

   market, and the infrastructure necessary to support the installation and deployment of the cloud

   product, at the capacity necessary to justify Defendants’ sanguine characterizations of Citrix’s

   business transition. Therefore, Citrix essentially was dependent on a network of partners to

   successfully implement its cloud transition.

                  (g)     The Company lacked a proper network of partners to assist with the cloud

   transition. This was due, in part, to the fact that Citrix had switched away from its prior channel

   incentive program and because Citrix had lost the trust of its partners by encroaching on customers

   that Citrix had set aside for partners, cutting partners out of deals to avoid paying their fees, and

   by reneging on commitments to partners, all of which caused Citrix channel partners to forge

   relationships with Citrix’s competitors.

                  (h)     As a result of the above factors, Citrix was suffering from severe and

   deteriorating execution problems and it did not and could not meet the accelerated transition

   timeline, achieve the conversion numbers, or reap the related financial benefits that Defendants

   had touted to investors.

          D.      Third Quarter 2020 Statements and Financial Results

          121.    On September 9, 2020, Henshall spoke on Citrix’s behalf at the Citi Global

   Technology Conference.       When asked what parts of demand for Citrix’s offerings were

   sustainable, Henshall stated, in relevant part:


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          I think at a micro level, we clearly saw Q1 as a huge quarter in a number of different
          dimensions. And some of that, of course, was capacity that we framed out as
          limited-use licenses or I describe that as first capacity sometimes. And so what we
          did there is we excluded those licenses from our ARR calculations. Just trying to
          make it as plain and simple about an understanding of how the business dynamics
          are really growing. And then as those licenses come up for renewal at the end of
          this year and into Q1, we’ll then migrate those to permanent licenses, is the plan.
          And if so, then those move into the ARR calculation. So that’s our way of kind
          of looking at the anomalous Q1 time frame. But as you said, Q2 is also extremely
          strong, and so we saw this carry-on effect, as businesses moved out of that triage
          mode, much more into what do I need to be able to sustain security, productivity,
          connectivity across a more protracted environment. And I’d say that was more Q2
          and in the second half of the year, it’s a little bit back to, okay, what are the
          transformational projects I need to run my business. And so while first half is
          focused on just that and expanding on-prem, second half is a little bit more back
          to driving that new SaaS, driving on-prem to cloud subscriptions for our installed
          base and those things that I would consider to be more strategic.

          122.    When asked to expand on what caused Citrix’s SaaS to slow down in 2Q20,

   Henshall stated:

          SaaS ARR decelerated to – it’s still 41%. But it decelerated from the high 40s.
          And I think that’s a combination of 2 factors. One was we were selling more on-
          premise term than we were net new SaaS. And the other factor is a lower focus
          on customer migrations, existing customers from on-prem to cloud. And both of
          those were situational things that were just not a priority, either for Citrix or for
          customers in the first half. And I think you should expect to see those rebound
          in the second half, certainly where we’re putting a lot of our focus. . . . So I look
          at it as temporary, and you should expect to see more focus on new paid
          subscribers, SaaS ARR and underlying installed base migration. So we’ll talk
          more about that after Q3 and Q4.

          123.    As the September 9, 2020 conference continued, Henshall was asked “how do you

   look at the pace of investment needed in the business” and “what potentially, a higher growth rate

   on the revenue side does from a flexibility perspective there[.]” In response, Henshall stated:

          Yes. I’d say, in general terms, we are biased more for growth, but we’re doing
          that within a tight discipline of a business model. As you’ve seen from our long-
          term targets, as we laid out kind of the transition of the business model, it included
          a dip in margins, mostly over last year before it starts to come back. This year,
          because we’ve outperformed so much. So the margins have been well ahead of
          what expectations had been. But longer term, we think there’s a ton of leverage in
          this model. We’ve been operating in just north of 30%, and we’ve had long-term

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            targets that are a little higher than that as well. So I think bias for growth right
            now, we’re making a lot of investments to drive more sustainability. We have
            actually several hundred open recs right now across engineering. It’s probably the
            largest area of investment for the company, as we look to not only expand our
            existing footprints, but also drive new innovation projects that we have on the list,
            but we just don’t have the capacity to get to yet. So I mean we’re – I think we’re
            making the right choices, but focused on medium and long term.

            124.   On October 22, 2020, Citrix filed with the SEC on Form 8-K the Company’s

   earnings letter for the third quarter ended September 30, 2020 (“3Q20”). The earnings letter stated

   Citrix’s results “reflect strong on-going demand for the Citrix Workspace” and that they marked

   “the final period in which the perpetual license model for the Workspace was broadly available.”

   The 3Q20 earnings letter added that, going forward, Workspace would “primarily be sold as a

   SaaS or on-premises subscription” and that the “changing mix” was evident in the 3Q20 results

   and expectations going forward.

            125.   Among the Company’s highlights, the 3Q20 earnings letter touted that subscription

   ARR was $1.03 billion, up 53% year-over-year, and SaaS ARR was $630 million, up 36% year-

   over-year, and that subscription bookings as a percentage of total product bookings were 77%, up

   from 59% in third quarter of 2019. The Company also stated that Citrix Cloud paid subscriber

   growth reaccelerated to 8.3 million, up from 7.5 million in the second quarter and 6.1 million in

   the third quarter of 2019. Reported revenue was $767 million in 3Q20, up 5% year-over-year,

   with GAAP diluted EPS of $0.78 and non-GAAP diluted EPS of $1.38. The 3Q20 earnings letter

   added:

            In the third quarter, we continued to benefit from strong demand for our Workspace
            solutions as organizations and their employees settle into an increasingly familiar
            cadence of flexible work and begin to contemplate the longer-term priorities of
            business agility, security and employee experience. The momentum in our
            subscription model transition continued from the second quarter into the third
            with subscription bookings as percentage of total product bookings at the highest
            levels we’ve seen historically, driven by Workspace. This is despite the announced
            sunset of broad availability of perpetual Workspace licenses beginning on October

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          1st. Going forward, customers will have the option of acquiring new Citrix
          Workspace seats in the form of on-premises subscription or SaaS offerings.
          However, we will continue to support and renew existing maintenance contracts for
          the foreseeable future. Importantly, we saw strong year-over-year growth in ARR
          and in future committed revenue in the third quarter.

          The impact of the shift towards subscription in our model can been see in the sharp
          year-over-year decline in Product and License revenue as well as the steady decline
          in Support and Services reported revenue lines, more than offset by strength in
          Subscription revenue.

          126.   The 3Q20 earnings letter provided additional details regarding the Company’s use

   of both a subscription model and cloud-based offering as a simultaneous part of its transition,

   representing that the subscription model was working as a bridge to increased cloud penetration

   and growth:

          The subscription model transition serves as a bridge from legacy on-premises
          perpetual license and maintenance to the cloud. On-premises term subscriptions
          (“Other Subscription Revenue”) allows customers the flexibility to continue to
          utilize the infrastructure in which they’ve already invested and – when acquired
          with hybrid rights – allows them to transition to the cloud at their own rate and
          pace.

          Through the first three quarters of the year, many customers focused on near-term
          business critical needs as their workforces adapted to remote work. As such, these
          customers have chosen on-premises subscriptions rather than immediately
          migrating their Citrix Workspace deployments directly to the cloud. As a result,
          the transition and trade-up of customers to our cloud offering has not progressed
          at the rate we had anticipated coming into the year. This lag in the transition
          and trade-up motion has impacted the growth rate of reported SaaS revenue and
          SaaS ARR.

          Looking ahead, there are a number of factors that impact our visibility, not least of
          which is the course of COVID-19 infection rates and the shape of the global
          economic recovery. Still, we are comfortable providing some highlights of our
          current view of how the full year 2021 is expected to look at a high level. At this
          time, our initial guidance for FY’21 revenue is growth of approximately 4% of
          FY20.

          Keep in mind that during 2021, the year-over-year revenue growth rate by quarter
          will vary considerably relative to prior years. This is due to the strong upside we
          experienced in the first quarter of FY’20 due to business continuity, combined with
          our decision to discontinue the availability of the perpetual Workspace licenses in


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          the third quarter of 2020. Therefore, we expect the quarterly growth rate to be
          sharply negative in the first quarter of FY’21, ramping each quarter after that.
          Looking beyond 2021, we believe we are currently well-positioned to achieve the
          longer-term goals we shared one year ago.

          127.    The Company also stated in the earnings letter that it raised full year 2020 revenue

   guidance to $3.20 billion to $3.21 billion, from $3.18 billion to $3.21 billion and increased Citrix’s

   GAAP operating margin expectation to approximately 18% from a range of 17% to 18% and

   GAAP diluted EPS to $3.81 to $3.92 from $3.48 to $3.69. The Company raised its non-GAAP

   diluted EPS to a range of $5.89 to $5.99, up from a range of $5.65 to $5.99, up from a range of

   $5.65 to $5.85. The Company stated its guidance “reflect[ed its] expectation that subscription

   bookings as a percentage of product bookings will increase to a range of 70% to 75%,” up from

   the prior range of 65% to 75% FY20.

          128.    For fiscal year 2021, the Company stated that it would achieve 4% year-over-year

   revenue growth, GAAP diluted EPS of $3.73 to $3.93, and non-GAAP diluted EPS of $6.20 to

   $6.40, which reflected “a full year of impact from discontinuing the general availability of

   perpetual Workspace licenses” that compared “to the availability of perpetual Workspace licenses

   through the first three quarters of 2020.” The Company added:

          In the first quarter of 2020, $111 million of revenue was directly attributable to
          business continuity needs as a result of the pandemic, creating a difficult year-over-
          year compare in the first quarter of 2021. Of the $111 million revenue uplift
          experienced in the first quarter of 2020, $47 million was from limited use non-
          renewable on-premises term licenses. Our goal is to convert these customers to
          more standard subscriptions. The degree to which we are successful in
          converting these customers to cloud subscriptions, which is our strategic
          direction, will impact our reported revenue in the quarter, as more of the
          bookings value would go to deferred revenue.

          129.    On October 22, 2020, Citrix hosted a conference call with investors and analysts to

   discuss Citrix’s 3Q20 earnings, with Henshall and Shenkman speaking on behalf of the Company.

   In his opening remarks, Henshall stated:

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           I’m pleased to report another really strong quarter of results even with a mix of
           subscription bookings that’s running higher than anticipated. The transition clearly
           accelerated over the last quarter, and we now expect the year to finish with 85% to
           90% of total bookings coming from subscription bookings in the fourth quarter.
           Regardless of this, for the full year, we’re still raising the midpoint of our revenue
           guidance and, of course, raising our operating margin and EPS expectations
           considerably.

                                             *       *       *

           And so we leave with that as a backdrop. We’re really well positioned to achieve
           our longer-term targets that we outlined at this time last year . . . .

           130.    At the outset of the question-and-answer portion of the call, Defendants were asked

   about the “bounce back in the cloud subscribers” and “how much of that was truly quarterly

   momentum[.]” In response, Henshall stated that “if you take a step back and you look at paid

   subscribers, you’re right, we had really good sequential growth from Q2 to Q3” and added, “there

   was an anomaly last quarter” and that “this is just net increases of about 800,000 new paid

   subscribers on a sequential basis[,]” adding, “it tracks very well to everything that we’ve talked

   about over the last 6 months.” Concerning the trajectory of the Company, Henshall added:

           Back half of the year, as I’ve stated a few times, is really focused on getting back
           to driving more of the strategy of the company, migrating existing users to the
           cloud, focusing on net new users in SaaS and in some cases, on-prem
           subscriptions. And so we’re just executing against what we’ve said before.
           Happy with the progress on that side. And you clearly see it when you look at
           subscription ARR, which is now over $1 billion and continuing to grow north of
           50% year-on-year.

           131.    As the call went on, an analyst asked about the Company’s “temporary licenses”

   and “what degree of success of conversion” Citrix was forecasting. In response, Shenkman stated,

   in relevant part:

           [W]hen we think about the conversion of the licenses that you asked about, we’re
           thinking of those as SaaS. So we obviously are driving towards a longer-term
           relationship with those customers and migrating those customers to our SaaS
           solutions, which obviously has its own transition.



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          And then – and as David mentioned, the networking business, the only thing I’d
          highlight for you is, and we obviously took this into account when we thought
          about our growth rate going into ‘21, is the acceleration of the mix, right? And
          the acceleration of the mix in the networking business this quarter looks a lot like
          what you would have seen Workspace a couple of years ago, which is it went from
          29% to 66%. So we’re talking about very significant moves in that business. And
          obviously, that’s all baked into how we thought about our growth trajectory and
          how we’re going to go into ‘21.

          132.   As the call continued, another analyst again asked about the subscription cloud

   transition, asking for “an update on the economics” and whether the Company was seeing “a

   revenue lift from a [perpetual] license moving to a subscription versus license to SaaS.”

   Responding, Henshall stated:

          There’s really 2 aspects of that, that I think are important to understand. The first
          one is when we’re talking about installed base customers, the traditional Citrix
          customers that are moving from where they were to a Citrix Cloud, that uplift from
          their ongoing maintenance requirements are – it’s roughly 30%, 40%. That hasn’t
          changed, that number has been very consistent, and that’s what we have been able
          to execute against.

          In terms of the overall economics, no change. Pricing has actually been remarkably
          stable over the last 2, 3 quarters across our various platforms. And so we don’t –
          the breakeven from an economic standpoint for us, whether we’re selling a
          subscription cloud service or we’re selling a perpetual license, remains just under
          3 years from a time frame. But probably more importantly, from a strategy point
          of view, what that allows us to do is not only ensure customer success to a higher
          level, but it gives us a lower friction when we’re starting to layer on incremental
          innovations like our analytics services, for example, performance and security
          analytics, where it just becomes an add-on sale. And that’s just one example of
          how, over time, we expect to be able to drive higher value per customer.

          133.   Later on the October 22, 2020 call, Defendants were asked about the “pace of the

   conversion from the burst licenses or the short-term capacity licenses that you guys had in the

   beginning of the year, when you’re thinking about your forecast for calendar ‘21, which you gave

   from a revenue perspective,” as well as whether there were “expectations that you can share with

   us about the conversions[.]” In response, Henshall stated:




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          [W]e are running programs, of course, that will start at the end of this year, but it’s
          really more of a Q1, Q2 phenomenon. And the intent there is to convert those
          licenses to SaaS. And so those would have less of a recognized revenue impact
          into 2021, but we certainly expect that we’ll be able to convert a good portion of
          those, and that’s just based on early conversations, customer usage data, et
          cetera. But again, because they’re converting from what had been largely
          recognized upfront to a longer-term subscription, it’s a relatively muted benefit
          that will just flow in over time.

          134.    When asked about 2021, and the initiatives Citrix has in place to “make your push

   to the cloud” and “drive that adoption of cloud[,]” Henshall responded, in relevant part:

          Along with that, we’ve been investing in higher-level architectural guidance and
          the types of customer success and business value engineering that allow customers
          to think about these things more strategically. Tactically, we’re also investing in
          our customer success teams that help customers get up and running quickly,
          ensure usage and ultimately renewal long term, as well as engineering
          investments that I talked about over the last couple of quarters, continuing to
          drive as quickly as possible on things like migration tools, on anything that we
          would perceive as a blocker or an area that is just hard. And so some of that is
          just work, and we just need to keep working through it.

          Longer term, the strategic answer is that all of our new innovation is coming via
          cloud. Heather asked a question about Analytics, which is a really cool new
          platform service that we’re delivering. That is only going to be really available
          to customers that are on the cloud as well as the level of intelligence that we’re
          building into the Workspace over time to automate simple common workflows
          today, but over time, much more complex AI-driven workflows that will focus on
          driving a new level of user engagement, user productivity and ultimately output.
          And so that’s kind of how we address it both short term and long term.

          135.    Talking about the Company’s forecasts and confidence in its longer term targets,

   Henshall added:

          Well, the simple answer is that a year ago when we were talking about longer-term
          targets, I mean, today, we are running roughly $100 million higher revenue than
          the expectations entering this year. We just provided an initial guidance for 2021.
          It’s probably $50 million, $60 million higher than the current consensus. And
          so we are continuing to bump up our expectations. That’s against the backdrop
          of a really uncertain economic environment around the world.

          So we’re looking at it just based on the success that we have had, the pipelines
          and the execution that we have delivered over the last few quarters and then these
          broader, let’s call them, secular trends that are going on in the market. So

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          nothing happens in a straight line, of course, but obviously, our confidence,
          based on our results and our execution continues to move forward.

          When it comes to the pace of cloud transition and where we’re focused and where
          our customers are focused, they’re really tactical quarter-to-quarter items.
          Nothing has changed from a longer-term strategic path.

          136.    Later in the call, Defendants were asked to “quantify the headwind from the shift

   to subscription” for the 4% growth Citrix projected for fiscal year 2021 (“FY21”). In response,

   Shenkman said, “I mean it’s embedded in our transition.” When pressed by an analyst asking,

   “You can’t quantify that?[,]” Shenkman stated, “It’s far too complicated. I think there’s way too

   many parts in that to be able to draw a percentage conclusion and equate that to a revenue line,

   particularly as you think about the networking business with software and hardware, that transition,

   and then the transition across SaaS and on-prem and perpetual and maintenance. I think it’s just

   – there’s no easy line of sight to that.” Jumping in, Henshall added, “I’d add, just look at what

   we’ve done this year from a recognized revenue standpoint, plus the 20% growth in future

   committed revenue. Next year, our guidance is, right now, 4% growth in the top line, and I

   would expect future committed to also continue to expand.”

          137.    Pressed again on what Citrix was doing to “incentivize and encourage customers to

   shift to the cloud offering[,]” Henshall stated:

          I’d say it’s less about customer incentives and more about internal things that
          we’re doing. And so really the – probably the most important, most pronounced,
          of course, is engineering and innovation and things that we’re doing individually to
          deliver high-quality, resilient, feature-rich solutions. That’s just a given. Second
          thing is how do we look at their environment and make it easier. And that
          includes the work that we’re doing around migration tools, around customer
          success programs, around architectural guidance, and we’ll continue to execute
          on that. And then the work we do with partners like Microsoft and Google and
          Amazon and others to try and help them migrate not just the Citrix component, but
          the underlying workloads in a more holistic approach. We’re going to keep pushing
          on all 3 of those.



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          We are making some adjustments as we look into the future around internal
          incentives to make sure that we’re putting a higher importance on transition of
          the installed base. I think we’re at that point where we can do that, and we should
          do that now, aligning that – not only across our field-facing resources, but across
          the entire company. So it’s those types of incentives that we’ll do internally. And
          then externally, it’s just about delivering product.

          138.    On October 30, 2020, Citrix filed with the SEC its quarterly report on Form 10-Q

   for 3Q20 (“3Q20 10-Q”), confirming the Company’s previously announced financial results and

   position. The 3Q20 10-Q was signed by Shenkman and included SOX Certifications signed by

   Shenkman and Henshall that were substantially similar to the SOX Certifications described at ¶88,

   above. Discussing the Company’s 3Q20 financial results and subscription model transition, the

   3Q20 10-Q stated:

          During the three months ended September 30, 2020, the momentum in our
          subscription model transition continued, driven primarily by strong demand for
          our Workspace solutions. We believe that our third quarter performance reflects
          the confidence of our customers in Citrix’s vision and the critical role Citrix’s
          solutions have in helping customers adapt to the secular shifts towards hybrid and
          flexible work, security and employee experience.

                                             *       *       *

          Longer term, our subscription transition is expected to result in more sustainable,
          recurring revenue growth over time as less revenue comes from one-time product
          and licensing streams and more revenue comes from predictable, recurring
          streams that will be recognized in future periods. We believe that this dynamic is
          best captured in our Subscription and SaaS Annualized Recurring Revenue, or
          ARR.

          139.    Recapping 3Q20 and the focus of its customers, the 3Q20 10-Q stated that Citrix’s

   cloud transition was progressing slowly because of the pandemic, but that Citrix was investing in

   various cloud-based initiatives to spur the transition:

          Through the first three quarters of 2020, many customers focused on near-term
          business critical needs as their workforces adapted to remote work precipitated by
          the pandemic. As such, these customers have often chosen on-premises
          subscriptions rather than immediately migrating their Citrix Workspace
          deployments directly to the cloud. As a result of this near-term focus of customers

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          on business critical needs and other cloud migration challenges, the transition
          and trade-up of customers to our cloud offerings has not progressed during 2020
          at the rate we had anticipated at the beginning of the year. To address the
          challenges in transitioning our customers to the cloud, we continue to invest in
          innovation and feature development, simplified cloud migration, and
          performance and reliability, as well as other cloud customer success initiatives.

          140.    Addressing the Company’s previous use of Business Continuity Licenses, the 3Q20

   10-Q stated:

          To provide a flexible solution to help our customers manage through this period, in
          the first quarter of 2020, we created a short-term on-premises term subscription
          license at discounted prices. This limited-use license program was intended to help
          our customers manage through the shock to the system created by the pandemic.
          We phased out this short-term license program at the end of April 2020. The
          contribution from this limited-use license program was not material in the third
          quarter of 2020, but its impact will be reflected in our full year results.

          141.    Describing the reasons behind the increase in Citrix’s subscription revenue, the

   3Q20 10-Q stated:

          Our Subscription revenue increased primarily due to an increase in on-premise
          license demand, mostly from our Workspace offerings and our Networking
          offerings, primarily from pooled capacity. Also contributing to the increase is
          continued customer adoption of our solutions delivered via the cloud. Our
          Product and license revenue decreased primarily due to lower sales of our perpetual
          Networking solutions as customers continue to shift to our subscription offerings.
          The decrease in Support and services revenue was primarily due to decreased sales
          of maintenance services across our perpetual Networking and Workspace offerings
          and professional services, as more of the revenue is reported in the Subscription
          revenue line commensurate with our subscription model transition. We currently
          expect total revenue to increase when comparing the fiscal year 2020 to the fiscal
          year 2019 due to the acceleration of our transition to a subscription-based model.
          The increase in operating income was primarily due to an increase in gross margin
          partially offset by higher operating expenses. . . . Both Subscription and SaaS
          ARR increased due to the acceleration of subscription bookings.

          142.    Defendants’ statements on September 9, 2020, October 22, 2020, and October 30,

   2020, as set forth in ¶¶121-141, above, were materially false and misleading and omitted material

   facts for the following reasons:




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                  (a)     The vast majority of Citrix’s customers were focused on continuity rather

   than a complex, costly, and uncertain transition to the cloud, and were not interested in any

   arrangement that would forfeit their on-premise capabilities. This was further amplified by the

   fact that Citrix’s cloud product did not significantly augment user capabilities beyond those already

   available to on-premise users. Despite this, Defendants represented the transition was accelerating.

                  (b)     The majority of customers ostensibly transitioning to the cloud only did so

   because Citrix had extended them cost savings as an incentive, while retaining the ability to operate

   on-premise. For example, such customers who entered into “cloud” contracts no longer had to pay

   maintenance fees to Citrix; those customers instead began to pay on a subscription basis, while

   continuing to operate on their legacy on-premise solutions, often for upwards of a year and with

   the ability to extend their contracts. Nonetheless, the Company reported revenues from such on-

   premise customers as cloud subscription revenue.

                  (c)     Customers who entered into the Company’s Business Continuity Licenses

   were not poised to shift to new, long-term cloud contracts. Rather, when the Business Continuity

   Licenses expired, those customers would seek to enter into new, short-term, discounted, on-

   premise contracts, that stood to drive down Citrix’s average contract duration despite Defendants’

   assurances that the contracts were non-renewable and would not extend beyond one year.

                  (d)     The Company undertook a pattern of extending existing customer deals

   rather than entering new agreements to avoid compensating sales representatives accordingly, and

   the Company already had been booking revenues from such deals as subscription revenues, despite

   customers continuing to operate on-premise. This resulted in a disgruntled, ineffective, internal

   sales force that often clashed with the Company’s partners.




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                  (e)     The Company’s sales force was also constrained by Citrix’s decision to

   execute the business model transition under a rigid framework that attempted to balance revenue

   growth, operating margin expansion, and free cash flow growth order to meet management’s

   quarterly expectations.

                  (f)     Citrix lacked both the sales force necessary to bring the cloud product to

   market, and the infrastructure necessary to support the installation and deployment of the cloud

   product, at the capacity necessary to justify Defendants’ sanguine characterizations of Citrix’s

   business transition. Therefore, Citrix essentially was dependent on a network of partners to

   successfully implement its cloud transition.

                  (g)     The Company lacked a proper network of partners to assist with the cloud

   transition. This was due, in part, to the fact that Citrix had switched away from its prior channel

   incentive program and because Citrix had lost the trust of its partners by encroaching on customers

   that Citrix had set aside for partners, cutting partners out of deals to avoid paying their fees, and

   by reneging on commitments to partners, all of which caused Citrix channel partners to forge

   relationships with Citrix’s competitors.

                  (h)     As a result of the above factors, Citrix was suffering from severe and

   deteriorating execution problems and it did not and could not meet the accelerated transition

   timeline, achieve the conversion numbers, or reap the related financial benefits that Defendants

   had touted to investors.

          E.      Fourth Quarter and Full Year 2020 Statements and Financial Results

          143.    On November 17, 2020, the Company participated in the RBC Global Technology,

   Internet, Media and Telecommunications Conference, with Hough speaking on behalf of the




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   Company. During the conference, Hough was asked to speak about what investors should look

   forward to in the next year. In response, Hough stated, in relevant part:

          First of all, if this year was a benchmark, next year will surprise all of us again.
          And so -- as someone who’s very much engaged in the market and understanding
          how we can respond to customers, that’s certainly something that I’m anxious to
          participate in because I think we have a very significant role to play. I don’t think
          the market happens to a company like Citrix. I think we help shape markets.
          And I want to be out there actually doing our part to help drive those
          opportunities forward. I’m very excited about the platform opportunity that
          we’ve created and the possibility of partnering with some very high scale partners
          that could really help drive productivity across the world into that next level.

          And for me, I mean, I’ve had the privilege of working on high scale businesses that
          you could say moved markets and helped move the position in economies. And I
          want to do that again. We’re doing it already at Citrix, but I think we have an
          even bigger opportunity to do that. And I think the platform opportunity and our
          ability to engage with partners, our focus on things like security and helping
          customers through this transition to cloud, that’s where we’re going to be
          focused, and I’m very excited about the next year.

          144.    Less than a week later, on November 20, 2020, the Company announced that Hough

   would transition his role away from the day-to-day operations of the product function to an

   externally focused product strategy role, effective December 1, 2020.

          145.    On December 2, 2020, Citrix participated in the Wells Fargo TMT Conference,

   with Shenkman speaking on behalf of the Company. During the conference, Shenkman was asked

   to provide detail on the degree to which Citrix had “penetrated [its] installed base with Citrix

   Cloud” and “what the rate and pace looks like, going forward[.]” Shenkman replied:

          So we – I think that we’ve had very significant adoption for new customers, and
          that’s continued, right? New customers go to the cloud and that’s what they buy,
          and it’s a very simple part of the equation. What we identified last year at Investor
          Day and what we’ve been – Dave and I have been talking about really in the first
          half of this year is the conversion of the core customer base is something that’s
          going to take time because where we sit in the infrastructure.

          Now, I think, as you heard on our calls in the first half of the year, those
          conversations were challenged because of the environment we’re in. Those
          conversations have been much more robust and open in the second half of the year.

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          We are seeing much more traction in those conversations with our customers.
          That core base still will take time. And that’s the reason we reviewed our
          partnership with Microsoft, that’s the reason we’re investing in our global
          strategic investment – integrator partnerships around the globe. It’s the reason
          that you’re going to see – you could see us continue to be close to the other cloud
          providers because we’re part of that journey. So as our customer base moves to
          the cloud, they will go with us, that will take several years. And that’s – I think
          we’re on pace for that. That’s how we feel about it. This is just – COVID in the
          short term was an opportunity for customers to value, but they had to take
          essentially a breath to make sure that they could get through this environment
          before we go to the next.

          146.   Regarding the Company’s partnership with Microsoft, Shenkman stated:

          One of the things that I was – we were hoping that we were able to do and I think
          we did it in a holistic way over the summer was to announce that Microsoft is now
          reselling our product and retiring a horde for selling their product and is entirely
          aligned with our field organization through these selling motion.

          So while there may be some confusion on the technology side, we think that our
          ability to compute or send our technology and show differentiation, which is really
          where Citrix has been born and raised will continue to happen. And now we have
          even better alignment on the sales motion so that we can ensure that we’re
          aligned when it comes to approaching customers.

          147.   Discussing financial aspects of the Company’s cloud transition, Shenkman stated

   at the December 2, 2020 conference:

          That being said, even though – and you see it in the mix in the Workspace, right?
          So the mix of the business is clearly accelerating and we provided guidance that
          we will be between 85% and 90% coming out of the year. So we feel good about
          the mix and where we are. But that being said, we have 100 million users and we
          have 8 million families, right, 8,000 subscribers. So you can see the difference in
          that in terms of the journey, which is why we’ve been pretty clear that it’s going to
          take us another few years. We’ll continue to get – we’ll move toward 36-month
          contracts. We’ll continue to move customers. We will have some customers who
          are going to be in certain industries, like financial services or public sector, where
          they will stay on-prem for some period of time. So we’ll have to start to adjust as
          we think about where we’re going in the model at the end of the transition.

          But we feel good about what we laid out last year and we feel good about the
          transition. We feel good about the mix and the metrics that we highlighted
          around future committed revenue, which is up 20% year-over-year around our
          ARR growth. And as you know, by end-of-life in the perpetual license, we’ve
          moved to a much more subscription model. That’s obviously step 1 in terms of this

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          journey. So we’ll continue to move that subscription line to SaaS as we migrate
          the customers. We feel good about what we did this year. We feel good about
          our long-range plan. And we’re now 14 months past that first touch point, and
          we continue to feel good about the metrics we laid out. And we – as you know,
          we basically hit every metric we laid out or better.

          148.   As the conference continued, Shenkman was asked whether Citrix saw any pull

   forward of perpetual licenses in 3Q20 in light of the Company’s announcement that it was

   discontinuing their sale on October 1, 2020. In response, Shenkman stated:

          So I think to the first part of the question, we were really – because we have
          provided 12 months of insight into the factor that we are going to be end-of-life in
          the perpetual license, it was – there was really very little. We – over the course of
          the year, we really structured our compensation plans to kind of align with our
          field incentives, with our customers’ incentives. And so it was – there was not –
          there was nothing material in terms of any end-of-life business that came through
          in the quarter, and again, it was kind of a slow ramp down as we went through the
          year.

          149.   Shenkman added, “Look, we continue to feel comfortable with our 2022 targets.

   We have no reason to not be comfortable with what we said and we continue to be comfortable

   with our plan. And so I know a lot of people are focused on the $10 of free cash flow in ‘22, and

   we feel comfortable with what we laid out, and we don’t see any adjustments.” When asked to

   talk about efficiency and the combination of accelerating revenue growth while simultaneously

   investing in growth, and how that would impact the Company’s margins, Shenkman added:

          Most of the dollars we’ve put into work have been around customer success, so to
          ensure that when our customers are migrating to the cloud or in the cloud were
          successful and stood up. Some of our client infrastructure continue to hire engineers
          around making improvements to our cloud infrastructure and our performance. We
          still continue to feel good about where we are from a go-to-market standpoint,
          although we have made investments in our Microsoft partnership. We’ve made
          investments around some of the GSIs. So we’ll continue to do that.

          150.   On December 7, 2020, COO Schmitz presented on Citrix’s behalf at the Raymond

   James Technology Investors Conference. When asked to comment on the status of conversion of

   customers who signed up for Business Continuity Licenses, Schmitz stated, in relevant part:

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          And so our long-term vision isn’t necessarily to just capture these licenses and make
          sure that they move forward for another year. It’s really about transitioning the
          customer to be on a preferred platform, which, in this case, is our cloud platform,
          for not only this tranche of licenses that they bought out of necessity in the
          pandemic but really all of their licenses, inclusive of these new users, and moving
          those licenses forward to our latest technology. That is Citrix Cloud. It enables
          a single and consistent environment for employees to use, regardless of whether
          they’re in the office, whether they’re at home or whether they’re in an alternate
          location and also regardless of the hardware device that they’re using to access
          those applications and content.

          So our teams, whether they be the renewals teams or our go-to-market sales
          organizations, are in deep conversation with all these customers about what the
          future looks like and how this, frankly, plays into something we had started far
          before the pandemic about moving our customers from their on-premise
          environments that, frankly, were operating and doing their jobs into our Citrix
          Cloud environments and offer them greater access to innovation, highly valued
          capabilities that are not available on premise. And then also, one of the bigger
          lessons here is an infinitely scalable environment that no longer constrains the
          customer on what they can do due to physical environments they run – that they
          may run themselves.

          151.    During the December 7, 2020 conference, Schmitz was asked to explain how Citrix

   was incentivizing its sales force to transition the base to the cloud, including how investors should

   “think about quota requirement or any other nuance there to get a better understanding of the

   incentives that play here[.]” Schmitz stated:

          Yes. So I would say our incentive model continues to refine, albeit less so on an
          annual basis than it did, say, 3 years ago, where our sellers were on compensation
          plans that were primarily focused on selling perpetual license products. That was
          the core.

          We began to move them to subscription but not at a rate and pace that was
          unnatural for our customers. We wanted to make sure there was plenty of time.
          And as we move from 2020 to 2021, you will see a continued benefit to the seller
          for selling new SaaS license expansion as well as the transition of the base to
          cloud. That is their major incentive.

          But we do have customers that, frankly, are not going to make that move in 2021.
          And therefore, they do have an option to buy subscription on-premises license,
          albeit not at the same premium to the seller. So we’ve tried to balance our incentive
          model to make sure that our customers get access to the technology that they need
          but does begin to drive everyone in the direction of Citrix Cloud, frankly because

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          that’s where lots of our investments are, that’s where lots of the new innovation
          exists and that’s where a lot of the capability that drive these new multi-hybrid
          cloud operating environments are going and trending. And we want to make sure
          that we’re there as the foundation begins to build and not playing catch-up in
          any of those accounts.

          152.   On January 19, 2021, the Company announced its agreement to acquire Wrike, Inc.

   (“Wrike”), a Vista Equity Partners portfolio company, a leader in the SaaS collaborative work

   management space, for $2.25 billion in cash. Regarding the merger, the Company stated the

   “addition of Wrike’s cloud-delivered capabilities” would “accelerate Citrix’s business model

   transition to the cloud and strategy to become a complete SaaS-based work platform addressing

   the needs of various functional groups within the enterprise.”

          153.   Also on January 19, 2021, Citrix issued an earnings letter, filed with the SEC on

   Form 8-K, for the fourth quarter (“4Q20”) and fiscal year ended December 31, 2020 (“FY20”).

   The earnings letter highlighted that subscription ARR was $1.20 billion, up 62% year-over-year,

   SaaS ARR was $725 million, up 39% year-over-year, and that reported revenue was $810 million

   in 4Q20 and $3.24 billion for FY20. For the quarter, GAAP diluted EPS was $0.89 and non-

   GAAP diluted EPS was $1.46. For the full year, GAAP diluted EPS was $4.00 and non-GAAP

   diluted EPS was $6.10. The earnings letter also highlighted that for the quarter, subscription

   bookings as a percentage of total product bookings was 85%, up from 69% in the 4Q19, and that

   for FY20, subscription bookings as a percentage of total product bookings was 75%, up from 62%

   in FY19.

          154.   The earnings letter also stated:

          Our fourth quarter results continued execution against our strategy – including
          strong on-going demand for the Citrix Workspace and an acceleration of our
          customers adopting Citrix Cloud to manage their workspace environments. The
          pandemic that we have all experienced has accelerated the trends driving distributed
          teams and hybrid-work, emphasizing the importance of an organization’s ability to


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          securely deliver all of the work resources employees need in one unified
          experience.

          Today’s announcement of our entry into a definitive agreement to acquire Wrike,
          a market-leading born-in-the-cloud Collaborative Work Management platform,
          is expected to accelerate our strategy and supports our common mission of
          removing the complexity of today’s distributed work environments so employees,
          teams and organizations can perform at their best. This acquisition will allow us
          to move forward faster in our strategy to build on and expand beyond the growing
          virtualization market.

                                            *      *      *

          As we enter the new year with the transition of our Workspace product bookings
          to a subscription model largely behind us and an acceleration in the transition of
          our installed base to the cloud, we are keenly focused on propelling our SaaS
          business forward. Strategically, operationally and financially, we believe Wrike is
          an exceptional fit. As a leading provider of SaaS Collaborative Work Management
          solutions, providing a core day-to-day productivity platform that delivers the tools
          to structure, track, report, and collaborate across a range of work scenarios, Wrike
          will complement Citrix’s accelerating SaaS business and expands Citrix
          Workspace. Together, Citrix and Wrike will provide a cloud-delivered digital
          workspace experience that empowers all employees and teams to securely access,
          collaborate, and execute work efficiently and effectively across any work channel,
          device, or location.

          155.     Providing context for the Company’s 4Q20 and FY20 financial results, the earnings

   letter added:

          Our fourth quarter results are highlighted by the increased traction in
          transitioning our installed base to the cloud. As forecasted, the modest uptick we
          saw in the third quarter in transitioning our installed base gained momentum as
          we progressed through the fourth quarter, increasing our confidence that the lull
          we experienced in transitioning our customers to the cloud in the first half of
          2020 was primarily a short-term, transitory consequence of our customers’
          priorities in light of the early phases of the pandemic. The acceleration of our
          year-over-year SaaS ARR growth rate reflects the improvement we are seeing in
          customers migrating to the cloud.

          The fourth quarter of 2020 marked the end of broad availability of perpetual Citrix
          Workspace licenses. Now, customers have the option of acquiring Citrix
          Workspace seats in the form of on-premises subscription or SaaS offerings. As a
          result, subscription bookings as a percentage of Workspace product bookings
          increased to 95% in the fourth quarter of 2020, up from 73% in the year ago period.
          The impact of the shift towards subscription in our model is also evident in the


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           sharp year-over-year decline in Product and License revenue as well as the steady
           decline in Support and Services reported revenue lines, more than offset by strength
           in Subscription revenue.

                                             *       *       *

           The transition of our installed base is gaining traction, and the opportunity for
           Citix in the years ahead is substantial as secular shifts toward distributed hybrid
           and flexible work, security and employee productivity should serve as key demand
           drivers well into the future.

           156.   The earnings letter also provided FY21 and 1Q21 guidance, highlighting revenue

   of $3.33 billion to $3.36 billion, GAAP operating margin of 19%, non-GAAP operating margin

   of 30%, GAAP diluted EPS of $4.01 to $4.22, and non-GAAP diluted EPS of $6.20 to $6.40 for

   FY21.

           157.   For 1Q21, the earnings letter stated revenues would be $785 million to $795

   million, with GAAP diluted EPS of $0.87 to $0.93 and non-GAAP diluted EPS of $1.40 to $1.45.

   Providing color on the Company’s 1Q21 expected performance, the earnings letter further stated:

           In the first quarter of 2020, $111 million of revenue was directly attributable to
           business continuity needs as a result of the pandemic, creating a difficult year-over-
           year compare in the first quarter of 2021. Of the $111 million revenue uplift
           experienced in the first quarter of 2020, $47 million was from limited use non-
           renewable on-premises term licenses. Our goal is to convert these customers to
           more standard subscriptions. The degree to which we are successful in
           converting these customers to cloud subscriptions, which is our strategic
           direction, will impact our reported revenue in the quarter, as more of the
           bookings value would go to deferred and unbilled revenue. Our first quarter
           guidance assumes SaaS bookings as a percentage of total subscriptions bookings
           will be 40% to 45%.

           158.   On January 19, 2021, Henshall and Shenkman – together with the founder and CEO

   of Wrike, Andrew Filev – participated in Citrix’s earnings call with investors and analysts to

   discuss Citrix’s 4Q20 and FY20 earnings and FY21 outlook. In his opening remarks, Henshall

   touted the success of the Company’s transition, stating, in relevant part:




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          The transformation of Citrix that we initiated a few years back has been really
          successful. We now have over $1.2 billion in subscription ARR. And importantly,
          SaaS ARR, which is now $725 million, reaccelerated in the fourth quarter, up
          nearly 40% year-on-year.

          What drove this strong growth is our installed base, moving more aggressively to
          Citrix Cloud. This is a trend that we talked about earlier in the year, started to
          pick up in Q3, and it really stepped up a lot in the fourth quarter as we continue
          to demonstrate the value of new technologies and, of course, the TCO [Total Cost
          of Ownership] benefits and moving to Citrix Cloud.

          Our fourth quarter and full year results, again, exceeded expectations, both on the
          top and the bottom line. When I step back and reflect on the full year of 2020 and
          compare results against the original guidance that we provided at this time last year,
          our reported revenue came in over $120 million above the midpoint, and EPS was
          more than $0.60 above the midpoint. We accomplished all this while aggressively
          transitioning to a subscription model, sunsetting the general availability of the
          perpetual license option in the Workspace and driving 75% of our total product
          bookings sold as subscriptions. This is up from 62% a year ago.

          So now with the large majority of our business on a subscription model, we’re
          focused on moving even faster in our transition to the cloud. . . .

          159.    During the question-and-answer portion of the call, Henshall was asked about the

   sustainability of the pace of Citrix’s cloud transition, and responded, in relevant part:

          As we move through Q2, we started talking about refocusing a lot of our efforts
          back on installed base migration, net new Citrix Cloud. And you saw those results
          in the third quarter as we stepped up probably 50% improvement over what we had
          seen in the second quarter and then the further expectation that, that would continue
          to take off in Q4. And that’s exactly what happened.

          We actually exceeded our plan for installed base migration. And we’re doing that
          because customers are really seeing the value, both in terms of the net new
          technologies that we’re bringing to bear across the Citrix Cloud portfolio that
          allows them to do a number of new things, managing a hybrid infrastructure,
          optimizing virtual delivery of infrastructure as well as all of the other capabilities
          around intelligence and endpoints, et cetera.

          We’ve also demonstrated the TCO benefits of being able to migrate from an on-
          premise to a cloud solution, working together with great partners like Microsoft
          and others, bringing down their total cost of ownership pretty substantially. I
          think all those messages are resonating, and we expect that to continue into 2021.




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          160.    When asked about potentially accelerating subscriber count on Citrix Cloud in

   2021, Henshall stated that “this trend that we had seen even before that just migrating infrastructure

   to cloud for all the obvious benefits really accelerated” and that “right now, I think that this move

   for Citrix is only going to accelerate from here.” Henshall added:

          We’ve seen great success in the second half of the year. We’re demonstrating the
          benefits to customers. And we’re reinforcing that, of course, with things that
          we’re doing internally across our innovation portfolio, across compensation
          structures, et cetera, to make sure that, that continues into ‘21.

          161.    Addressing the status of the limited-use Business Continuity Licenses that Citrix

   sold in 1Q20, Henshall told investors the Company was working on migrating them to SaaS “as

   much as possible[,]” but did not provide meaningful detail, stating:

          The majority of those, just remind everybody, were put in place so with 1-year
          terms at the very end of Q1 and into Q2. So a lot of those conversations are just
          starting right now to have one really good anecdotal data point.

          One of the world’s largest financial services institutions actually decided to early
          migrate some of their limited-use licenses to Citrix Cloud that resulted in a 7-figure
          transaction in Q4. So that’s clearly the plan. We’re working on that over the first
          half of this year to migrate those to SaaS as much as possible.

          162.    As the January 19, 2021 earnings call continued, an analyst asked about Citrix’s

   cash flow, including the Company’s indication that cash flow would be up year-over-year, and

   asked if Henshall could “help us understand the shape of cash flow – free cash flow this year.”

   Henshall responded, “Yes, as we said in the letter, cash flow per share was up nicely this year,

   over 30%. We expect it to be up again nicely in 2021. . . . So we’re standing by the $10 number

   that we put out in terms of 2022. Don’t expect any change to that.”

          163.    As the call went on, an analyst asked whether Citrix had a preference for selling

   term versus cloud subscriptions “now that perpetual license is behind us,” and asked how Citrix

   would “incentivize customers to choose between term and cloud[.]” In response, Henshall stated


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   the “clear preference is to sell cloud, which is a SaaS license and move our customers to Citrix

   Cloud.” Regarding on-premise term subscriptions, Henshall described them as “a bridge license

   for those customers that are not quite ready to move to cloud for whatever reasons.” As to how

   Citrix incentivized customers to move to the cloud, Henshall stated:

          We incentivize that in 2 ways. One is by demonstrating to customers the value of
          cloud. And those are things that I’ve talked about earlier, lots of incremental
          capabilities, TCO savings and many things that we can talk about from a business
          point of view.

          Internally, when you talk about incentives, yes, we tweak our own internal
          incentives to make sure that our field sellers are incented to sell cloud, net new
          customers as well as installed base migration. And frankly, we’re rolling out
          some of that more broadly across the company to make sure that throughout all
          of Citrix, we’re very much focused on customer success, active use, migrating
          customers to cloud, et cetera. So I’d say it’s a very holistic approach.

          164.    At the end of the January 19, 2021 earnings call, Henshall provided closing

   comments, stating that Citrix was “clearly gaining traction in the transition of our installed base

   in the cloud as we’ve been forecasting throughout the year, and we expect this to continue into

   2021.” He added that “Wrike really accelerates our strategy and is expected to be neutral to 2022

   non-GAAP earnings and cash flow, while accelerating revenue growth” and that “the secular

   trends towards distributed hybrid work, again, that we’ve talked about throughout the year, should

   provide a nice healthy tailwind to both our organic and our combined businesses in the future.

   That’s why we’re very excited about ‘21 and excited about Citrix.”

          165.    On February 8, 2021, the Company filed with the SEC its annual report on Form

   10-K for FY20 (“FY20 10-K”), confirming the Company’s previously announced financial results

   and position. The FY20 10-K was signed by Henshall, Shenkman, and Calderoni, and included

   SOX Certifications signed by Henshall and Shenkman that were substantially similar to the SOX

   Certifications described above at ¶88.


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          166.    Regarding the Company’s partners, the FY20 10-K stated:

          We reward our partners that identify new business, and provide sales expertise,
          services delivery, customer education, technical implementation and support of
          our portfolio of solutions through our incentive program. We continue to focus
          on increasing the productivity of our existing partners, while also adding new
          transacting partners, building capacity through targeted recruitment, and
          introducing programs to increase partner mindshare, limit channel conflict, and
          increase partner loyalty to us.

          167.    The FY20 10-K also assured investors that despite the Company’s use of Business

   Continuity Licenses, the cloud transition had regained momentum, which the Company was poised

   to seize on in 2021, stating:

          Through the first half of 2020, many customers focused on near-term business
          critical needs as their workforces adapted to remote work precipitated by the
          pandemic. As such, these customers have often chosen on-premises subscriptions
          rather than immediately migrating their Citrix Workspace deployments directly to
          the cloud. Primarily as a result of this near-term focus of customers on business
          critical needs and other cloud migration challenges, the transition of customers
          from on-premise to our cloud offerings did not progress during the first half of
          2020 at the rate we had anticipated at the beginning of the year. To address the
          challenges in transitioning our customers to the cloud, we continue to invest in
          innovation and feature development, simplified cloud migration, and
          performance and reliability, as well as other cloud customer success initiatives.
          As we exited 2020, the transition of our customers to our cloud offerings had
          regained momentum.

          Longer term, our subscription transition is expected to result in more sustainable,
          recurring revenue growth over time as less revenue comes from one-time product
          and licensing streams and more revenue comes from predictable, recurring
          streams that will be recognized in future periods. We believe that this dynamic is
          best captured in our Subscription and SaaS Annualized Recurring Revenue, or
          ARR.

          168.    On March 1, 2021, the Company issued a press release announcing completion of

   the Wrike acquisition for approximately $2.25 billion in cash. The release stated that, through the

   acquisition, “Citrix will deliver the industry’s most comprehensive cloud-based work platform to

   empower all employees and teams to securely access, collaborate and execute all work types in

   the most efficient and effective way possible – across any work channel, device, or location.”

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           169.    The following day, on March 2, 2021, the Company participated in the Morgan

   Stanley Technology, Media and Telecom Conference, with Henshall speaking on behalf of the

   Company. When asked to speak about trend lines facing the Company for 2021, Henshall stated,

   in relevant part:

           Once we moved into Q3[2020], we’ve been in this operating mode for the better
           part of a half a year. I think customers became more accustomed to where they
           were. They understood the needs that they had in the short term. And so they were
           able to start transitioning back towards a little bit more longer-term transformation
           projects.

           And we saw that in the third quarter of the year, which was roughly a 50% step-up
           sequentially from like our installed base customers reengaging with cloud
           transformation projects and migrating from their on-prem environment to Citrix
           Cloud, and then really took a huge step-up in Q4 as we got back into a more
           normalized environment.

           And we’ve talked a lot about the shape of that really following the shape of our
           ARR numbers. So if you go back and you look at the P&L over the entire year,
           you see we entered the year with SaaS ARR at about $0.5 billion run rate, growing
           in the mid-40s year-over-year. It dipped down in the first half of the year and then
           started to reaccelerate, as you referenced. We exited the year with just under 40%
           growth year-over-year in SaaS ARR running at about a $725 million scale.

           And the trends driving that are the things that we expect to continue into 2021. . . .

           170.    Henshall then talked about transitioning the Business Continuity Licenses, stating:

           And then back to the limited use license that you referenced, one of the things that
           we did do, for those of you that aren’t really aware, in the early part of the pandemic
           we put in place a new licensing model that basically just really focused on how do
           we help customers get people safe, get people secure. And so we created a
           nonrenewable temporary use license. So think of it as more of a 1-year license
           discounted that we sold into that period of time.

           So we’re coming up on the 1-year anniversary in the latter part of March and into
           April and early May. And a lot of those conversations we’re having with
           customers right now were how do we take that capacity and really translate that
           into something much more permanent, so ongoing conversations. We’ll talk
           about that on our Q1 earnings call about the success that we have had migrating
           those customers. And so as you’d imagine, I mean that’s an important part of
           what we’re doing right now, and part of the extension that we expect to see from
           our overall trends in 2021.


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          171.   Discussing the “cloud story in Citrix,” and responding to a question regarding the

   “changes you’re making on the go-to-market side of the sales incentives side to drive that new

   SaaS ARR,” and “how that might be different” in 2021 versus 2020, Henshall stated:

          In terms of go to market, I’d say it’s been a working process for a number of
          years, as you would imagine. I mean we’ve been building out the necessary
          infrastructure to become a cloud-first company. Whether those are the obvious
          technology infrastructure components, or our customer success teams, or just the
          way we comp and manage a lot of our traditional field sellers. So all of that has
          been in flight for a while. And you see that showing up when you look at the ARR
          outcomes of our P&L and how SaaS is transitioning.

          As I look into ‘21, I mean we made some very specific changes to change sales
          compensation to make sure that we are really focused on installed base
          migration. It’s been obviously a huge focus from an investor point of view. So
          sales teams carry a number very specific to that. You got to reach that before you
          can get into compensation accelerators across the rest of the business.

          The entire company in ‘21, for the first time ever, now carries an installed base
          migration metric as part of their overall compensation programs. And the reason
          to do that of course is just to make sure we’re driving alignment. And then for
          the first time also, we’ve got engineering and product teams carrying
          compensation metrics around cloud adoption, active use and whatnot as part of
          their comp programs.

          And we’ll be expanding those as we go forward to make sure that again, we’ve
          got everybody just maniacally focused on where we’re going, but also cleanly
          aligned in terms of these outcomes. So I mean those are the big-picture strokes
          around what we’re doing from a go-to-market standpoint.

          172.   Shifting to a discussion of the Company’s relationship with partners in order to

   facilitate customers moving to the cloud, Henshall added:

          And then the last thing is the work that we’ve talked about for a while around
          partners. And we talked extensively about really strategic partners like Microsoft
          and what we’re doing from a joint go-to-market standpoint with Citrix Cloud and
          Azure or Azure and WVD, and how Better Together is a great, great story for
          customers. But also working of course with other major platforms based on
          customer requirements, whether that’s the work that we’ve been doing with Google
          and GCP, everything from optimizing on GCP as a platform, integrations with G
          Suite, Chrome, Chromebooks, et cetera, and then continue to work with AWS at
          the same time.



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          The important takeaway though when we talk about cloud with customers is that
          Citrix gives you that ability to really meet them wherever they are on their
          journey. Whether it’s operating with one of the major cloud platforms on a public
          cloud point of view; or frankly operating in an unlimited number of hybrid use cases
          and orchestrating and managing at all on-prem, in the cloud, in multiple clouds,
          operating that with our control plane. And so that’s a large part of the conversation
          there.

          173.      On March 3, 2021, Citrix presented at the Raymond James Institutional Investors

   Conference, with Shenkman speaking on behalf of the Company. When asked to explain how

   customer conversations regarding the shift to cloud subscriptions were trending, and whether the

   Company was still not “getting as much upsell as you were hoping for,” Shenkman stated, in

   relevant part:

          And there’s – we’ve had very solid adoption. We added 2 million pay cloud
          subscribers last year. We see clear traction with our customers. And I think in
          terms of your question on the uplift, our uplift, we continue to see a 35% uplift
          for our cloud subscribers, but not on on-prem return. So we’re not really
          modeling or thinking about taking a customer from a perpetual offering to a term
          offering with an uplift, but we absolutely are and continue to see an uplift when
          we take customer from an on-prem offering to a cloud solution.

          174.      As the March 3, 2021 conference continued, Shenkman was asked how Citrix was

   “incentivizing the sales force to transition the base to the cloud” and “how should we think about

   the quota [requirement]?” In response, Shenkman stated:

          Well, one of the things we did last year was we heavily incentivized our old to new
          customers from perpetual to subscription. And this year, most of our
          compensation models are key on helping to migrate our customers from on-prem
          offering to a cloud subscription. So what we’ve done is we structured the
          incentive plan that essentially obviously doesn’t compensate people essentially
          for on-prem offerings.

          For term versus SaaS, we have weightings, and we’re trying to drive people much
          more for a cloud solution. So we – as part of the selling process, we more heavily
          weighed our compensation for customers who move to our cloud products.




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          175.    When asked for an update on Citrix’s strategy for converting Business Continuity

   License customers to longer-term, multi-year contracts, and how those conversations were

   trending, Shenkman stated:

          So we – as you know, we had about $110 million we identified in the first quarter
          last year as business continuity related. Of that $110 million, was $47 million we
          identified as not renewable because of licenses were not renewable. They were
          heavily discounted and issued within the market. Of the $47 million, most of that
          is what was 12-month licenses.

          So we’re in the process this quarter of going through an opportunity to upgrade
          those customers to – some of them to cloud or to extend them. And so the selling
          efforts that we have around those customers are frankly to move those customers
          to cloud. And so that’s where our sales force is focused. And obviously, cloud is
          a much longer revenue stream.

          So we’re really focused on not the short-term economics of this, but more of the
          transition of the customer base to the cloud as we go through these conversations.
          David [Henshall] and I have talked a little bit in the fourth quarter call about a large
          financial institution that had moved.

          176.    Defendants’ statements on November 17, 2020, December 2, 2020, December 7,

   2020, January 19, 2021, February 8, 2021, and March 1-3, 2021, as set forth in ¶¶143-175, above,

   were materially false and misleading and omitted material facts for the following reasons:

                  (a)     The vast majority of Citrix’s customers were focused on continuity rather

   than a complex, costly, and uncertain transition to the cloud, and were not interested in any

   arrangement that would forfeit their on-premise capabilities. This was further amplified by the

   fact that Citrix’s cloud product did not significantly augment user capabilities beyond those already

   available to on-premise users. Despite this, Defendants represented the transition was accelerating.

                  (b)     The majority of customers ostensibly transitioning to the cloud only did so

   because Citrix had extended them cost savings as an incentive, while retaining the ability to operate

   on-premise. For example, such customers who entered into “cloud” contracts no longer had to pay

   maintenance fees to Citrix; those customers instead began to pay on a subscription basis, while

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   continuing to operate on their legacy on-premise solutions, often for upwards of a year and with

   the ability to extend their contracts. Nonetheless, the Company reported revenues from such on-

   premise customers as cloud subscription revenue.

                  (c)    Customers who entered into the Company’s Business Continuity Licenses

   were not poised to shift to new, long-term cloud contracts. Rather, when the Business Continuity

   Licenses expired, those customers would seek to enter into new, short-term, discounted, on-

   premise contracts, that stood to drive down Citrix’s average contract duration despite Defendants’

   assurances that the contracts were non-renewable and would not extend beyond one year.

                  (d)    The Company undertook a pattern of extending existing customer deals

   rather than entering new agreements to avoid compensating sales representatives accordingly, and

   the Company already had been booking revenues from such deals as subscription revenues, despite

   customers continuing to operate on-premise. This resulted in a disgruntled, ineffective, internal

   sales force that often clashed with the Company’s partners.

                  (e)    The Company’s sales force was also constrained by Citrix’s decision to

   execute the business model transition under a rigid framework that attempted to balance revenue

   growth, operating margin expansion, and free cash flow growth order to meet management’s

   quarterly expectations.

                  (f)    Citrix lacked both the sales force necessary to bring the cloud product to

   market, and the infrastructure necessary to support the installation and deployment of the cloud

   product, at the capacity necessary to justify Defendants’ sanguine characterizations of Citrix’s

   business transition. Therefore, Citrix essentially was dependent on a network of partners to

   successfully implement its cloud transition.




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                  (g)     The Company lacked a proper ecosystem of partners to assist with the cloud

   transition. This was due, in part, to the fact that Citrix had switched away from its prior channel

   incentive program and because Citrix had lost the trust of its partners by encroaching on customers

   that Citrix had set aside for partners, cutting partners out of deals to avoid paying their fees, and

   by reneging on commitments to partners, all of which caused Citrix channel partners to forge

   relationships with Citrix’s competitors.

                  (h)     Citrix set 2021 sales quotas based on the outsized sales performance of

   anomalous 2020, creating 2021 quotas that were virtually unachievable and leading to sales

   representative layoffs in January 2021 and a mass exodus of sales personnel following Citrix’s

   payment to sales representatives of a final commissions check for 2020 in February 2021.

                  (i)     As a result of the above factors, Citrix was suffering from severe and

   deteriorating execution problems and it did not and could not meet the accelerated transition

   timeline, achieve the conversion numbers, or reap the related financial benefits that Defendants

   had touted to investors.

   VI.    AS THE TRUTH BEGINS TO EMERGE, DEFENDANTS CONTINUE TO
          MISLEAD THE MARKET

          177.    As problems with the Company’s business model transition worsened, Defendants

   could only conceal the truth for so long. The truth was ultimately revealed in a series of partial

   disclosures causing a series of declines in the Company’s common stock price. The declines would

   have been sooner, swifter, and steeper, but Defendants downplayed the negative news and

   continued to mislead the market with misrepresentations and omissions regarding the business

   model transition. By continuing to mislead the market in this manner, Defendants kept the

   Company’s common stock price artificially inflated throughout the remainder of the Class Period.

   This section details the partial revelations of truth regarding Defendants’ fraud, the resulting Citrix

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   common stock price declines, and Defendants’ continued misrepresentations and omissions that

   kept the Company’s common stock price artificially inflated even as the truth began to leak out.

          A.      First Quarter 2021 Statements and Financial Results

          178.    Before the market opened on April 29, 2021, the Company filed an earnings letter

   on Form 8-K with the SEC announcing the Company’s financial results for 1Q21 (“1Q21 8-K”).

   The 1Q21 8-K surprised investors by representing that despite “strong underlying metrics for

   bookings and ARR,” Citrix missed on EPS, reporting 1Q21 adjusted EPS of $1.42, down from

   $1.73 per share the previous year, and missing market expectations of $1.43. Citrix missed on

   revenue as well, with total net revenue standing at $775.8 million in 1Q21, down nearly 10%

   compared to $860.9 million the previous year, and also down sequentially from $810 million in

   4Q20, and short of market expectations of $798.7 million. Looking forward to 2Q21, Citrix

   announced adjusted EPS of only $1.15 to $1.20 per diluted share on revenue of $840 to $850

   million, badly missing analyst expectations of adjusted EPS of $1.54 per diluted share on revenue

   of $826.8 million. For 2021, Citrix revealed it expected EPS to range from $5.60 to $5.80 per

   diluted share, well down from its original guidance of $6.20 to $6.40 per diluted share. The poor

   financial results and lowered guidance had an immediate effect, with Citrix stock opening at

   $124.37, down $14.14 from the prior day’s closing price, a drop of more than 10%.

          179.    Defendants, however, assured investors that the Company would see top line

   acceleration beginning in 2Q21 and continuing through the year as headwinds from the model

   transition become tailwinds. Specifically, the Company blamed the weak results on:

          1) supply chain challenges for Application Delivery and Security components,
          leading to hardware shipment delays (a challenge we expect will persist in the
          coming months); and 2) duration of on-premises term licenses that did not extend
          to the degree we expected.

          180.    Addressing revenue specifically, the 1Q21 earnings letter added:

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          Revenue recognition in the quarter was impacted considerably by lower than
          anticipated on-premises term average contract duration. This impact was
          generally related to conversions of business-continuity use-cases from the year
          ago period, which are not a factor in the second half of this year. There was no
          meaningful change in the duration of SaaS contracts.

          181.    The 1Q21 8-K further highlighted that excluding the impact of Wrike, “first quarter

   SaaS ARR [annualized recurring revenue] accelerated sequentially to $793 million, representing

   43% growth year-over-year” and that inclusive of Wrike, “total SaaS ARR was $943 million, up

   70% year-over-year, and total Subscription ARR was $1.51 billion, up 81% year-over-year.” The

   1Q21 8-K added that the number of Citrix Cloud paid subscribers increased 34% year-over-year,

   to over 10.3 million. But, Citrix also noted that product and license revenue – the traditional on-

   premise business – saw revenue in the quarter fall 75% from a year prior to $44 million, down

   from $173 million, reflecting the business model change.

          182.    Despite the poor performance, the 1Q21 8-K still assured investors the Company

   had “accelerated momentum” in its business model transition, which was on track for subsequent

   quarters and “progressing well,” stating:

          Our first quarter results reflect accelerated momentum in our cloud transition
          with more of our installed base moving to the cloud, driving an increased mix
          shift towards SaaS and acceleration in SaaS ARR. The conversion of customers
          from limited-use on-premises term licenses issued at the onset of the pandemic
          also contributed to the organic acceleration of SaaS ARR.

          183.    Providing context for the Company’s 1Q21 results and full FY21 outlook, the 1Q21

   8-K added that the poor financial results in the 1Q21 would “mark the trough in terms of the

   impact of the business model transition on the income statement” and emphasized that

   “headwinds” from the business model transition would be “tailwinds” in the immediate future and

   drive the Company’s performance in later quarters. Specifically, it stated:

          Our transition to the cloud is progressing well, and we expect our first quarter
          results to mark the trough in terms of the impact of the business model transition

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          on the income statement. Beginning in the second quarter and continuing
          through the year, we expect to see top line acceleration in our income statement
          metrics as headwinds from the model transition become a tailwind.

          184.    But, instead of admitting that the Business Continuity Licenses were hurting the

   Company’s cloud transition and were negatively impacting the Company’s financial performance,

   the 1Q21 release portrayed the lower-than-expected bookings value as a positive indicator of future

   success, stating:

          Momentum in the cloud transition was aided by the conversion of expiring
          license limited-use non-renewable, on-premises term licenses that were issued in
          the year-ago period. In aggregate, business continuity licenses that were issued
          during the pandemic have enabled us to continue to support customers by either
          converting to cloud subscriptions or issuing new term-based licenses for about
          $50 million in bookings value.

          185.    In a further effort to massage its 1Q21 miss into a more positive narrative, the

   Company also announced it was changing its financial reporting, introducing a “Total ARR”

   operating metric that would capture the “value of all subscription sources, including perpetual

   license maintenance contracts,” and that the new metric was “intended to provide additional

   visibility into the performance of the underlying Citrix operations while the business model is in

   transition.” The Company stated that Total ARR, excluding Wrike, grew 15% year-over-year in

   1Q21 and that including Wrike, Total ARR grew 22% year-over-year. Excluding Wrike, Citrix

   told investors to expect Total ARR to “increase in the low teens annually during FY’21.” The

   release added that reported revenue, including Wrike, was $776 million in 1Q21, with GAAP

   diluted EPS of $0.71 and non-GAAP diluted EPS of $1.42. Providing addition detail on the

   Company’s new Total ARR metric, the earnings release added:

          Today, we are introducing Total ARR to provide further clarity on the holistic
          performance of the business. The impact of our business model transition has been
          complex and the tradeoff of up-front revenue for more ratable revenue streams has
          meaningfully impacted our reported results. To better illustrate how we are
          measuring our business performance in its entirety, we will now provide a Total

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          ARR operating metric inclusive of perpetual license maintenance to complement
          our Subscription ARR and SaaS ARR disclosures. Over the course of time,
          consistent with Support & Services reported revenue, we expect the perpetual
          license maintenance component of Total ARR to decline, which is netted against
          growth in Subscription ARR.

          In the first quarter, Total ARR, excluding Wrike, grew 15% year-over-year and
          benefitted from: 1) the conversion of limited-use on-premises business continuity
          licenses that were excluded from the year-ago period as their initial terms were non-
          renewable and therefor did not meet the definition to be included in this metric; and
          2) the discontinuation of broad availability of perpetual Workspace licenses on
          October 1, 2020, which drove growth in on-premises term subscription licenses in
          Q1 2021. Our expectation is that the Total ARR run-rate of our organic business,
          excluding Wrike, will be in the low-teens year-over-year for the balance of this
          year. Going forward, the inclusion of Wrike is expected to be additive to this.

          186.    Also before the market opened on April 29, 2021, the Company hosted an earnings

   call to discuss its 1Q21 financial results and outlook, with Shenkman and Henshall speaking on

   behalf of the Company. In his opening remarks, Henshall extolled the “momentum in the

   business, especially around [Citrix’s] cloud adoption and the migration of [Citrix’s] installed

   base.” He added that the “transition to the cloud is progressing well” and reiterated that the

   Company expected “our first quarter results to mark the trough in terms of the impact on the

   business model, the income statement.” Henshall also reassured investors that “beginning in the

   second quarter and then continuing throughout the year,” Citrix expected to “see top line

   acceleration in our income statement metrics as these headwinds that we’ve been dealing with

   on the model transition turn and become a tailwind.” Attempting to explain the weak 1Q21

   results and lowered guidance against the positive characterization of the Company’s cloud

   transition, Henshall added:

          In Q1, the organic performance of these metrics, excluding any contribution from
          the Wrike acquisition, showed continuing strength. In fact, SaaS ARR accelerated
          to 43% year-on-year growth and total ARR was up 15% from last year. So overall,
          the fundamentals in Q1 were actually quite strong. I’d like to note that this quarter
          involved – really included 3 unique items that impacted recognized revenue. And
          I want to cover those briefly here in detail before we open up the call for Q&A.

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          The first is the Wrike acquisition, which closed at the end of February. Second
          item is we experienced supply chain constraints in our hardware business,
          impacting over $10 million worth of products. So we expect these issues may
          persist for several quarters, so we’re adjusting our full year expectations
          accordingly.

          And the third issue was the duration of on-premise term-based subscriptions,
          really influenced by the limited use licenses we sold to customers at the beginning
          of the COVID pandemic. So as a reminder, in Q1 2020, it benefited by $47 million
          related to this license type. So far, we’ve either converted to cloud subscriptions
          or issued new term-based licenses for about $50 million of total bookings value
          against this group. We have ongoing conversations with many more about the
          Citrix Cloud migration.

          187.      Providing “more context” on the impact of the Company’s use of Business

   Continuity Licenses, Henshall continued:

          So let me just give you a little context here. We estimate that recognized revenue
          in the quarter would be about $25 million higher if it wasn’t for the shorter on-
          prem term license duration. In hindsight, of course, these dynamics are really
          not surprising, but they are different than what our guidance had called for.

          In the aggregate, business continuity licenses expand our installed base and, of
          course, our subsequent opportunity for these to move to the cloud over time
          through migration. Going forward, we continue to encourage investors to focus
          on annualized recognized revenue, of course, which we believe provides the most
          accurate measure of the underlying business performance.

          188.      During the question-and-answer portion of the earnings call, Defendants were

   asked for more detail on the “limited licenses and the renewals,” and Henshall responded, in

   relevant part:

          The third group were the ones that are really still thinking about this in the context
          of business continuity. And so our underlying assumption had been that we’d be
          able to convert those to much longer-term subscriptions. But in reality, what
          came back was 1 year – in general, 1-year term because of their business
          continuity. And so we’re going to approach those going forward as just
          opportunities to help the customer think through their long-term plans and
          ultimately migrate those to Citrix Cloud.

          189.      Following up, another analyst pointed to “a lot of questions around the expected

   [subscription contract] duration shrinking,” noting that it was “kind of counterintuitive to what you


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   did in helping companies during the pandemic that they would come back and actually be shorter

   versus longer.” When asked to explain that issue, Henshall responded:

          Well, it’s 3 things. . . And so those customers that have already adopted longer-
          term use cases like those that are adopting a hybrid work model, those contracts are
          longer in nature. If you look at the duration in our SaaS business, unchanged. It’s
          still targeting a 3-year duration for our typical contract. Actual duration is just a
          little bit shorter than that.

          In this group of – this group of licenses that are truly business continuity, and people
          are looking at those as business continuity, they’re still related to the pandemic.
          Those customers haven’t worked their way through yet. And so it would be natural
          for them to offer a shorter-term license as they figure out what their long-term plans
          are. Net-net, this has just allowed us to increase our installed base. It increases our
          pool and our opportunity going forward for conversions.

          190.   When asked if the “$10 number you gave on cash flow” had “change[d] in your

   view” or whether Citrix was “still committed to that number[,]” Henshall assured that “[w]e

   haven’t changed that” and that “the ‘22 numbers are unchanged at this point in time.”

   Regarding the Company’s free cash flow, Shenkman added, “our guidance remains unchanged.”

          191.   Attempting to reassure investors of the Company’s financial performance, business

   model transition, and outlook, he added:

          And I think the most important takeaway is that the duration is a limited-impact
          item related to these unique one-off licenses that we created a year ago to help
          customers in need. That’s not an ongoing phenomenon.

          The business model is transitioning nicely. You see the success across all of our
          ARR metrics, which have continued to accelerate. And we believe that Q1 was
          the trough in terms of that business model evolution headwind. We’re going to
          start reaccelerating here in Q2 and beyond, and that will pull through the rest of
          the P&L metrics as well as cash flow.

          192.   As the call continued, analysts again asked Defendants to give “more color” on the

   term licenses and whether there was “[a]ny sense of how much of the term license is converted to

   SaaS versus term licenses as some sort of percentage[.]” Analysts also asked how much of the




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   $47 million in Business Continuity Licenses were still remaining to be converted and whether that

   would be meaningful in 2Q21. In response, Henshall stated, in relevant part:

          [M]ost of the unique program for limited use business continuity was contained in
          Q1. I mean that’s where the vast, vast majority of it, if you remember, last year.
          And so given that there’s a lot of permutations in terms of license type, in terms of
          what they bought and also where they’re migrating, we’ve been trying to just
          aggregate it up into bookings dollars. In that way, we just don’t confuse people.

          And so the way I look at it is we had a special set of circumstances a year ago. We
          generated about $47 million of revenue. We’ve already booked $50 million of
          revenue commitments against that. And we probably have a large pool, an 8-figure
          pool of licenses that we’re continuing to discuss about cloud migration.

          And then those that are on short-term on-prem term, we’ll continue to work with
          those customers, obviously, as we do. A lot of those are existing customers today.
          So we have ongoing conversations about their longer-term plans. And as they work
          those out, of course, the goal would be to just continue to roll those into Citrix
          Cloud migrations, which I mentioned a couple of times, and you see that in the
          investor letter.

          I mean, we’ve just seen great progress with our transition and trade-up motion.
          Good momentum coming out of the second half of last year, continued into the
          first quarter of this year. We expected that to continue throughout the year. So
          all the things that we had talked about over the last 9 months are really clicking
          and doing well, and we’re seeing an acceleration of installed base migrations to
          Citrix Cloud.

          193.   Next, analysts asked Defendants how the Citrix sales team delivered on SaaS,

   excluding the limited use licenses, and whether “you hit your numbers” or “beat your numbers[.]”

   Henshall did not give a straight answer and claimed it was “hard to put [the one-term special

   licenses] aside when we talk about the overall business[] . . . because our teams are goaled in

   the aggregate.” But, he added, “So when I look at it on what they are measured on, our teams

   exceeded their plans.”

          194.   When analysts asked once again for clarity regarding “shorter-duration issue on on-

   prem term contracts” and whether Citrix also saw “that phenomenon of shorter-term commitments




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   more broadly as your normal renewals came up in the quarter[,]” Henshall assured investors there

   was not a larger problem, and responded:

          So just to be clear, we did not see changes in duration in our SaaS or our strategic
          contracts. The duration item was simply a reflection of the renewal of these limited
          use business continuity things from a year ago. And that’s where this is isolated.
          This is not a broader-scope issue whatsoever.

          They – in hindsight, it was a bad planning assumption on our part. We thought
          that these would extend from their short-term duration originally to a long-term
          contract. In reality, they rolled into another short-term duration because they
          are business continuity related. Again, it’s a very isolated item, totally messy in
          Q1 versus our anticipation, but it’s not a broader issue.

          195.    As the earnings call continued, Defendants were asked to comment on the base of

   users, given that there were only about 10 million paid subscribers on Citrix Cloud out of a base

   of approximately 100 million users. In response, Henshall again assured investors the Company

   was making great progress on its business strategy change, including that Citrix was already ahead

   of plan in terms of the pace of the transition, and stated:

          I mean, I think the most important thing for us strategically is to be looking at how
          many of those are paid subscribers on Citrix Cloud. And you just mentioned that
          it was well over 10 million. In the aggregate, the number is up over 30% year-on-
          year. Interestingly, in Q1, the absolute rate of additions is twice what it was a year
          ago when we entered in the pandemic.

          So we’re seeing great progress there. So I’m very happy with that overall
          migration. And this was supposed to be the year where we start to accelerate
          installed base migration. That was absolutely true in Q1, and we expect that to
          continue to be the case. So as far as I’m concerned, we’re on track to ahead of
          plan in that aspect.

          196.    Later in the earnings call, an analyst indicated that Citrix’s guidance “seem[ed] to

   suggest that maybe there’s a slight decel[eration] from where it grew in Q1 throughout the back

   half of the year” and asked “what could potentially cause ARR to not decelerate in the back half

   of the year[.]” Addressing analyst concern regarding slowing growth, rather than increasing

   acceleration in the Company’s cloud transition, Henshall stated:

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             Let me talk about the 3 ARRs just for a minute here. I mean, Subscription ARR,
             and I’m going to speak exclusive of any contribution from Wrike. I mean it
             continued to accelerate for, I don’t know, the fourth or fifth quarter in a row now,
             up 63% year-on-year. And that’s clearly a reflection of the overall business model
             transition that we’ve been making. And so with that number now at around $1.4
             billion, that scale, we’re very happy with that performance. SaaS ARR, again,
             continued to accelerate, which is good.

             Total ARR is an interesting one. I mean we’re just releasing that metric right
             now. As we go through the year, we’ll continue to disclose subsequent quarters
             and provide more visibility into historicals. Right now, we think that, that total
             ARR, a pretty good reflection of the underlying growth rate in the overall
             business.

             We’ve said in our earnings letter that we think somewhere in that low teens range
             is probably a good plan for the balance of the year. And the only reason for a
             downtick of a point or 2 is just – is if there was any uplift related to this one-off
             limited use license, if that added a point or 2, we just want to be a little bit careful
             there. So I still think that’s a double-digit-growth business, and then we’ll work to
             keep it at the top end of the range.

             197.   When pressed for more information on the average duration for the conversion of

   new term-based licenses for the business continuity conversions, and whether term duration would

   recover in 2022, Henshall assured investors and analysts that it was an “isolated issue[,]” and

   stated:

             Yes. Just to be clear, I think the term duration that we have talked about in relation
             to these licenses is a Q1 phenomenon, not a 2021 phenomenon. As we look into
             the balance of the year, pipeline and our deal-based forecast than others show a
             duration that is much, much more normalized. So this is a very, very isolated item.

             Those licenses did convert to Citrix Cloud, for example. Citrix Cloud durations are
             unchanged. They’re much longer because those tend to be much more strategic
             contracts. This is just an isolated issue related to people that are employing
             business continuity in the face of the pandemic. It’s not a broader issue than
             that.

             198.   Later in the earnings call, Defendants were asked whether there were features going

   into Citrix Cloud that “won’t be available to the on-prem customers at some point in time” and

   whether there was “a more explicit sort of strategy around that” or “anything accelerating in terms



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   of the gap between the technologies just because cloud is going to innovate at a faster pace[.]”

   Henshall evaded the question about strategy, instead replying that “[m]ost of our innovation is

   coming through the cloud” and that “migration has been accelerating” because the value is there

   and more and more customers see it.”

          199.    Defendants’ statements on April 29, 2021, as set forth in ¶¶179-198, above, were

   materially false and misleading and omitted material facts for the following reasons:

                  (a)     The vast majority of Citrix’s customers were focused on continuity rather

   than a complex, costly, and uncertain transition to the cloud, and were not interested in any

   arrangement that would forfeit their on-premise capabilities. This was further amplified by the

   fact that Citrix’s cloud product did not significantly augment user capabilities beyond those already

   available to on-premise users. Despite this, Defendants represented the transition was accelerating.

                  (b)     The majority of customers ostensibly transitioning to the cloud only did so

   because Citrix had extended them cost savings as an incentive, while retaining the ability to operate

   on-premise. For example, such customers who entered into “cloud” contracts no longer had to pay

   maintenance fees to Citrix; those customers instead began to pay on a subscription basis, while

   continuing to operate on their legacy on-premise solutions, often for upwards of a year and with

   the ability to extend their contracts. Nonetheless, the Company reported revenues from such on-

   premise customers as cloud subscription revenue.

                  (c)     The Company undertook a pattern of extending existing customer deals

   rather than entering new agreements to avoid compensating sales representatives accordingly, and

   the Company already had been booking revenues from such deals as subscription revenues, despite

   customers continuing to operate on-premise. This resulted in a disgruntled, ineffective, internal

   sales force that often clashed with the Company’s partners.


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                  (d)     The Company’s sales force was also constrained by Citrix’s decision to

   execute the business model transition under a rigid framework that attempted to balance revenue

   growth, operating margin expansion, and free cash flow growth order to meet management’s

   quarterly expectations.

                  (e)     Citrix lacked both the sales force necessary to bring the cloud product to

   market, and the infrastructure necessary to support the installation and deployment of the cloud

   product, at the capacity necessary to justify Defendants’ sanguine characterizations of Citrix’s

   business transition. Therefore, Citrix essentially was dependent on a network of partners to

   successfully implement its cloud transition.

                  (f)     The Company lacked a proper network of partners to assist with the cloud

   transition. This was due, in part, to the fact that Citrix had switched away from its prior channel

   incentive program and because Citrix had lost the trust of its partners by encroaching on customers

   that Citrix had set aside for partners, cutting partners out of deals to avoid paying their fees, and

   by reneging on commitments to partners, all of which caused Citrix channel partners to forge

   relationships with Citrix’s competitors.

                  (g)     Citrix set 2021 sales quotas based on the outsized sales performance of

   anomalous 2020, creating 2021 quotas that were virtually unachievable and leading to sales

   representative layoffs in January 2021 and a mass exodus of sales personnel following Citrix’s

   payment to sales representatives of a final commissions check for 2020 in February 2021.

                  (h)     As a result of the above factors, Citrix was suffering from severe and

   deteriorating execution problems and it did not and could not meet the accelerated transition

   timeline, achieve the conversion numbers, or reap the related financial benefits that Defendants

   had touted to investors.


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           200.    Despite Defendants’ continued misstatements and omissions, the price of Citrix

   stock fell in response to the revelations on April 29, 2021. After opening at $124.37 per share,

   sharply down from the prior day’s close of $138.51, Citrix stock ultimately closed at $128.02,

   down more than 7.5%, on unusually high trading volume of nearly 4.3 million shares. As the

   market continued to digest the news, the stock price continued to fall the following day, closing at

   $123.85 per share on April 30, 2021 on unusually high trading volume of nearly 2.5 million shares.

   The total stock price decline over this two-day period was 10.58%.

           201.    The negative news put Citrix stock on a steady downward trend, with Citrix stock

   falling over the course of several trading days while the Standard and Poor’s 500 (“S&P 500”)

   rose slightly. Forbes reported that Citrix’s drop of 13% over the five-day trading period ending

   May 6, 2021 was an “extremely rare event” and had only happened 17 times out of 2,516 such

   periods in the last ten years.

           202.    Market commentary echoed investor concerns. For example, on April 29, 2021,

   Bloomberg Intelligence reported that Citrix “still hasn’t clearly established itself as a viable

   alternative to popular cloud apps, including those offered by Zoom, Slack and Microsoft.” It added

   that “[m]ost of Citrix’s sales improvement last year was driven by traditional virtualization

   products for business continuity” and that “Citrix could face challenges in converting existing

   customers to its cloud offering.”

           B.      Second Quarter 2021 Statements and Financial Results

           203.    Before the market opened on July 29, 2021, the Company issued its 2Q21 earnings

   letter on SEC Form 8-K to shareholders (“2Q21 8-K”). Defendants shocked investors again by

   reporting extensive problems in Citrix’s business transition, revealing that revenue was negatively

   impacted by “the challenge associated with transitioning the business to SaaS” as well as the “need


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   to evolve our sales strategy to deliver more predictable results.” The 2Q21 8-K acknowledged a

   “slower-than-expected pace of transitioning [Citrix’s] installed base to the cloud during the onset

   of the pandemic,” a failure to deliver “overall expected recognized revenue this year[,]” and a

   failure to deliver “new SaaS subscription bookings at the rate or predictability we had anticipated.”

          204.    For 2Q21, Citrix’s results missed on the top line, and the full year profit forecast

   was revised downward. For 3Q21, Citrix guided to revenue of $765 to $775 million – significantly

   below market consensus estimates of approximately $847 million – and $0.85 to $0.90 EPS – well

   below market consensus estimates of $1.44 EPS. For the full year, Citrix lowered its revenue

   targets to $3.22 to $3.25 billion, down from a range of $3.38 to $3.42 billion, with adjusted EPS

   forecast at $4.75 to $4.95, significantly down from prior estimates of $5.60 to $5.80 per share.

   The Company also added, “We expect our cash flow from operations to be lower in 2021 as

   compared to 2020.”

          205.    Elaborating on these problems, the earnings letter stated that Citrix’s “recent

   performance” was primarily the result of three factors: (a) unexpected sales process complexity in

   effectively supporting multiple, simultaneous selling motions for Workspace cloud and on-

   premise solutions, creating bookings mix uncertainty; (b) Citrix was behind its capacity plan for

   direct quota carriers, limiting capacity; and (c) given Citrix’s direct selling motions, the Company

   “lacked focus in driving transactional volume through the channel.”

          206.    The 2Q21 8-K further stated that “[s]ignificant changes” would be made to Citrix’s

   “sales organization, processes, and [its] go-to-market priorities – to enhance customers moving to

   SaaS at a faster pace, while delivering more consistent results” and that Citrix had started taking

   “several significant and immediate actions to address these challenges while also embracing the

   faster pace at which customers are transitioning to the cloud[.]” These actions included: (a)


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   reorganizing the sales team, including sales leadership, to realign Citrix’s customer-facing

   organization and enhance its focus on indirect channels, new product adoption, and SaaS

   migration; (b) increasing direct quota carriers by reallocating resources and efforts to increase

   capacity of quota carrying sales representatives to better support long-term growth; (c) re-aligning

   channel incentives to focus on landing and growing new business activities; and (d) prioritizing

   SaaS to drive faster pace of cloud adoption and sales strategies to support that strategic shift.

          207.    The 2Q21 8-K added that the “significant and immediate actions” would “address

   the key challenges that have impacted our ability to consistently deliver on our expected growth”

   but cautioned that the actions were “significant” and could “cause short-term disruption before

   yielding tangible results.”

          208.    The Company also disclosed in the 2Q21 8-K that it was updating its FY21

   guidance and planning to reset its longer term model: “Looking ahead, we are further prioritizing

   SaaS ARR growth and deemphasizing subscription ARR, consistent with our plans to reduce the

   distraction and execution challenges associated with Workspace on-premises term subscriptions.”

          209.    The Company held its 2Q21 earnings call the same day, on July 29, 2021. During

   his opening remarks, Henshall reiterated that the Company had failed to execute on its cloud

   transition and that it needed to take “immediate actions[,]” including reorganizing Citrix’s sales

   team and reallocating resources in order to prioritize the business transition to the cloud. To that

   end, Henshall stated:

          [I]t’s clear that we’ve had some sales execution challenges in some areas that are
          reflected in our Q2 results. And we believe that the cause of this has been really
          the increased complexity around managing this faster transition to the cloud,
          while simultaneously managing all the different license model types and motions
          that are key components of our reported revenue and overall P&L.

          So we believe we’ve identified the root causes and we’re taking immediate actions
          to remedy these execution challenges. And this is including reorganizing our sales

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          team, including sales leadership, realigning our customer-facing organizations to
          improve overall focus as well as indirect channels; reallocating resources to
          increase our capacity of quota-carrying sales reps to better support longer-term
          growth; and we’re refining our channel focus to prioritize landing and growing new
          business activities. While our SaaS transition metrics, obviously, are progressing
          really well, we acknowledge that many of our 2021 guidance ranges as well as
          the financial modeling guideposts we provided back at our analyst meeting in
          2019 are going to take us longer than anticipated to achieve.

          210.    Henshall stated that “new business bookings [were] really the challenge in Q2,” but

   also made clear that the “root cause” was a combination of various factors, including “primarily

   the complexity that has existed with trying to balance all of these different moving parts, the mixed

   messaging and priorities inside the field that, that has caused whether it’s duration, as you

   mentioned, migrations, new products, et cetera.”

          211.    Henshall stated that the Company’s internal operations were “confusing” and “just

   frankly inefficient,” and then added:

          We are behind where I’d like to be in overall quota-carrying capacity, just due to
          investments in other areas of go-to-market as well as the pace of our hiring process.
          And the third is we just haven’t done enough, in my opinion, to really enable our
          traditional channel partners to participate in the SaaS transition of the company. I
          think they’re focused too much on fulfillment and an inconsistent alignment with
          the field.

          212.    Shining additional light on the Company’s execution problems, Henshall added that

   Citrix suffered from “kind of a mixed message out in the field” and that the mixed messages

   involved “both our direct sellers in our channel in terms of what our priorities are, how we’re

   balancing this transition.” He added the Company’s problems were “causing – that’s just causing

   execution as well as forecasting inaccuracies.”

          213.    As the July 29, 2021 earnings call continued, an analyst from Morgan Stanley was

   “confused” and pressed Defendants on why Citrix was undergoing an overhaul if the cloud

   business was accelerating, adding, “typically, if you’re going to miss revenue because your cloud


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   business is accelerating and your mix is higher than expected, that’s typically a good thing.”

   Henshall responded, in relevant part:

          The changes that we’re talking about are we just think that there – it’s more of a
          volume question, just in our overall bookings volume, the complexity around that,
          the accuracy of our forecasting and things that we believe can be further streamlined
          and optimized. And so that’s really the genesis of a lot of these changes that we’re
          talking about.

                                            *      *       *

          And then lastly, it’s – I referenced quota-carrying capacity. It’s one of those areas
          where it’s behind where I’d like it to be. And these don’t impact short term much,
          but it really gives you much better flexibility and growth opportunities long term.
          And so reallocating resources and the way we’re spending on go-to-market is an
          important one because that just gives us a much broader reach.

          214.    When asked to describe the Company’s execution problems in more detail,

   Henshall replied:

          I mean when we talk about execution, that’s obviously an inside-out statement
          against our own expectations and where believe we’re doing well. And so the way
          that will manifest itself is in a couple of areas. One of them is just accuracy in
          terms of forecasting. And that could be everything from the totals to the mix of
          license types to products and other areas. And that has been, unfortunately,
          much less accurate recently than we would like. And so then you diagnose what
          is causing that? And some of the root causes are just mixed messaging in both our
          direct and our indirect channels where what do we prioritize? Are we prioritizing
          duration? Are we prioritizing products or different license types? And those types
          of things are what cause unnecessary complexity and unnecessary volatility.

          And so we’re using this really as an opportunity to address not only that, but some
          of the other areas that I called out, which are really focused more on medium and
          long term, but I think, overall, just stem to drive better alignment. When I call out
          the channel, I mean, I think one thing in my mind is important. I think the channel
          right now today – and when I say channel, I mean more of our traditional VARs
          and DaaS, I think they’re overly focused on fulfillment. And there’s been an
          inconsistent alignment with the field where they’re operating in a supporting cast
          or they’re actually driving net new demand in servicing customers. And
          refinements like that are really important because complexity just slows you down.
          It makes it harder to do business within Citrix and all of those things impact our
          overall accuracy.




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          And so that’s what we’re trying to drive towards. And one of the reasons why we
          are pushing to a higher and higher mix of SaaS is that allows us to effectively not
          let our own internal execution impact the external financials, but it’s also the way
          we generate much higher lifetime economic value for Citrix investors and
          customers at the same time.

          215.    The price of Citrix stock fell sharply in response to the July 29, 2021 revelations.

   After closing at $114.55 on July 28, 2021, Citrix stock opened the next trading day at $94.73,

   down nearly 20%, before closing at $99.00 per share, representing a drop of 13.57% on unusually

   high trading volume of nearly 9.9 million shares.

          216.    Market commentators reacted strongly to Defendants’ revelations and the resulting

   stock price decline. On July 29, 2021, Benzinga reported that Citrix’s stock was “Slaughtered

   After Q2 Revenue Miss, Margin Contraction, Weak Q3 Guidance[,]” pointing out that Citrix

   “reported second-quarter FY21 revenue growth of 2% year-on-year to $812 million, missing the

   analyst consensus of $845.97 million.” Also, Dow Jones Newswires added that Citrix “shares

   were under pressure Thursday after the digital workspace-technology company’s revenue fell short

   of market expectations.” That same day, Barron’s reported that Citrix shares were “getting

   crushed” after the Company “posed disappointing second quarter financial results and slashed full

   year guidance, developments that reflect difficulties the company is experiencing in shifting to a

   cloud-based software model.”

          217.    Analysts also reacted strongly to the Company’s July 29, 2021 disclosures. For

   example:

                  (a)     Barclays called Citrix out for delivering “weaker than expected Q2 results”

   and added, “[t]his is the second quarter with issues, which will mean a reset of long-term targets

   is needed.” Barclays added that Citrix “fell significantly short for its term license business ($165m

   vs our $193m estimate) which was even down QoQ” and that “[w]ith this, we can see that the


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   underlying Workspace business is now declining, which will be a concern for investors.” It

   concluded: “Given the weakness in Term and the announced sales reorganization, the company is

   lowering its growth and margin outlook for this year and also will have to push its longer-term

   targets out. Shares will likely react negatively to this news.”

                  (b)     UBS Research (“UBS”) noted that “[f]ollowing a weak 1Q21 print, Citrix

   posted a larger disappointment, with most 2Q21 growth metrics (revs, ARR, RPO) falling short

   and the company lowering 2021 guidance and pulling its 2022 guidance (for 10%+ revs growth

   and $10 per share in FCF).” UBS stated the Company had “fundamental issues,” that “not all

   large Citrix customers see the value proposition of transitioning to cloud-hosted Workspace.”

   In UBS’ view: “pressures have been building at Citrix for a year now; this didn’t stem from a

   2Q specific execution issue.”

                  (c)     Jefferies called Citrix’s execution “[c]learly disappointing” and added, “we

   are concerned about the potential magnitude of the reset and the lack of visibility into updated

   multi-year targets until the Oct’21 analyst day.” Jefferies further noted that the Company’s total

   revenues “missed the low-end of the $840-850M outlook for the 2nd quarter in a row.”

                  (d)     Morningstar Inc. (“Morningstar”) cut its estimate on the price of Citrix

   stock and stated that “we think the combination of a miss last quarter, the miss this quarter, a

   large acquisition (which triggered activist investors in the past), and a less-than-clear

   explanation of the sales execution issue on the call have conspired to drive a sell-off that is as

   punitive as it is fundamental.” Morningstar added, “We have seen model transition stories go

   sideways before, including a couple of companies we cover, so this feels similar to us.” It also

   reported, “[i]n short, we have less confidence in the medium term” and added that “we come away

   from results with less confidence than before as the underlying demand comes into question. We


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   think shares will be punished in the near term until Citrix can demonstrate that this course of action

   is working.”

                  (e)     Evercore ISI stated that “Citrix delivered mixed F2Q results and lowered its

   1Q21 outlook due to a faster shift to the cloud (ok) and uneven execution on a bookings front (not

   ok)” and that “[g]iven the uncertainty around execution, Citrix is lowering its FY21 estimates (see

   below for adjustments) and pulling its FY22 guideposts (i.e. $10/share in FCF) as management

   now believes it will take longer to achieve those targets.”

                  (f)     William Blair & Company (“William Blair”) released an analyst report

   calling Citrix’s results “weak” and labeled its 3Q21 and FY21 guidance ranges “disappointing”

   and “significantly below expectations[,]” adding that “[o]verall, it is clear that the company is

   undergoing a tougher-than-expected transition, which should linger for a few quarters.”

          C.      Citrix Announces a Surprising and Sudden Leadership Change

          218.    After the market closed on October 6, 2021, Defendants surprised the market again

   by announcing that two days earlier, on Monday, October 4, 2021, the Company appointed

   Calderoni as interim CEO and President because Henshall stepped down as CEO and President.

   Citrix’s after-hours October 6th disclosure further revealed that Henshall resigned from the

   Company’s Board five days earlier, on October 1, 2021, and that Dr. Gopal resigned from the

   Company’s Board two days earlier, on October 4, 2021. As a result of the resignations, the Board

   “agreed to reduce the size of the Board to eight members.” The Company further stated: “In light

   of today’s announcement, Citrix will postpone its previously announced financial analyst meeting.

   Details will be shared when finalized.”

          219.    The stock price fell sharply in response to the news, falling from a closing price of

   $105.96 per share on October 6, 2021, to a closing price of $104.21 per share on October 7, 2021,


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   on unusually high trading volume of 2.2 million shares. As the market continued to digest the

   news, the stock price continued to fall the following day, closing at $98.32 per share on October

   8, 2021 on unusually high volume of 2.5 million shares. The total stock price decline over this

   two-day period was more than 7%.

          220.    Following the three stock price declined detailed above, Citrix stock had

   underperformed 81% of NASDAQ-listed stocks in 2021, losing $4.4 billion in market

   capitalization as the stock tumbled approximately 27% year-to-date in 2021, compared with the

   NASDAQ-100 Index, which rose approximately 14% year-to-date in 2021. Therefore, Citrix’s

   stock price change relative to the NASDAQ-100 Index was approximately negative 40%.

          221.    In addition to the stock price declines, analysts reacted negatively to Defendants’

   revelations on October 6, 2021. For instance, UBS issued a report stating the “news out of Citrix

   is a negative for the stock that will likely serve to deepen and lengthen the transition and reduce

   the potential for a sale of the company (which we were assuming was a low probability event

   anyway).” UBS also pointed out that the “immediate departure of the CEO . . . just 3+ months

   after Citrix announced an accelerated model transition to cloud/subscription implies some

   execution challenges (if not evident in the in-line 3Q21 revs performance, then perhaps in the

   4Q21 outlook, ARR, the pipeline or in margins) and/or pending additional leadership changes.”

          222.    On October 12, 2021, William Blair downgraded Citrix stock because of “recent

   discussions with VARs and key technology partners,” noting that the discussions spoke “to a dire

   and deteriorating situation at Citrix” that was “largely self-inflicted and which substantially

   reduces our confidence in consensus estimates.” William Blair noted: “1) spiraling turnover in the

   Citrix organization driven by a poor compensation structure and mis-execution on key market

   transitions; 2) growing sprawl in terms of SKUs and licensing models, which is making it harder


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   to do business with Citrix; 3) a multiyear trend of Citrix squeezing the margins of partners, driving

   alienation in the channel; and 4) rising competition in the VDI space.” The note pointed out that

   “[i]ronically, this is all occurring at a time when Citrix should be thriving due to a secular shift to

   remote work.” William Blair noted added that there was a “corporate culture at Citrix that has

   been substantially impaired by a management and sales team overly focused on the financials,

   which helps explain the recent departure of CEO David Henshall.” William Blair added that it

   “regret[ted] not downgrading sooner” and that the “potential road to recovery for Citrix will be

   long and winding[.]”

   VII.    POST CLASS-PERIOD EVENTS

           223.   The fallout continued after the Class Period. On November 14, 2021, Citrix’s

   Board approved a massive restructuring program that included, among other things, the

   elimination of full-time positions, termination of certain contracts, and asset impairments,

   primarily related to facilities consolidations. The Company expected to record approximately

   $130 million to $240 million in pre-tax restructuring and asset impairment charges. The Company

   anticipated the restructuring program would take 18 months to complete.

           224.   On the same day, the Company announced that Hough was removed from his

   positions as CPO and EVP, shifting to an advisory role with the Company effective November 15,

   2021.

           225.   On January 31, 2022, the Company agreed to a leveraged buyout by Vista Equity

   Partners and Evergreen Coast Capital Corp., the private equity arm of Elliott Management Corp.,

   for approximately $16.5 billion. Pursuant to the deal, all of the Company’s outstanding shares of

   common stock will be acquired by Vista Equity Partners and Evergreen Coast Capital Corp. for a

   purchase price of $104 per share in cash. The deal is expected to close in the middle of 2022.


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          226.    On February 16, 2022, Citrix filed its annual report on Form 10-K with the SEC for

   FY21 (“FY21 10-K”). The FY21 10-K stated that “a large portion of [Citrix’s] current installed

   customer base has not been transitioned from our on-premise subscriptions to cloud-based

   offerings as of December 31, 2021.” The FY21 10-K further revealed dismal year-over-year

   financial results, including a 0.6% decline in total net revenues, a 5.3% decline in gross profit, a

   61.1% decline in income from operations, and a 39% decline in net income.

   VIII. CITRIX’S CLASS PERIOD SEC FILINGS FAILED TO DISCLOSE
         REQUIRED INFORMATION

          227.    In addition to making numerous affirmative false and misleading statements,

   discussed in §§V-VI, above, Defendants failed to disclose mandatory material information in the

   annual report and quarterly reports filed with the SEC during the Class Period.

          228.    Item 7 of SEC Regulation S-K required that Citrix’s annual reports on Form 10-K

   and quarterly reports on Form 10-Q contain “Management’s Discussion and Analysis of Financial

   Condition and Results of Operations” (“MD&A”). According to the SEC, MD&A is intended to

   “give investors an opportunity to look at the [Company] through the eyes of management by

   providing a historical and prospective analysis of the registrant’s financial condition and results of

   operations, with a particular emphasis on the [Company’s] prospects for the future.”

          229.    Pursuant to Item 303 of SEC Regulation S-K, 17 C.F.R. §229.30 (“Item 303”),

   Citrix’s Forms 10-K and 10-Q were required to “[d]escribe any known trends or uncertainties that

   have had or that [the Company] reasonably expects will have a material favorable or unfavorable

   impact on net sales or revenues or income from continuing operations.”                    17 C.F.R.

   §229.303(a)(3)(ii). Item 303 also required Citrix’s Forms 10-K and Forms 10-Q to disclose events

   that would “cause a material change in the relationship between costs and revenues” and “any

   unusual or infrequent events or transactions or any significant economic changes that materially

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   affected the amount of reported income from continuing operations and, in each case, indicate the

   extent to which income was so affected.” 17 C.F.R. §229.303(a)(3)(i)-(ii).

          230.    In violation of Item 303, the Forms 10-K for FY19 and FY20 signed by Henshall,

   Calderoni, and Shenkman, and the Forms 10-Q for 1Q20, 2Q20, 3Q20, and 1Q21 signed by

   Shenkman, failed to disclose material trends, events, and uncertainties known to management that

   were reasonably expected to have a material adverse effect on the Company’s resources and results

   of operations, namely that:

                  (a)     The vast majority of Citrix’s customers were focused on continuity rather

   than a complex, costly, and uncertain transition to the cloud, and were not interested in any

   arrangement that would forfeit their on-premise capabilities. This was further amplified by the

   fact that Citrix’s cloud product did not significantly augment user capabilities beyond those already

   available to on-premise users. Despite this, Defendants represented the transition was accelerating.

                  (b)     The majority of customers ostensibly transitioning to the cloud only did so

   because Citrix had extended them cost savings as an incentive, while retaining the ability to operate

   on-premise. For example, such customers who entered into “cloud” contracts no longer had to pay

   maintenance fees to Citrix; those customers instead began to pay on a subscription basis, while

   continuing to operate on their legacy on-premise solutions, often for upwards of a year and with

   the ability to extend their contracts. Nonetheless, the Company reported revenues from such on-

   premise customers as cloud subscription revenue.

                  (c)     The Company undertook a pattern of extending existing customer deals

   rather than entering new agreements to avoid compensating sales representatives accordingly, and

   the Company already had been booking revenues from such deals as subscription revenues, despite




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   customers continuing to operate on-premise. This resulted in a disgruntled, ineffective, internal

   sales force that often clashed with the Company’s partners.

                  (d)     The Company’s sales force was also constrained by Citrix’s decision to

   execute the business model transition under a rigid framework that attempted to balance revenue

   growth, operating margin expansion, and free cash flow growth order to meet management’s

   quarterly expectations.

                  (e)     Citrix lacked both the sales force necessary to bring the cloud product to

   market, and the infrastructure necessary to support the installation and deployment of the cloud

   product, at the capacity necessary to justify Defendants’ sanguine characterizations of Citrix’s

   business transition. Therefore, Citrix essentially was dependent on a network of partners to

   successfully implement its cloud transition.

                  (f)     The Company lacked a proper network of partners to assist with the cloud

   transition. This was due, in part, to the fact that Citrix had switched away from its prior channel

   incentive program and because Citrix had lost the trust of its partners by encroaching on customers

   that Citrix had set aside for partners, cutting partners out of deals to avoid paying their fees, and

   by reneging on commitments to partners, all of which caused Citrix channel partners to forge

   relationships with Citrix’s competitors.

                  (g)     Citrix set 2021 sales quotas based on the outsized sales performance of

   anomalous 2020, creating 2021 quotas that were virtually unachievable and leading to sales

   representative layoffs in January 2021 and a mass exodus of sales personnel following Citrix’s

   payment to sales representatives of a final commissions check for 2020 in February 2021.

                  (h)     As a result of the above factors, Citrix was suffering from severe and

   deteriorating execution problems and it did not and could not meet the accelerated transition


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    timeline, achieve the conversion numbers, or reap the related financial benefits that Defendants

    had touted to investors.

           231.    These known trends, events, or uncertainties were reasonably likely to have a

    material unfavorable impact on Citrix’s business operations and financial results, including the

    Company’s net sales, revenues, and income from continuing operations.

           232.    Item 105 of SEC Regulation S-K, 17 C.F.R. §229.105 (“Item 105”), specifically

    required Citrix’s Forms 10-K and 10-Q to provide “a discussion of the most significant factors that

    make an investment in the registrant or offering speculative or risky.” In violation of Item 105,

    the Forms 10-K for FY19 and FY20 signed by Henshall, Calderoni, and Shenkman, and the Forms

    10-Q for 1Q20, 2Q20, 3Q20, and 1Q21 signed by Shenkman, failed to discuss the following

    significant factors that made investment in Citrix risky.

           233.    Rather than disclose these factors, Defendants provided false and misleading risk

    factors that concealed the true risks of investment in Citrix.

    IX.    ADDITIONAL SCIENTER ALLEGATIONS

           A.      The Individual Defendants Controlled the Company’s Messaging to
                   the Investing Public

           234.    During the Class Period, the Individual Defendants were the Company’s high-

    ranking officers and directors (i.e., Henshall as President, CEO, and Board member; Calderoni as

    chairman of the Board; Shenkman as EVP and CFO; Hough as EVP and CPO; and Schmitz as

    EVP and COO). In these roles, they were heavily involved with the Company’s operations and

    finances, and had day-to-day responsibilities concerning critical matters affecting the Company.

    As such, they were intimately aware of the financial condition of the Company, including the

    Company’s transition to a subscription, cloud-based business model and the Company’s bookings



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    and revenue related to the transition. Therefore, they knew that the Company’s financial condition

    was worse than Defendants disclosed to the market during the Class Period.

           235.    Moreover, the Individual Defendants controlled and actively participated in Citrix’s

    messaging to the investing public concerning the Company’s business model transition and

    financial results related thereto. This is supported by Defendants’ repeated statements on such

    matters, and emphasis on such matters, during public conference calls, where they provided

    detailed opening statements and responses to specific questions from securities analysts, and in

    SEC filings and press releases. See §§V-VI, above. By choosing to speak about such matters,

    Defendants led investors to believe that they had knowledge of such matters and were speaking

    truthfully to the market about them.

           236.    Henshall and Shenkman also undertook the affirmative obligation to obtain

    knowledge in order to ensure the Company’s disclosures to the market were truthful by executing

    Certifications of the Company’s SEC Forms 10-Q and Forms 10-K, as described above in ¶¶88,

    100, 117, 138, 165 which further supports their knowledge or reckless disregard of the materially

    false and misleading statements and omissions contained therein.

           B.      The Individual Defendants Were Directly Involved in and Closely
                   Monitored Citrix’s Cloud Transition

           237.    A strong inference of scienter is further supported by the Individual Defendants’

    statements admitting their direct involvement and monitoring of the Company’s purported

    transformation to a cloud company. Defendants specifically acknowledged that they had access

    to, and were continuously monitoring, reviewing, and evaluating, precise data relating to the

    Company’s transition to subscription and cloud products and their effect on the Company’s

    bookings, revenue, and margins. For example, Defendants stated as follows:



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              Henshall, 01/22/20: “In addition to our transition from delivering products
               to platforms, we have been transforming our business from perpetual to
               subscription and from on-premise to cloud. Executing three simultaneous
               but interrelated transformations has required a heightened level of
               coordination and alignment across the organization. Looking back, we
               made great progress in 2019 that positions us well to continue to accelerate
               the pace of our transformation as we enter 2020. Progress in our business
               model transformation is evidenced by: Subscription bookings as a percent
               of total product bookings . . . Subscription ARR [annual recurring revenue]
               . . . [and] Subscription revenue[.]”

              Henshall, 01/22/20: [On the business model transition.] “So we’re actually
               seeing an acceleration of that as the numbers get bigger. And that’s just a
               reflection of both net new, which is still the majority as well as migrating
               more of the installed base going forward.”

              Shenkman, 01/22/20: “In terms of your question about [billing or invoicing
               duration] compression, I haven’t really seen compression. And I think
               anything, if you look at the length is a bit longer actually in terms of
               duration. We get 1.7 years. Obviously, we’re generally entering into 36-
               month contracts. So we’d expect that duration to continue. But obviously,
               in terms of how we think about cash flow, I mean the biggest impact for us
               is the mix over the course of the year and how that results in itself or reflects
               itself in the business.”

              Henshall, 07/23/20: “Our subscription model transition regained
               momentum in the second quarter, with subscription bookings as percentage
               of total product bookings at the highest levels we’ve seen historically.
               Importantly, we saw strong year-over-year growth in ARR and in future
               committed revenue. The impact of the reaccelerated shift towards
               subscription in our model can be seen in declines in the Product and License
               as well as the Support and Services reported revenue lines, more than offset
               by strength in Subscription revenue.”

              Shenkman, 07/23/20: “So I think, Matt, when you think about the
               [Microsoft] relationship for this year, we’re really focused, and frankly into
               ‘21, about making sure that we’re holistically approaching our customers
               and we’re part of that conversation as they think about the transition to the
               cloud. And I think a fair amount of this discussion about TTU and about
               customer landscape transformation is much better addressed with Microsoft
               and Citrix together at the table in a way that is multifacet and holistic around
               our relationship in terms of road maps and selling motions and things of that
               nature.”

              Hough, 11/17/20: “[O]ne of the things I’ve been reflecting on is why has
               there become this sudden urgency for large organizations to move more to

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               a SaaS pace for infrastructure? And the reason is that basically all the apps
               that they care about have moved to SaaS in one form or another. And I
               think we tend to think of SaaS like SAP or Workday or Office 365. But if
               you really think about even the Office client applications or Microsoft
               Teams, if you’re getting an update every 2 weeks of your client or every
               time you try to start the Zoom call, you get a new update, that’s SaaS. It’s
               software delivered as a service, even if it’s software that’s running on your
               local machine. And so as the layers of software, including Windows Server,
               which now delivers twice a year, and the applications all deliver at SaaS
               pace, then it makes sense at least to me that your infrastructure software
               also needs to move at the pace of SaaS. And that is what we’re delivering
               through Citrix Cloud, is that we are keeping pace with all of the other parts
               of the software stack that actually are already moving at that pace.”

              Hough, 11/17/20: “And I think the platform opportunity and our ability to
               engage with partners, our focus on things like security and helping
               customers through this transition to cloud, that’s where we’re going to be
               focused, and I’m very excited about the next year.”

              Henshall, 07/23/20: “As we’ve talked about here, today, the pace of
               customers moving the big, large workloads from on-premise to the cloud is
               likely impacted by economic conditions and shifting priorities. So our
               focus, along with strong relationships with partners like Microsoft, is going
               to be on aligning and making this transition as easy and as successful as
               possible for these customers.”

              Henshall, 10/22/20: “The momentum in our subscription model transition
               continued from the second quarter into the third with subscription bookings
               as percentage of total product bookings at the highest levels we’ve seen
               historically, driven by Workspace. . . . The impact of the shift towards
               subscription in our model can be seen in the sharp year-over-year decline in
               Product and License revenue as well as the steady decline in Support and
               Services reported revenue lines, more than offset by strength in
               Subscription revenue.”

              Henshall, 10/22/20: “So we’re looking at it just based on the success that
               we have had, the pipelines and the execution that we have delivered over
               the last few quarters and then these broader, let’s call them, secular trends
               that are going on in the market. So nothing happens in a straight line, of
               course, but obviously, our confidence, based on our results and our
               execution continues to move forward. When it comes to the pace of cloud
               transition and where we’re focused and where our customers are focused,
               they’re really tactical quarter-to-quarter items. Nothing has changed from a
               longer-term strategic path.”



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              Henshall, 10/22/20: [On recent changes made to incentivize and encourage
               customers to shift to the cloud offering.] “I’d say it’s less about customer
               incentives and more about internal things that we’re doing. And so really
               the – probably the most important, most pronounced, of course, is
               engineering and innovation and things that we’re doing individually to
               deliver high-quality, resilient, feature-rich solutions. That’s just a given.
               Second thing is how do we look at their environment and make it easier.
               And that includes the work that we’re doing around migration tools, around
               customer success programs, around architectural guidance, and we’ll
               continue to execute on that. And then the work we do with partners like
               Microsoft and Google and Amazon and others to try and help them migrate
               not just the Citrix component, but the underlying workloads in a more
               holistic approach. We’re going to keep pushing on all 3 of those. We are
               making some adjustments as we look into the future around internal
               incentives to make sure that we’re putting a higher importance on transition
               of the installed base. I think we’re at that point where we can do that, and
               we should do that now, aligning that – not only across our field-facing
               resources, but across the entire company. So it’s those types of incentives
               that we’ll do internally. And then externally, it’s just about delivering
               product.”

              Shenkman, 12/02/20: “So we – I think that we’ve had very significant
               adoption for new customers, and that’s continued, right? New customers
               go to the cloud and that’s what they buy, and it’s a very simple part of the
               equation.”

              Schmitz, 12/07/20: “Now obviously, we were in a position at that point to
               make sure that we did not stumble, and the easiest thing for us to do was to
               make that not a commercially challenging situation for our customers. So
               we did issue them a right-to-use license for a specific amount of time at a
               heavily discounted rate just really to support everybody’s ongoing operation
               with the knowledge that we didn’t know if it was 1 month, 2 months or 3
               months of lockdown at that point. . . . But we’ve been in contact with every
               one of those customers on a regular basis to help understand what it is their
               long-term fix will be. Those short-term limited-use licenses were not meant
               to be a long-term fix. . . . And so our long-term vision isn’t necessarily to
               just capture these licenses and make sure that they move forward for another
               year. It’s really about transitioning the customer to be on a preferred
               platform, which, in this case, is our cloud platform, for not only this tranche
               of licenses that they bought out of necessity in the pandemic but really all
               of their licenses, inclusive of these new users, and moving those licenses
               forward to our latest technology. That is Citrix Cloud. . . . So our teams,
               whether they be the renewals teams or our go-to-market sales organizations,
               are in deep conversation with all these customers about what the future
               looks like and how this, frankly, plays into something we had started far
               before the pandemic about moving our customers from their on-premise

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               environments that, frankly, were operating and doing their jobs into our
               Citrix Cloud environments and offer them greater access to innovation,
               highly valued capabilities that are not available on premise. And then also,
               one of the bigger lessons here is an infinitely scalable environment that no
               longer constrains the customer on what they can do due to physical
               environments they run – that they may run themselves.”

              Schmitz, 12/07/20: “As we’ve kind of progressed and learned, customers’
               appetite for cloud migration is actually higher than it was in the start of the
               pandemic in my opinion, but they’re actually thinking about it on a broader
               scale. Because moving your Citrix environment to the cloud is one thing
               and sure, there’s benefits to somebody doing that.”

              Henshall, 01/19/21: “So now with the large majority of our business on a
               subscription model, we’re focused on moving even faster in our transition
               to the cloud.”

              Henshall, 01/19/21: “As Arlen [Shenkman] and I have both said in a couple
               of these comments, we’ve just been really focused over the back half of the
               year on migrating the installed base to cloud. We’ve seen great success with
               that, and it’s going to be a focus area for us going into ‘21.”

              Henshall, 01/19/21: “And so this trend that we had seen even before that
               just migrating infrastructure to cloud for all the obvious benefits really
               accelerated. That, of course, is true across the Citrix portfolio as well. . . .
               And so right now, I think that this move for Citrix is only going to accelerate
               from here. We’ve seen great success in the second half of the year. We’re
               demonstrating the benefits to customers. And we’re reinforcing that, of
               course, with things that we’re doing internally across our innovation
               portfolio, across compensation structures, et cetera, to make sure that, that
               continues into ‘21.”

              Henshall, 01/19/21: “Our fourth quarter results are highlighted by the
               increased traction in transitioning our installed base to the cloud. As
               forecasted, the modest uptick we saw in the third quarter in transitioning
               our installed base gained momentum as we progressed through the fourth
               quarter, increasing our confidence that the lull we experienced in
               transitioning our customers to the cloud in the first half of 2020 was
               primarily a short-term, transitory consequence of our customers’ priorities
               in light of the early phases of the pandemic. The acceleration of our year-
               over-year SaaS ARR growth rate reflects the improvement we are seeing in
               customers migrating to the cloud.”

              Shenkman, 01/19/21: “I mean if you look – as Dave [Henshall] and I have
               consistently been talking about, when you look at the transitions, we started
               to hit our stride in the third quarter and really came out of the year with a

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                   strong return on our cloud transition business, which is obviously having
                   that 39% growth rate, about 300 basis points up on the transition.”

                  Shenkman, 03/03/21: “And as you know, we’ve been making – virtually
                   all of our investments are made on our cloud product.”

           238.    The Individual Defendants’ close monitoring of the Company’s business model

    transition is further supported by the fact that their incentive compensation was tied to its success.

    Antonio Gomes, the Company’s Chief Legal Officer, Secretary, and EVP, stated on June 4, 2021,

    that “we continue to evolve our [named executive officer] pay program to drive greater alignment

    between pay and performance as we transition our business and our business transforms into a

    subscription-based cloud business.” He further noted that the Company “made changes to the

    long-term equity incentive performance metric that we use for leadership team awards, those this

    year are being transitioned to a SaaS ARR metric, consistent with our business transformation and

    [our] reporting to shareholders.”

           C.      Defendants Were Motivated and Acted with Scienter to Artificially
                   Inflate the Company’s Stock Value in Order to Maximize Proceeds
                   from Inside Stock Sales

           239.    Defendants’ scienter is further supported by the fact that they were highly

    motivated to misrepresent and omit material facts concerning the true financial and operating

    condition of Citrix in order to artificially inflate the price of Citrix’s common stock, enabling them

    to capitalize on the artificial inflation by selling their personal shares of Citrix’s common stock.

           240.    As a result of Defendants’ false and misleading Class Period statements and

    omissions, detailed above, the price of Citrix common stock increased, reaching an artificially

    inflated intra-day Class Period high of $173.56 per share on July 22, 2020. The stock price

    remained artificially inflated throughout the Class Period, before tumbling upon the Company’s

    revelations on April 29, 2021, July 29, 2021, and October 6, 2021 discussed above.


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              241.   All five of the Individual Defendants cashed in on this artificial inflation before

    Citrix’s stock price fell. As described further below, they collectively sold more than $24 million

    of their personally held Citrix shares in dozens of well-timed transactions throughout the Class

    Period.

              242.   Specifically, Henshall sold a total of 114,314 shares of Citrix common stock for

    approximately $14.4 million in proceeds, taking advantage of artificially inflated prices during the

    Class Period. Henshall’s sales are detailed as follows:

     Date of Sale                   Shares Sold              Sales Price Per Share    Sales Proceeds

     2/3/2020                       4,773                    $121.09                  $577,963
     3/2/2020                       4,293                    $104.06                  $446,730
     3/30/2020                      5,730                    $141.30                  $809,649
     5/1/2020                       5,729                    $143.62                  $822,799
     6/1/2020                       5,981                    $147.39                  $881,540
     7/1/2020                       6,004                    $147.01                  $882,648
     8/3/2020                       6,420                    $142.91                  $917,482
     9/1/2020                       4,220                    $145.04                  $612,069
     10/1/2020                      5,826                    $139.21                  $811,037
     11/2/2020                      8,000                    $113.62                  $908,960
     12/1/2020                      8,000                    $124.31                  $994,480
     1/4/2021                       8,000                    $130.75                  $1,046,000
     2/1/2021                       2,000                    $133.47                  $266,940
     3/1/2021                       2,000                    $134.77                  $269,540
     4/1/2021                       2,000                    $140.07                  $280,140
     5/3/2021                       5,860                    $123.26                  $722,304
     6/1/2021                       5,860                    $115.16                  $674,838
     7/1/2021                       5,859                    $117.15                  $686,382
     8/2/2021                       6,155                    $100.28                  $617,223
     9/1/2021                       6,154                    $103.22                  $635,216
     10/1/2021                      5,450                    $107.96                  $588,382
     TOTAL                          114,314                                           $14,452,321

              243.   Calderoni sold a total of 29,591 shares of Citrix common stock for approximately

    $4.3 million in proceeds, taking advantage of artificially inflated prices during the Class Period,

    as follows:


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     Date of Sale                  Shares Sold               Sales Price Per Share     Sales Proceeds

     5/5/2020                      29,291                    $147.11                   $4,308,999
     5/5/2020                      300                       $147.86                   $44,358
     TOTAL                         29,591                                              $4,353,357

           244.     Shenkman sold a total of 9,386 shares of Citrix common stock for approximately

    $1.1 million in proceeds, taking advantage of artificially inflated prices during the Class Period,

    as follows:

     Date of Sale                  Shares Sold               Sales Price Per Share     Sales Proceeds

     10/2/2020                     673                       $137.42                   $92,484
     11/2/2020                     673                       $113.62                   $76,466
     12/1/2020                     673                       $124.31                   $83,661
     1/4/2021                      673                       $130.75                   $87,995
     2/1/2021                      673                       $133.47                   $89,825
     3/3/2021                      673                       $134.77                   $90,700
     4/5/2021                      673                       $138.55                   $93,244
     5/3/2021                      935                       $123.26                   $115,248
     6/1/2021                      935                       $115.16                   $107,675
     7/1/2021                      935                       $117.15                   $109,535
     8/2/2021                      935                       $100.28                   $93,762
     9/1/2021                      935                       $103.22                   $96,511
     TOTAL                         9,386                                               $1,137,105

           245.     Hough sold a total of 8,000 shares of Citrix common stock for approximately $1

    million in proceeds, taking advantage of artificially inflated prices during Class Period, as follows:

     Date of Sale                  Shares Sold               Sales Price Per Share     Sales Proceeds

     6/10/2020                     2,000                     $141.92                   $283,840
     9/8/2020                      2,000                     $133.89                   $267,780
     12/8/2020                     2,000                     $129.76                   $259,520
     3/8/2021                      2,000                     $135.00                   $270,000
     TOTAL                         8,000                                               $1,081,140




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           246.     Schmitz sold a total of 25,700 shares of Citrix common stock for approximately

    $3.4 million in proceeds, taking advantage of artificially inflated prices during the Class Period,

    as follows:

     Date of Sale                   Shares Sold              Sales Price Per Share     Sales Proceeds

     1/28/2020                      6,667                    $126.55                   $843,709
     2/3/2020                       1,119                    $121.09                   $135,500
     3/30/2020                      732                      $141.30                   $103,432
     3/31/2020                      1,401                    $144.08                   $201,856
     4/1/2020                       1,551                    $137.86                   $213,821
     10/2/2020                      1,605                    $137.42                   $220,559
     1/28/2021                      5,518                    $141.50                   $780,797
     2/2/2021                       1,358                    $132.63                   $180,112
     3/30/2021                      1,110                    $137.05                   $152,126
     4/5/2021                       4,639                    $138.55                   $642,733
     TOTAL                          25,700                                             $3,474,644

           D.       Defendants’ Belated Disclosures Support a Strong Inference of
                    Scienter

           247.     Defendants’ scienter is further supported by the fact that, as discussed above in §VI,

    they later admitted that the same data they were closely monitoring, reviewing, and evaluating

    showed far more negative results regarding the Company’s business model transition than they

    had falsely and misleadingly stated throughout the Class Period, particularly surrounding the

    Company’s slower-than-anticipated revenue growth and new customer bookings. For example,

    Defendants stated as follows:

                   Henshall, 04/29/21: “Despite strong underlying metrics for bookings and
                    ARR, recognized revenue came in below our expectations due to . . .
                    duration of on-premises term licenses that did not extend to the degree we
                    expected. Revenue recognition in the quarter was impacted considerably
                    by lower than anticipated on-premises term average contract duration. This
                    impact was generally related to conversions of business-continuity use-
                    cases from the year ago period, which are not a factor in the second half of
                    this year.”




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              Henshall, 07/29/21: “After a slower-than-expected pace of transitioning
               our installed base to the cloud during the onset of the pandemic, the
               transition has since gained momentum and is now progressing well. A
               faster pace of moving to the cloud is a net positive for the long-term success
               of Citrix; however, we have not delivered on our overall expected
               recognized revenue this year.”

              Henshall, 07/29/21: “[W]e have not delivered new SaaS subscription
               bookings at the rate or predictability we had anticipated. We believe our
               recent performance primarily is the result of three factors. First, unexpected
               sales process complexity in effectively supporting multiple, simultaneous
               selling motions for Workspace cloud and on-premises solutions, [created]
               bookings mix uncertainty. Second, we are behind our capacity plan for
               direct quota carriers, limiting capacity. Last, given our direct selling
               motions, we have lacked focus in driving transactional volume through the
               channel. Following the quarter, we started taking several significant and
               immediate actions to address these challenges while also embracing the
               faster pace at which customers are transitioning to the cloud[.]”

              Henshall, 07/29/21: “[I]t’s clear that we’ve had some sales execution
               challenges in some areas that are reflected in our Q2 results. And we believe
               that the cause of this has been really the increased complexity around
               managing this faster transition to the cloud, while simultaneously managing
               all the different license model types and motions that are key components
               of our reported revenue and overall P&L. So we believe we’ve identified
               the root causes and we’re taking immediate actions to remedy these
               execution challenges.”

              Henshall, 07/29/21: [On whether the Company’s revelations on July 29,
               2021 were a “culmination” of the “realization on the management team that
               something needs to change.”] “I think that’s fair. I think that we obviously
               are coming off a record year in 2020 across many of the metrics of the
               business. COVID has certainly been a secular tailwind to the types of
               solutions that we sell. When you rattle off all the different transition
               metrics, I mean, we’re doing extremely well on that part. We’ve just had
               problems with really managing and accurately forecasting a lot of these new
               business areas. And so that’s where we’re focused on taking actions for to
               really align not just to drive a lot more consistency, which has to be an
               outcome, but also really focus on where customers are going over the long
               term in embracing that model.”

              Henshall, 07/29/21: “I mean if you step back and you talk about our growth
               rates and could they have been faster. In hindsight, yes, I think we had tried
               too hard to manage the business model transition between the pace of SaaS
               adoption and our short-term financial metrics.”


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                   Calderoni, 11/04/21: “Looking back on the last few quarters, it is clear we
                    have underperformed our expectations as we faced execution challenges
                    which have overshadowed the excellent performance in our ARR metrics
                    and cloud transition. As I look ahead, I am taking a deep dive into all
                    aspects of the company’s operations to determine what actions we need to
                    take to improve performance. I have already spent significant time with our
                    team, and I appreciate the insight and feedback from all our stakeholders.”

    X.      LOSS CAUSATION AND ECONOMIC LOSS

            248.    During the Class Period, as detailed herein, Defendants made false and misleading

    statements and engaged in a scheme to deceive the market and a course of conduct that artificially

    inflated the price of Citrix common stock and operated as a fraud or deceit on Class Period

    purchasers of Citrix common stock by misrepresenting and concealing problems with the

    Company’s purported transition to a cloud subscription-based business model.

            249.    Defendants’ false and misleading statements had their intended effect and directly

    and proximately caused Citrix common stock to trade at artificially inflated levels, reaching an

    intra-day Class Period high of $173.56 per share on July 22, 2020.

            250.    As a result of Defendants’ fraudulent conduct as alleged herein, the price at which

    Citrix common stock traded was artificially inflated throughout the Class Period. When Plaintiffs

    and other members of the Class purchased their Citrix common stock, the true value of such

    common stock was substantially lower than the prices actually paid. As a result of purchasing

    Citrix common stock during the Class Period at artificially inflated prices, Plaintiffs and other

    members of the Class suffered economic loss, i.e., damages, under federal securities laws, when

    such artificial inflation dissipated.

            251.    As a result of Defendants’ materially false and misleading statements, as well as

    the adverse, undisclosed information known to Defendants, Plaintiffs and other members of the

    Class relied to their detriment on such statements and documents, and/or the integrity of the


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    market, in purchasing their Citrix common stock at artificially inflated prices during the Class

    Period. Had Plaintiffs and other members of the Class known the truth, they would not have taken

    such actions.

           252.     When the misrepresentations and omissions that Defendants had concealed from

    the market were revealed in a series of partial disclosures on April 29, 2021, July 29, 2021, and

    October 6, 2021, as detailed more fully in §VI, above, the price of Citrix common stock fell

    dramatically, causing substantial losses to investors.

           253.     First, during an earnings conference call on April 29, 2021, the Company surprised

    investors by disclosing lower-than-expected conversions of Business Continuity Licenses to long-

    term cloud contracts. According to the Company, many customers simply “rolled into another

    short-term” on-premise license rather than a cloud contract. As a result of this news, as well as

    the Company’s EPS and revenue miss, coupled with reduced EPS for 2Q21 and FY21, after

    opening at $124.37 per share, sharply down from the prior day’s close of $138.51, Citrix stock

    ultimately closed at $128.02, down more than 7.5%, on unusually high trading volume of nearly

    4.3 million shares. As the market continued to digest the news, the stock price continued to fall

    the following day, closing at $123.85 per share on April 30, 2021 on unusually high trading volume

    of nearly 2.5 million shares. The total stock price decline over this two-day period was 10.58%.

           254.     Then, the Company revealed additional problems with its transition to the cloud in

    an earnings letter published on July 29, 2021, and during an earnings conference call on the same

    day. In particular, Henshall disclosed the Company was facing a “challenge associated with

    transitioning the business to [cloud] and the need to evolve our sales strategy to deliver more

    predictable results” and that the Company “had problems with really managing and accurately

    forecasting a lot of these new business areas.”          Defendants also disclosed a “significant”


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    restructuring of its sales leadership, which “may cause short-term disruption before yielding

    tangible results.” As a result of these disclosures, coupled with yet another top line miss and

    reduction in earnings and EPS targets, the Company’s common stock price fell 13.57%, from a

    closing price of $114.55 per share on July 28, 2021, to a closing price of $99.00 per share on July

    29, 2021, on unusually high trading volume of nearly 9.9 million shares.

             255.   Finally, after the market closed on October 6, 2021, the Company surprised

    investors by issuing a press release revealing that, following an 18-year tenure as an executive at

    the Company, Henshall had abruptly stepped down as the Company’s President and CEO, and that

    Henshall and Dr. Ajei Gopal had stepped down from the Company’s Board. The press release

    also announced that the Company’s previously scheduled financial analyst meeting was postponed

    to an undecided date. As a result of these disclosures, the Company’s common stock price fell

    from a closing price of $105.96 per share on October 6, 2021, to a closing price of $104.21 per

    share on October 7, 2021, on unusually high trading volume. As the market continued to digest

    the news, the stock price continued to fall the following day, closing at $98.32 per share on October

    8, 2021 on unusually high volume. The total stock price decline over this two-day period was

    7.21%.

             256.   The decline in the price of Citrix’s common stock after the revelations came to light

    was a direct result of the nature and extent of Defendants’ fraudulent misrepresentations being

    revealed to investors and the market. The timing and magnitude of the price decline in Citrix’s

    common stock negate any inference that the losses suffered by Plaintiffs and the other members

    of the Class were caused by changed market conditions, macroeconomic or industry factors, or

    Company-specific facts unrelated to Defendants’ fraudulent conduct. This is supported by the

    Class Period stock price chart below, which demonstrates the clear divergence of the Company’s


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    common stock price (CTXS) from the Company’s benchmark indices and the stock prices of its

    peer companies1 when the truth began to emerge on April 29, 2021:




           257.   As a result of their purchases of Citrix common stock during the Class Period and

    the subsequent decline in the value of those shares when the truth was revealed to the market,




    1
        The indices reflected in this chart, the S&P 500 Index and NASDAQ Composite Index, were
    used as benchmarks for Citrix’s common stock performance in Citrix’s Definitive Proxy Statement
    filed with the SEC on April 16, 2021. The Peer Group reflected in this chart is comprised of the
    following publicly traded companies identified as competitors of Citrix in the same Proxy
    Statement: Akamai Technologies, Inc.; Autodesk, Inc.; Cadence Design Systems, Inc.; Dropbox,
    Inc.; F5, Inc.; Intuit Inc.; Juniper Networks, Inc.; NetApp, Inc.; NortonLifeLock, Inc.; OpenText
    Corporation; Palo Alto Networks, Inc.; PTC Inc.; ServiceNow; Synopsys; VMware, Inc.; and
    Workday, Inc.

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    Plaintiffs and other members of the Class suffered economic loss, i.e., damages, under the federal

    securities laws.

    XI.       PRESUMPTION OF RELIANCE

              258.   At all relevant times, the market for Citrix common stock was an efficient market

    for the following reasons, among others:

                     (a)    Citrix common stock met the requirements for listing and was listed and

    actively traded on the NASDAQ, a highly efficient and automated market, throughout the Class

    Period;

                     (b)    according to the Company’s 2Q21 Form 10-Q, filed with the SEC on July

    30, 2021 “(2Q21 10-Q”), the Company had more than 124 million shares of common stock

    outstanding as of July 23, 2021, demonstrating a very active and broad market for Citrix common

    stock;

                     (c)    as a regulated issuer, Citrix filed periodic public reports with the SEC;

                     (d)    Citrix regularly communicated with public investors via established market

    communication mechanisms, including the regular dissemination of press releases on national

    circuits of major newswire services, the internet, and other wide-ranging public disclosures; and

                     (e)    During the Class Period, Citrix was followed by numerous securities

    analysts employed by major brokerage firms, such as Morgan Stanley, UBS, Barclays, RBC

    Capital Markets, and William Blair, who wrote reports that were distributed to the brokerage firms’

    sales forces and the public.

              259.   As a result of the foregoing, the market for Citrix common stock promptly digested

    current information regarding Citrix from publicly available sources and reflected such




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    information in Citrix’s common stock price. Under these circumstances, a presumption of reliance

    applies to Plaintiffs’ purchases of Citrix common stock.

           260.    A presumption of reliance is also appropriate in this action under the Supreme

    Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972), because

    Plaintiffs’ claims are based, in significant part, on Defendants’ material omissions. Because this

    action involves Defendants’ failure to disclose material adverse information regarding Citrix’s

    business and operations, positive proof of reliance is not a prerequisite to recovery. All that is

    necessary is that the facts withheld be material in the sense that a reasonable investor might have

    considered them important in making investment decisions. Given the importance of Defendants’

    material omissions set forth above, that requirement is satisfied here.

    XII.   NO SAFE HARBOR

           261.    The false and misleading statements alleged herein were not forward-looking. To

    the extent any of the alleged false and misleading statements were forward-looking, the federal

    statutory safe harbor for forward-looking statements under certain circumstances does not apply.

    Many of the specific statements alleged were not identified as “forward-looking statements” when

    made. To the extent there were any forward-looking statements, there were no meaningful

    cautionary statements accompanying them. To be meaningful, cautionary statements must identify

    important factors that could cause actual results to differ materially from those in the purportedly

    forward-looking statements. Such cautions were absent from Citrix’s Class Period filings and oral

    disclaimers.

           262.    Alternatively, to the extent that the statutory safe harbor could apply to any

    forward-looking statements pleaded herein, Defendants are liable for those false and misleading

    forward-looking statements because, at the time each of those forward-looking statements was


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    made, the speaker knew that the particular forward-looking statement was false or misleading and

    the forward-looking statement was authorized and approved by an executive officer of Citrix who

    knew that those statements were false or misleading when made. Moreover, to the extent that

    Defendants issued any disclosures designed to warn or caution investors of certain risks, those

    disclosures were also false and misleading.

    XIII. CLASS ACTION ALLEGATIONS

            263.    Plaintiffs bring this action as a class action pursuant to Rule 23(a) and (b)(3) of the

    Federal Rules of Civil Procedure on behalf of a Class consisting of all purchasers of Citrix common

    stock during the Class Period. Excluded from the Class are: Defendants, the current and Class

    Period officers and directors of Citrix; the members of the immediate families and the legal

    representatives, affiliates, heirs, successors-in-interest, or assigns of any such excluded person;

    and any entity in which such excluded persons have or had a controlling interest.

            264.    The members of the Class are so numerous that joinder of all members is

    impracticable. Throughout the Class Period, Citrix common stock was actively traded on the

    NASDAQ. According to the Company’s 2Q21 10-Q, the Company had more than 124 million

    shares of common stock outstanding as of July 23, 2021. While the exact number of Class

    members can only be determined by appropriate discovery, Plaintiffs believe that Class members

    number at least in the hundreds, if not thousands, and that they are geographically dispersed.

            265.    Plaintiffs’ claims are typical of the claims of the members of the Class because

    Plaintiffs’ and all the Class members’ damages arise from, and were caused by, the same

    representations and omissions made by or chargeable to Defendants. Plaintiffs do not have any

    interests antagonistic to, or in conflict with, the Class.




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            266.      Plaintiffs will fairly and adequately protect the interests of the members of the Class

    and have retained counsel competent and experienced in class action and securities litigation.

            267.      Common questions of law and fact exist as to all members of the Class and

    predominate over any questions solely affecting individual members of the Class. Among the

    questions of law and fact common to the Class are:

                      (a)    whether the federal securities laws were violated by Defendants’ acts as

    alleged herein;

                      (b)    whether statements made by or chargeable to Defendants during the Class

    Period misrepresented or omitted material facts;

                      (c)    whether the price of Citrix common stock was artificially inflated during

    the Class Period; and

                      (d)    to what extent the members of the Class have sustained damages and the

    proper measure of damages.

            268.      A class action is superior to all other available methods for the fair and efficient

    adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

    damages suffered by individual Class members may be relatively small, the expense and burden

    of individual litigation makes it impracticable for members of the Class to individually redress the

    wrongs done to them. Plaintiffs are not aware of any difficulty in the management of this action

    as a class action.

                                                   COUNT I

          For Violations of Section 10(b) of the Exchange Act and SEC Rule 10b-5 Against
                                Citrix and the Individual Defendants

            269.      Plaintiffs incorporate the foregoing paragraphs by reference.



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           270.    During the Class Period, Defendants disseminated or approved the false or

    misleading statements specified above, which they knew or recklessly disregarded were

    misleading in that they contained misrepresentations and failed to disclose material facts necessary

    in order to make the statements made, in light of the circumstances under which they were made,

    not misleading.

           271.    Defendants violated Section 10(b) of the Exchange Act and SEC Rule 10b-5

    promulgated thereunder in that they:

                   (a)     employed devices, schemes, and artifices to defraud;

                   (b)     made untrue statements of material fact or omitted to state material facts

    necessary in order to make the statements made, in light of the circumstances under which they

    were made, not misleading; or

                   (c)     engaged in acts, practices, and a course of business that operated as a fraud

    or deceit upon Plaintiffs and other members of the Class in connection with their purchases of

    Citrix common stock.

           272.    As a direct and proximate result of Defendants’ wrongful conduct, Plaintiffs and

    other members of the Class suffered damages in connection with their respective purchases of

    Citrix common stock during the Class Period because, in reliance on the integrity of the market,

    Plaintiffs and other members of the Class paid artificially inflated prices for Citrix common stock

    and experienced losses when the artificial inflation was released from Citrix common stock as a

    result of the leakage and disclosure of information and price declines detailed herein. Plaintiffs

    and other members of the Class would not have purchased Citrix common stock at the prices paid,

    or at all, if they had been aware that the market price had been artificially and falsely inflated by

    Defendants’ false and misleading statements.


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           273.    By virtue of the foregoing, Citrix and the Individual Defendants have each violated

    Section 10(b) of the Exchange Act and SEC Rule 10b-5 promulgated thereunder.

                                                COUNT II

                     For Violations of Section 20(a) of the Exchange Act Against
                                      the Individual Defendants

           274.    Plaintiffs incorporate the foregoing paragraphs by reference.

           275.    The Individual Defendants acted as controlling persons of Citrix within the

    meaning of Section 20(a) of the Exchange Act.

           276.    By virtue of their high-level positions, participation in and/or awareness of Citrix’s

    operations, and/or intimate knowledge of Citrix’s disclosures, policies, and financial performance,

    the Individual Defendants had the power to influence and control, and did influence and control,

    directly or indirectly, the decision-making of Citrix, including the content and dissemination of

    the various statements that Plaintiffs contend are false and misleading. The Individual Defendants

    were provided with, or had unlimited access to, copies of the reports, press releases, public filings,

    and other statements alleged by Plaintiffs to be misleading before and/or shortly after these

    statements were issued and had the ability to prevent the issuance of the statements or cause the

    statements to be corrected.

           277.    As set forth above, Citrix violated Section 10(b) and Rule 10b-5 promulgated

    thereunder by its acts and omissions as alleged in this Complaint. By virtue of their positions as

    controlling persons, and as a result of their aforementioned conduct, the Individual Defendants are

    liable pursuant to Section 20(a) of the Exchange Act for Citrix’s Section 10(b) violations. As a

    direct and proximate result of the Individual Defendants’ wrongful conduct, Plaintiffs and other

    members of the Class suffered damages in connection with their purchases of the Company’s

    common stock during the Class Period, as evidenced by, among others, the common stock price

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    declines discussed above, when the artificial inflation was released from the Company’s common

    stock.

                                         PRAYER FOR RELIEF

             WHEREFORE, Plaintiffs pray for judgment as follows:

             A.     Declaring this action to be a class action properly maintained pursuant to Rule 23(a)

    and b(3) of the Federal Rules of Civil Procedure and certifying Plaintiffs as Class Representatives

    and Robbins Geller Rudman & Dowd LLP as Class Counsel;

             B.     Awarding compensatory damages in favor of Plaintiffs and the other members of

    the Class against all Defendants, jointly and severally, for all damages sustained as a result of

    Defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;

             C.     Awarding Plaintiffs reasonable costs and expenses incurred in this action, including

    attorneys’ fees, experts’ fees, and other costs and disbursements; and

             D.     Awarding such further relief, including any equitable/injunctive relief, as the Court

    may deem just and proper.

                                      DEMAND FOR JURY TRIAL

             Plaintiffs hereby demand a trial by jury.




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     DATED: April 22, 2022              Respectfully submitted,

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                                                     s/ Robert J. Robbins
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                                     CERTIFICATE OF SERVICE

           I hereby certify under penalty of perjury that on April 22, 2022, I authorized the electronic

    filing of the foregoing with the Clerk of the Court using the CM/ECF system which will send

    notification of such filing to the e-mail addresses of all counsel of record.



                                                                     s/ Robert J. Robbins
                                                                    ROBERT J. ROBBINS
